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whether the physician was exposed to false statements. This process took many days of work by
Ilyas Rona, a law clerk and me. Once the physicians who were exposed to false statements and
who worked in the key states were identified, we then requested their Medicaid data from David
Waterbury. The response time varied by state. For some states, we received data in time to
include it in our expert’S report; other states did not respond timely. The data we did receive had
to be reviewed in a complicated and time-consuming procedure requiring considerable computer
expertise We received much of the data in the form of Microsoft Access database files. To
operate Access and review the data required knowledge of Access and its many functions ln
some cases, prescription claim data had to be cross-referenced against hospital claims data. This
was a time consuming process, because the data had to be searched by each patient. If a doctor
had prescribed Neurontin to 20 patients, then we had to extract the hospital and prescriptions
claims for each of the 20 patients Reviewing a single doctor’s claims could take several hours.
lt took Ilyas Rona and me several days to review data for all 10 physicians used in the Relator’s
opposition to summary judgment Once completed, we had to match the hospital claims, which
indicated the reason for the visit with the doctor (e.g. pain, bipolar etc.), to the prescription
claims, Patients who had epilepsy were excluded from the study. When completed1 our review
contained detailed Medicaid data for 10 physicians (including the one “verbatim” doctor above)
who had been exposed to false statements § Relator’s Separate Statement of Disputed
Material Facts, Docket 355, pp. 124-148.

145. Once we had managed to obtain and review the massive amounts of information
in this case, we needed to give some of this evidence to experts for their review. Expert advice
was necessary because this case involved complicated issues relating to causation. We needed to

be able to show that the Defendants’ illegal off-label marketing scheme, which included false

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and misleading statements material omissions, and kickbacks caused physicians to submit

 

claims for off-label uses that were ineligible for reimbursement lt was clear that the Defendants
intended to argue that even if Parke-Davis were found to have engaged in false and fraudulent
marketing, the Relator would not be able to prove that this conduct caused a single, specific
Medicaid claim. We engaged four physicians who were scholarly experts in the areas of
pharmaceutical company marketing and its impact on physician prescription behavior to provide
us with expert advice and expert opinions on the issue of causation. These experts were Dr.
Michael Steinman, Dr. C. Seth Landefeld, Dr. Mary-Margaret Chren and Dr. Jeffrey Linder
(“Relator’s Experts”).

146. Under my supervision, my office spent a considerable amount oftime gathering
documents medical information and l'\/ledicaid data together and organizing it so the Relator’s
Expetts could review it. Ilyas Rona and I spent a significant amount of time preparing
memoranda summarizing or explaining evidence for the experts We also spent a significant
amount of time on teleconference calls with the `Relator’s Experts, discussing the parameters of
their review, discussing the nature of the case, the quantitative and qualitative evidence, and the
methodologies they intended to utilize These conference calls frequently lasted several hours,
and Thomas Hoffman, Michael Tabb, or Ilyas J. Rona often joined me.

147 . The experts provided me with several different draft reports, which l carefully
reviewed and discussed with Thomas Hoffrnan, Michael Tabb and Ilyas Rona. l made various
comments to the draft reports, which I relayed to the experts, usually in lengthy conference calls
The finished report, which was more than 100 pages, was carefully reviewed as well. The
finished report was incorporated in the Relator’S opposition to the Defendants’ motion for

summary judgment and was showed that the Relator could, if called upon, demonstrate that false

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statements made by Parke-Davis did in fact cause Medicaid claims for ineligible prescriptions

w Affidavit of C. Seth Landefeld and Michael Steiman in Support Re Memorandum in

Opposition to S/J Motion, Docket 341 , Exhibit B. The expert report contained four conclusions

l.

Studies in the medical literature demonstrate a consistent and convincing
association between pharmaceutical industry activities (including one-on-one
interactions with pharmaceutical representatives gifts and educational
conferences) and changes in physician knowledge and behavior. Published
studies also provide evidence about likely “mechanisms of action” of
marketing to physicians physicians do not reliably distinguish false
marketing statements from true marketing statements and they incorporate in
their beliefs false statements made in marketing material as scientifically
proven fact. This evidence supports the conclusion that marketing influences
physician prescribing behavior.

Based on the review of numerous documents in our opinion there was a clear
and consistent intent to promote gabapentin for a variety of unapproved uses
including epilepsy monot`herapy, pain syndromes and psychiatric conditions
These marketing goals were executed through a broad-based Series of
promotional activities including consultant’s meetings speakers bureau talks
a variety of continuing medical education activities targeting clinical trials
and publications and other tactics that were highly likely to change physician
prescribing behavior in favor of gabapentin We thus conclude that it is very
likely that these marketing strategies purposefully and successfully increased
the volume of gebapentin prescriptions for unapproved uses and at
unapproved doses

Medicaid prescribing data shows that some physicians who attended industry-
sponsored meetings had a substantial and near-immediate increase in the
volume of their gabapentin prescriptions Much of this increase in
prescribing volume was associated with non-approved indications ln our
opinion, the industry-sponsored events attended by these physicians were
very likely to have been the primary cause of this increase in gabapentin
prescribing (both overall and for unapproved indications). ln addition, these
data support the hypothesis explored in section (l) that industry-sponsored
events can change physician-prescribing behavior, and the hypothesis
explored in section (2) that marketing for gabapentin focused on and was
successful at increasing prescribing for unapproved uses The results of this
preliminary analysis are not conclusive, but strongly suggest that further Study
is merited to explore the effect of industry activities on gabapentin
prescribing

There is little evidence that supports the efficacy of gabapentin for many
conditions listed in DrugDex. There is good clinical trial evidence to support

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gabapentin’s use in the adjunctive treatment of seizures and in postherpetic
neuralgia There is some evidence that provides limited support for
gabapentin’s use in diabetic peripheral neuropathy. All other indications for
gabapentin listed in DrugDex are not supported by the scientific evidence
cited therein This includes a handful of conditions for which the evidence is
mixed or suggests a lack of efficacy, and many conditions for which no data
or reasonable quality exists Studies supporting the use of gabapentin for
postherpetic neuralgia and diabetic peripheral neuropathy were published and
cited in DrugDex only in the past several years For example, the trial that
provides limited support for diabetic peripheral neuropathy was first cited by
DrugDex in March 2000.
This evidence, including the study of the specific impact of Defendants’ marketing to specific
physicians was critical to the Relator’s successful opposition to the Defendants’ motion for
summary judgment

148. l would like to explain the methodology my firm used to keep track of the time
and effort devoted to this case. As I mentioned earlier, my firm does almost no hourly rate work
and we do not routinely record our time on our cases Knowing, however, that we might have to
submit a fee application, my partner, Tom Hoffman, and I did initially keep track of our time on
a daily basis when we first commenced work on this matter in 1996, eight years ago. My time
records were kept on a hard drive which has since crashed, and from which data cannot be
recovered. l understand that Mr. Hoffrnan’s time records were backed up to floppy disks but for
some reason those records became corrupted and cannot be retrieved.

149. After we filed the complaint and disclosure in this case, there was very little
activity in this matter for several years while the United States investigated Dr. Franklin’s
allegations During those years when there was almost no activity in the case, I fell out of the
habit of recording my time contemporaneously Not until April 2003, when l asked everyone in

the office to begin keeping track of their time on a current basis did the attorneys in the office

keep track of their time.

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150. Although we do not have contemporaneous time records time records for all
eight years of this litigation, l, and the other lawyers in my office, kept contemporaneous notes
of most activities performed in this case. These notes are in addition to the time that was kept on
a relatively current basis beginning in April 2003. l say “relatively current” because l cannot say
for certain that everyone recorded their activity every day on the day of the activity but if it was
not done then, it was done close to that time. The notes that we kept during the entire case
cover telephone conferences meetings and conferences interviews and research activity we
were involved with. The notes state the date of the activity, the nature of the activity and who
participated in the activity. Other lawyers in my office who worked on the case also kept
detailed records of their activities

151. These notes comprise hundreds of pages However, because they comprise work
productiamong other things they contain mental impressions and observations of counsel and
privileged communications--we have not made them available to anyone outside my office. As
the Court undoubtedly knows there are other cases pending that deal with the issues that were
involved in this case. The parties in those cases and their counsel, would be very concerned if
my firm’s notes were provided to the defendants lf the Court wishes to review these notes in
connection with this application I will instruct my counsel to seek leave to permit an in camera
inspection

152. When it became clear to me that a settlement of this case was likely, we began the
process of preparing the schedules that are attached to the affidavits of the lawyers in this office
that are submitted herewith. Each of the lawyers in my office, including me, carefully reviewed
all of the notes referred to above, as well as all of the correspondence, e-mail, court papers

transcripts internal memoranda and research and work files in our office in order to compile the

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time summaries Our review of these documents was painstaking and careful to ensure the
accuracy of the time summaries we have submitted to this Court. While the record of our
activity prior to April 2003 is not a contemporaneous record in the sense of a “time sheet,” we
tried to tie each time entry to a physical record that demonstrated the activity took place_a note,
a letter, an e-mail, a pleading, a research file, etc. lt is likely the time is understated The
process took several weeks to complete We have not submitted any request to be compensated
for any of our time incurred in converting the notes and other documents to the schedules that
appear as exhibits to our affidavits nor for the time spent double-checking that they are accurate

153. l am aware of the importance of maintaining accurate time records in any case
where a party seeks a fee award from the opposing side. l have reviewed all of the time
summaries submitted by all of the attorneys and l am confident that the summaries do not
overstate the time we spent on this matter. l arn also confident that the method we used to
reconstruct the records was conservative, but nonetheless created a realistic picture of what we
did. ln my experience, as well as in the experience of the other lawyers who have reviewed our
work for purposes of this fee application, a total of 6400 hours for a case of this duration,
magnitude and difficulty is well within reason

SIGNED UNDER THE PAINS AND PENALTIES OF PERJURY THIS _ DAY OF

JULY 2004.

 

Thomas M. Greene

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RESUME
THOMAS M. GREE.NE
PERS ONAL INFORMATION

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Boston, MA 02110

Tel: (617) 261-0040
Fax: (617) 261-3558

e~mail: tgreene @ greenelroffman .com

Residence Address:
210 Randolph Avenue
M.ilton, MA 02186

Farnily rbackground:
Married, three children

.‘- EDUCATION
High School: St. J'o]in’s High School, Shrewsbury, MA
Co]lege: Bostori Co]lege, BA, Cum Laude, 1974
Law Schoo]: SuHolk University Law School, 1977
PROFES SIONAL BACKGROUND
Professional Certifications: .
Admitted to practice in Massachusetts, 1977; United States Districr. Court, District of
Massachusetts,1977; United States Dism`ct Court, Eastern District of Michigan ,1989
Employment:
Assistant District Attorney 1977- 1979 (numerous trials in District and Superior Courts;
Grand jury work)
Greene & Hoff.rnan, P.C. Association and Partriership, Partner, 1979 - present

' Specia]izing in complex civil litigation with emphasis on wrongful death, product

liability, professional liabi-]ity, and general commercial litigation including directors1
and officers liability and partnership disputes

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Publications and Serninars:
Panelist, “Anatorny of a Medica] Malpractice Cast”, presented by The Civil litigation
Section of the Massachusetts Bar Association on April ]1, 1985.

Chairman, "Preving Damages in Wrongful Death Cases”, Mass. Acaderny of Trial
Attorneys

Socicty Memberships:

Massachusetts Academy of Trial Attorneys

Massachusetts Lawyers Weekly, Editoria] Board Member, 1986-1989
Association of Tria] I_.awyers of America

Appointments:

Appoirited to the.Plaint:iffs’ Steering Comrnittee by U.S. District Court Judge John Erwin,
Middle District of North Caroli.na in Re: Air Crasli Near Morrisville, NC

Appellate Decisions: ___
Criminal:

Commonwcalth v. Sy]via 380 Mass. 180; 402 N.E.Zd 489; 1980 Mass. LEXIS 1063 1980
Civil:
MacGlashi`n,=z v. DunloD EGuitJ. Co., Nos. 95-2051. 99-2207 89 F. 3d 932; 1996'

United States ex. Rel Franklin v. Parke-Davis 96-11651-PBS U.S. Dist. Lexis 15754

 

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United States ex. Rel. Franldin v. Pfizer, Inc.. 96-11651 2002 U.S, Dist. LEXIS 5761
United sister err ncr rankin v. Pazer. ina 96-11651 147 F. supp. 2d 39 2001

Re: Air Crash near Morrisville. 1:95MD1084. ALL CASES, U.S.District Court for the
Middle Disu'ict of North Carolina U..S. Dist. LEX]S 21827 1997

Re: Air Crash near Morrisvil]§, 1:95MD1084, RE: 1296CV00472, CV00473, CV00474,

CV00475, CV00476. CV00477, LEX_'[S 3809 1997 '

Van Schaick v. Church of Scienrologv. Inc.. C.A. No. 79-2491-G. United States Disu:ict
Court for the Dist-rict of Massachusetrs 535 F. Supp. 1125; 1982.U.S. Dist. LEXIS 11462

 

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Trial Expel'ience:

Charlotte Romani v. Central Pliarmacv, lnc., et al.. Middlesex Superior Court
Dave Ni]ran v. , Middlesex Superior Court

Janice Whittemore v. Mastrianni, Middlesex Superior Court

Greg Takvorian v. S-aybolt Lab, U.S. Depart]'nent of Labor

Pekka Hat_ara v. Cooper Industri'es. Inc.1 U.S. District Court, District of Massacliusetts

Elizabeth Kast, Executrix v. AMR Corp, American Airlines, Inc., U.S. District Court,
Dist:rict of Massachusetts '

In Re Estate of Carolyn Dudley Taylor, Middlesex Probate Court
thllis Hurlev v. Phillip Chiotellis, Barnstable Supen`or Court

Rene Vigneaulr v. l ames Peuuer, Middlesex Superior Court

LaBretto v. Globe Inc., United Srates Distrlct Court, District of Massachusetts

 

Janice Galligan v. Gerraghg Associates, lnc., Norfolk Superior Court

f '; lames Doe v. Lowell General Hospital, et al., Middlesex Superior Court

 

Cabell v. MacDonald, Plymouth Superior Court
ll Carraway v. Ford Aerospace, et al., Suffolk Superior Court

Ro.bert Macleod, Trustee, Dearborn Real§y Trust v. One Thirty One Co;poration, Suffolk
Superior Court

Jackje Ranicar v. Pleasant Vall-ey Countg Club, Worcester Superior Court
Meiia v. MPH Industries Inc_., Suffolk Superior Court

Connie Delmore v. Jeffrey Zau derer, Middlesex Superior Court

 

MacGlashing v. Longi_)vood, United States District Court1 District of Massachusetts
David Laliberte v. Edwin Clare~ et al., Norfolk Superi_or Court

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l .` Gloiia Pavne v. Stop & Shon, Suffolk Superior Court

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Edgar v. Raskin, Smjth, Middlesex Probate Court
Numerous criminal trials in Distrr'ct and Superior Courts
Signil’icant Settlements:

United States of America. ex rel. Edward Fergusson v.

GTE Government Systems Corporation and Canadian

Marconi Corporation

United States Disuict Court, District of Massachusetts., C.A. No. 93-10348MA
"Whistle Blower Case" Qui Tarn False Claims Act

$10,000,000.00
($5,00€),000.00 cash and recall, repair and rewarranty of radios valued at
$5,000,000)

Kast v. Arnerican Air]ines et al. _
United States District Court, USDC No. 95-1108PBS/MDL-108
Airline Disaster

$8,975,000.00

Stephen S. Gray, Chapter 11 Trustee of Molten Metal Technology, Inc. v. Williarn
limeser

United States Bankruptcy Court, Adversary Cornplaint No.

99-1 653

Breach of Fiduciary Duty to Creditors of Insolvent Corporation
$7,300,000.00

Charles MacGlashing, et al, v. Dunlop Eguipment Co., lnc.,et al. v. Restoration
Preservatiorr Masong[= lnc.

United States District Court, District of Massachusetts., 89 F.Bd 932
Construction Site Accident

$5,234,224.58

McCuish v, Vo]l<swagenwerk A.G.

22 Mass.App.Ct. 380, rev.gr;. 398 Mass. 1102, aff'd.,
400 Mass. 1003 t1987)

Auto Product Liability

 

$4,200',000.00

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Char]es McGettigan v. Diversilied Cont:racl:ing, Inc. et al.
Suffolk Superior Court, C.A. Ne. 98-4597

Constru'ction Accidenthrongful Deatb
$3,600,000.00

John Alba. et Al. V. Mobil Auto Club. Inc.. et al.
Norfolk Su-perior Court, CA. No. 96-01612
Aqu Accident

$3,5'00,000.00

Lalibertc v. Edwin Clare et al.
Norfolk Superior Court, C.A. No. 92-942
Ai;lto Accident

$3,050,000.00

Subramanyan Jayasankar v. General American Life Insurance, Paul Bloom and Paul
Revere Life Insurance Comnanv

Suffolk Superior Court, C.A. No. 96-5507C
Breach of Contract by Disability Insurance Company

Confidentjal Settlement
Rodriguez v_. Even'eadv Trucking. et al.

Suffolk Superior Court, C.A. NO. 89-6543-€
Auto Product‘l_.iability

 

$2,075,000.00

Luis Osorno and Fredy Suarez v. Bossman, Inc.z et al.
Suffolk Supei;ior Court, C.A. No. 96-05322B
Construction Accident

$2,000,000.00-

Mi`chael A. Lubrano-v. Williar:n S. Zouzas. M.D.

Middlesex Superior'. Court, C. A'. No. 99-03724L
Medical Malpractice

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J ames Ga]laglier v. Jolrn Moriar_ty and Associates and Boston Steel Erectors
Midd]esex Superior CourL C.A. No. M]CV2002-006]8

Construction Site Accident

$1,800,000.00

Bewley v_ George
U. S District Court, DistrictofNew Mexico, C. A- No. 88- 871

Medical Malpractice
$1,700,000.00

Greaorv Roberts and Lvnn Roberts v. Donald A. Garlalrd and Donald A. Garland. lnc.
Middlesex Superior Court, C.A. No.` 98-638 -
Automobile Accident

$1,500,000.00 _

Nancy Benec]i v Fairmont Copley Plaza Hotel
Suffolk Superior Court, C. A No. 00-1139

Premises Liability
$1,500,000.00

N WI.`;Inc., et al. v. Coopers & varand. et al.
Middl`esex Superior Court, C.A. No. 94-5089-F
Accounting Ma.lpractice

$1,300,000.00

Murpgy v. New York Dairv Herd, Inc. ct al.
Worcester Superior Court, C.A. No. 86-33705
Auto Accident

$1,250,000.00
Rl'iodes v. Wa]sh Brotherslnc et al.

Suffolk Superior Court, C.A. No, -92-0106-H
Corrstruction7 Site Accident

 

$1,200,000.00

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Mejia v. MPH industries
Suffolk Superior Court, C.A. No. 88-3938

Product Liabi]ity

$1,000,000.00

Richar_d Parker v. Johnson & Johnson
Plyniouth Supe`iior Courr, C.A. No. 96-0941

Worksite Accident

$1,000,000.00

Robert Whelden and Monigne Whelden v. Guillermo Candia, M.D.
Suffolk Superior Court, C.A. No. 98-5257E

Medical Malpractice
$1,000,000.00

Phillip and Darlene Pal]one v.Delta Beckwith Elevator Co.
Suffolk Superior Court
Constrnctiori Site Accident

$1,000,000.00
Cotelle v. Rhodes Gill & Co. Ltd. et al.

Norfolk Superi or Court, C.A. No. 89-03182
Product Liability

 

$900,000.00

Eddvs Guerrero a./k/a lsrael Torres v. Browning-Ferris Industri`es, Union Cornoration,
Gichner Svstems Groun, Inc.` The Heil Corporation. et al.

Middlesex Superior'Court, C.A. No. 92-7153

Product liability

$9`00,000.00

Peter Lincoln v. Wood Recvclina. lnc.

Essex Superior Court, C.A. No. 97-2540A

Worksite Accident

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Ant]ionv Principe and Marv Principe v. Ronald Mortara
Suffolk Superior Court, C.A. No. 88-6905-E
Medical Malpractice

$850,000_00
n Fislrman v. Brooks

487 N.E.Zd 1377 (Mass. 1986)
legal Malpractice

$850,000.00
Micliele and Dawnette Niro v. Murida Furniture Co. Inc. d;’b/a Rot.man’s

Worcester Supen`or Court, C.A. No. 95»0758
Worksite Accident

 

$825,000.00

John Strickland, et al. v. Harvey Goldrnan, M.D.
Nor'folk Supcrior Court, C.A. No. 84-2612

Medical Malpractice
$750,000.00

Gilbertson v. Kasdon
Middlesex Superior Court, C.A. No. 84-3421
Medical Malpractice

$'750,000.00

Kris Koukoulis and Jessica Lvnn Kou.koulis v. Tembec Construction Co.` Jaak_ko Povrv,
Inc. and C-Teclr Conveyors

Suffolk Superior Couzt, C.A. No. 92-5610

Produ ct Liability

$750,000.00

Ortiz v. E.H. Allen Co.
Suffolk Superior Court, C.A. No. 90-05374
Product liability

$550,000.00

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Doherty v. Schindlcr, et a].
Suf‘folk Superior Court, C.A. No. 90-04764

Auto Accident

 

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$550,000.00

MacWhinnie v. Agra, Inc.
Suffolk Superior Court, C.A. No. 87~6216
Slip &. Pall Accident

$500,000.00
Renz v. Eunice Fallon et al.

Sui`“folk Superior Court, C.A. NO. 9]'-8592-]3.
Auto Accidcnt

 

$500,000.{}0

Grezorv Takvon'an v. Savbolt, Inc.
U.S. Dept. Of Labor Case No. 96~CAA-11
Whistlc B]ower-Falsifying Lab Results for oxygenated gasoline

 

 

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`l`:me Sheef; Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours l Descrigtion of Activity
711!1996 1.5 Research re: Neurontin listings in Arnerican Medical Assn.; Amerioan Hosita| Forrnu|ary
Service Drug information and U.S. Pharmacopeia Drug,lnforrnatjon
712!1996 2 meeting with Dave Franl<lin
71211-996 2.5 legal research
718/1996 0.25 meeting with Medicaid Fraud Control Unit, Amold Shapiro, Pharrnacy Program Manager
7/17/1996 2.5 Meettng with Davicl Franl<lln
7[1-9i1996 0.25 telephone conference with Medicaid, Alvin Brown
7/22!1996 2 legal research, telephone conference with FDA
7122/1996 2 legal research
7123»'1996 1 research; telephone conference with Charles Montgomery
7}23!1'996 0.5 telephone conference with Arn're Shapiro `
7l23l1996 0.25 telephone conference with
7/24/1996 0.5 telephone conference with D. Franklin
7130/1996 0.25 telephone conference with KG
7/30/1996 0.5 telephone conference with D. Franklin
911/1996 1.5 review tapes
811/1996 0.25 telephone conference with Dennis Phillips {DDJ)
815/1996 2 review and edit disclosure ___
8/6!1996 1- Meeting with David Franklin
8112/1996 0,25 Letter to David Franklin re: votcernail transcript
81121'1996. 1 review and edit complaint
Bl13/1996 0_25 Plaintist Motion to Sea| Complalnt and Written Disclosure
review court’s order: AtlowedlDocketed-Plaintiff's Motion to Seal Complaint and Written
9/4}1996 0.25 Disc|osure '
Aftidavit- of Thornas Hoffrnan and copy of Retum Receipt_(Janet Reno) end Cert_ of
9/4/1996 D.25 Service ` -
1011 011996 1 0.25 research re: Needham lab fined 119m for fraer
United States' Unopposed Ex Parte Applicat°ron For Entargement of Trrne to Consider
10118/1996 0.25 Electicn To intervene
10/28'!1996 1.5 meeting with U.S. gov`t representatives
11/151'1996 0.25 telephone conference with Tom Kanwit
212811997 0.25 review Notice of intent to Dismise (l_oca| Rule- 41 .1 (B})
3126/1997 0.25 review court's Order
review: SEALED-United States’ Unopposed Ex Par.te Appllcation For En|argement of
4/16/1997 9.25 Time To Conslder E|ect=on to intervene
4118/1997 0.25 Order '
review artic|e: Off the Label; Staffers of Drug- Maker Say it Pushed Product fro
9)'15/1997 0.5 Unapproved Uses
United States' Unopposed Ex Parte Application For Enlargernent of Time to Consider
10/27/1997 0.25 Election Tc |ntervene-(Filed Under Seal)
Ex Parte Application of United States For Extension Of Time To Consider Election to
6/2411 998 925 lntervene (Filed Under Seal)
6/24/1998 --» 0.25 Review of correspondence from T. Kanwit
6/29/1998 0.25 Order (Filed Under Seal)
Ex Parte App|ication of United Btetes For Extensien OfTime To Constder Election to
10.'29/1998 0.25 lntervene {Filed Under Seal)
11/1-911 998 0.25 Order (Filed Under Seal)
Ex Parte Application cf United States For Extension Of Time To Ccnside'r Election tc
4127/1.999 0.25 intervene (Filed Under Sea|)
4130/1999 0.25 Docketed-Order (Filed Under Seal)
Ex Parte Apptication of United States For Extension OfTime To Consider Election to
911!1999 1125 intervene (Filed‘Under Seal)
919/1999 1 telephone conversation with T. Kanwit

 

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'l”rrne Sheet: Thomas M. Greene

 

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gate Hours Descrigtion of Activig
11122/1999 1.5 conference with Tom- |-(anwit
11/2211999 0.25 Letter to David Franl`<|in re: new developments in case
111231199_9 '0.5 Letter to Richard Boskey re: David Franklin
11/3011999 0.5 review of article "When Physicians- Doub|e as Entrepreneurs"
11/3011999 1 telephone conference with D.Franklin
11/3011999 0.25 Letters from Robert Marceau to Thcmas Greene
1216/1999 0.5 telephone conference with D.Frank|in .
1211011999 , 1 meeting with David Franklin re: wrongful discharge, research on motion to amend
1212011.999 0.5 meeting with T. Kanwit
1212111999 0.5 hearing'before J. Saris
1212211999 0.25 Notice of the United States That lt ls th lntervening at this 'T"rme (Filed Under Sea|)
1212311999 0.25 Order (Filed Under-»Sea|)
1212911999 0.5 Review correspondence from T. Kanwit
12130/1999 115 Letter from 'lhcmas Kanwit re: service of disclosure upon the Defendant
113/2000 0.25` Docketed-Order (Fifed Under Seal) `
115/2000 1.5 meeting with Mil-re Tabb, Tom Hoffman
11812000 0.75 conf. With Tabb,, Hoffman.
119/2000 1 conf. W. M. Tabh __
111312090 0.25 telephone conference with T. Kanwit
111412000 . 1 Fax from Thomas Kanwit to Thomas Greene re: notice that US is intervening at this
time
111412000 . 1125 Review of correspondence and pleading from T. Kanwit
111512000 0.75 conf. With M. Tabb
112812090 0;25 telephone conference with T. McGrath
1/2812000 0.25 telephone conference with T. Kanwit
113112000 0_25 Motjon of the United States For Mociiflcation of Order
2114/2000 0.25 Docketed»Order
313/2000 0.5 telephone conference with T. Kanwi't
313/2000 0,5 telephone conference with T.Kanwit
316/2000 0.5 telephone conference with J.. Ruby
316/2000 0.5 telephone conference with D. Frani`rlin
316/2000 0.25 telephone conference with D. Franklin
414/2000 1175 conference with Tom Kanwit
418/2000 0.25 review of Media Fax re Warner-t_aml:)ert
4110/2000 2 meeting withJitl‘Funnan, Leon Drezek, Denls Drum, Susan Hanscn-Philbrick
411112000 2 meeting with J. Furman, T. Kanwit, S. Hanson-Philbrick, D. Drum, David Franklin
411912000 2 preparation for grand jury
4128/2000 0.5 raviewartic|e "Off the |abel; St‘affers of Drug Maker Say it Pushed Product for
unapproved uses";
412912000 0.25 Letter to process server re: service of complaint upon the Defendants
412812000 0.25 Fax from James Rouhandeh of Davis Po|k & Wardwell (NY) to “lhomas Greene re:‘
service of the complaint
4128/2000' 1 Complaint Fiied Under Sea| wlsummons
511/2000 0.25 Fax from .lames Rouhandeh'to Thornas Greene re: service of the complaint
51112000 D.25 Fax to Dr. Hilman re: complaint
511/2009 0.25 Summons waroof of Service
516/2000 0.25 telephone conference with J Murrey
518/2000 0.25 telephone conference with T. Kanwit
5110/2000 ‘ 2 grand jury preparation
511 512900 0.25 Letter to Federa| civil cted<’s office re: proof of service
511 512000 0.5 Fex from James Murray of Davis Polk re: stipulation to extend time to file answer
511512000 0.25 Review of correspondence to clerk
5116/2000 0.25 Fa>r from Jemes Murray of Davis Pc|k

 

 

 

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Datel Hours l Description of Activity
511612000 0.25 Stipulation And Order to Extend Time
511712000 0..25 telephone conference with Joan Krause
511712000 0.25 Letterio Prof. Krause
511712000 0.25 Letter to James Murray re: stipulation
511712`_000 0.5 Fax from James Murray to Thornas Greene re: stipulation filing
511812000 0.5 telephone conference with John Curley (Nledicaid Fraud Control
511912090 0.25 telephone conference with Nancy Rid|ey
511912000 1125 review of article re Co|umbia/HCA 5745 million to resolve medicare fraud aiiegations
511912000 0.25 telephone conference with Division of Medicai Assistance
511912000 1 telephone conference with Charies Montgomery
512212000 0.25 telephone conference with FDA, Cindy Fitzpatrick
512212000 0..25 telephone conference with .ii|| Furman
512212000 0.5 telephone conference with John Curi`ey {Nieciicaid Fraud Control
512212000 0.25 telephone conference with Unisys--Provider Services Dept.
512212000 0.5 telephone conference with Prof. Joan Krause
512212000 0.5 telephone conference with U.S. Dist. Ct. Cierl<, N. District. San Francisco, Hi|iary Fox,
Andrew Scobie
512212000 0.5 telephone conference with Barbara Greene, Div of Medigg| Assistance
512212000 1 preparation for conference with Dr. Hi||man
.512212090 0.25 Notice of Action By The Court (granting extension to respond to complaint)
512312000 0.25 telephone conference with Grant Caroil
512512000 0.5 telephone conference with Tom Kanwit
.512512000 1 telephone conference with C. Burke
512512000 0.25 telephone conference with NY Medicaid Choice
512512000 0.5 summary to note tile
513012000 0.25 research re: medicare drug payments review of NYT article 5130100
513012000 1 telephone conference with Dr. Hilirnan
513012000 0.25 United States‘ Assented-To Motion For Aciditjonal Time
513112000 0.25 Leiter from Thomas Kanwit to re: motion to intervene to stay discovery
513112000 1 United States' iviotion For a Stay of Civii Discovery
Memorandum of F'oints and Authorities in Support of United States" Motion for Stay of
513112000 0.5 Civii Discovery
5131-12000 0,25 Notice of Action By The Court (granting to extend time to seek stay of civil discovery)
5/3112000 0`.25 Review of correspondence from T. Kanwit to court
61112000 0.25 telephone conference with Brian Stroms
612/2000 0.25 telephone conference with Tom Kanwit
512/2000 0.25 telephone conference with D. Franl<iin
612/2000 0.25 telephone conference with Steve Sournerai, M.D.
6/512000 0.25 t_etter to cierk‘s ofnce-re: response to'motlon to stay discovery
Re|ato`r, David l=renkiin’sl Response to United States‘ Motion For a Stay of Civii
615/2000 0.5 Discovery
61512000 0.5 Drafting reiator's responses to motion to stay and correspondence to court
619/2900 0.5 telephone conference with Ed Haug
611312000 0.25 telephone conference with J. Rouhandeh
511 312000 0.5 telephone conference with Tom Kanwit
611312000 0.5 Fax from James Rouhandeh to Thomes Greene re: stipulations
611312000 0.25 Review of correspondence and stipulation from J. Rouhandeh
611312000 0.25 Review of correspondence and stipulation from J. Rouhandeh to Judge Saris
611412099 0.25 Fax from James N|urray re: stipulations
611412000 0.25 Fax to James Rouhandeh
Stipu|ation & Order to E'xtend Time (for stay of civil discovery until completion of
611412000 0.5 criminal investigation)

 

 

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Date Hours DescriEtion' of Acttvi_g[
thice of Action By The Court (granting extens on of time to June 21 2000 to respond to
611412000 0.25 U.S.A. motion)
611512000 0.25 Fax from Jarnes Rouhandeh to extension to July
611512000 0.5 Stipulatjon And Order to Extend Time [to answer complaint until Juiy 21. 2000)
612112000 0.25 review letter from J. Rcuhandeh
Defendant Warner-Lambert Company' s Mernorandu_m Of Law in Opposition To The
612112000 2 Government’s Motion For A Stay of Civii Discovery
612112000 0.25 Review of correspondence from J. Rouhandeh to Judge Saris
612112000 0.25 Review cf correspondence from D. Chaft`ln 10 COLlrt
612612000 0.25 thice of Action By The Court (denying motion to stay civil discovery)
Notice of'Action By The Court (granting extension of time toAJuly 21, 2000 to answer
complaint October 6, 2000 for Plaintiff’s response and October 31 , 2000 for defendants
612512000 0.25 reply
61291200`0 0.25 telephone conference with Tom Kanwit
613012000 3 meeting with Nicole Ferrer and review of memo 6130100
713/2000 ‘l review letter and attachment
initial Required Disclosure of Defandant Wamer»Lambert Pursuant to FRCP 26 and
713/2000 0.5 l_oc_ai Rule 26.2
l-`irst Request For The Production cf Documents Frorn Defendant Warner-Lambert to
713/2000 0.25 Re|ator David Frank|in
713/2000 0.25_ Notice of Deposition of David Franklin
715/2000 0.5 telephone conference with Tom Kanwit
715/2000 02 review of article re ColumbialHCA $745 million to resolve medicare fraud allegations
715/2000 0.5 Ietter‘to D. Franklin
711312000 0.25 Letter from Hare & Chafffn
711312000 0.25 Assented`To Motion For Leave To Practice Pursuant to Locai Ruie 83.5.3
Anidavit Of: Robert B. Fiske, Jr.; James P. Rcuhandeh; James E. Murray; and Barbara
711312000 0.25 D. Diggs
711512000` 0.25 telephone conference with Dr. Merikangas
711'812000 0.25 Letter to Mike Tabb re: complaint
711912000 0.25 telephone conference wlth Jim (Davis Polk}
712012000 ‘i telephone conference with D. Franklin; review of memo from D. Frank|in dated 7120100
712012000 025 Letter to David Frank|in re: afiidevit
712012000 1 Affidavit Of David.Frank|in-
712112000 0.25 review letter to court
7121/2000 0.5 lvlotion of Defendant Wamer-Larnbert Company To Dismiss the Complaint
Defendant Warner-Lambert Company’s Memorandum Of Law tn Support Of its Motion -
712112000 3 to Dismiss The-Comp|aint
712112000 0.25 Review of correspondence from D. Chaffin
712112000 0'.25 Review cf correspondence from D. Chaftin to J. Saris
71241'2000 0.25 telephone conference with David Frani<lin»
712412000 0.25 Plaintiff's Moti`on For a Protective Order
Piaintiff's Memorandum Of Points And Authorities in Support Of Piaintiff's Motjon For A
712412000. 4 Protective Order
712412000 0.25 Correspondence to Federa| Clerk’s Ofiice
712712000 0.25 Notice Of Action By The'Court (appearances pro hac vice fee status)
712812000 0.25 telephone conference with Tom Kanwit
712812000 0.25 telephone conference-wim Tom Kanwit
712612000 0.25 review letter to court
712812000 0.25 Memo re: draft'automatic disclosures
712812000 0.25 Letter from David Chaffin re: Motion for a Protective Order

 

 

 

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_D_gt_el Hours FDescriB)n of Acmy
' Wamer-Lambert Company's Nlernorendum of Law in Opposition to Plaintifl‘s Motion For
7128/2000 1 A Protective Order
7/28)'2000 0.25 Review of correspondence from D. Cheffln to J. Saris
7/28/2000 0.25 Review of correspondence from D. Chaffin to clerk
8/1/2000 0_.5 Letters to court re: reply brief
Plaintiff's Reply To Defendant's Memorandum in Opposition To Plaintiff’s Nlotion For
811)'2000 2 Protective Order
812/2000 0.25 Letter to David Chaf'fin re: response to Defendant's RPD
Relator’s lnitial Disclosure Made Pursuant To Rule 26 (a) (1) Of The Federal. Rules of
BIZZOOO 5 Civii Proce.dure and Local Ru|e 26.2 (wICOS) `
Relator David Franklin’sResponse to First Request For Production of Documents from
8/2!2000 2.5 Defendant Warner-Lambert
812!2000 0.25 correspondence to T. Kanwit
8/2/2000 0.25 review of correspondence from D. Chafhn
8/3/2000 0.25 Letter from David Chaflin re: disclosure
8/3f2000 0.25 Letter from David Chaflin re: Protective order
Bf3!2000 1 Joint Motion For Leave to Produce Written Disclosure To Warner-Lambert
Wemer-l_ernbert's Motion For Leave To Produce Written Disclosure To Werner-
8/3/2000 0.5 Lambert .._
813/2000 0.5 Wamer-Lambert's Motion To Sfrike Plaintiff's Reply Nlemorancium
8/3!2000\ 0.25 Notice Of Action By The Court (granting motion for protective order)
8131'2000 0.25 Review of correspondence from D. Chaflin
514/2000 0.25 telephone conference with l\)like Tebb
BI4/2000 0.25 telephone conference with T. Kenwit
314/2000 1 telephone conference with Tom Kenwit
814/2000 0.25 Letter to David Frenl<lin
8/4/2000 0.5 Fax from Thomas Kanwit to Thornas Greene
814/2000 0.25 telephone conference with David Frenklin
8/4/2000 0.25 Review of correspondence from T. Kanwit \
811012000 1.25 Fa_x from Jarnes Niurray to Thomas'Greene re: response to production of documents
811 1/2000 0_25 Fax from James Murray re: deposition of Deve Franklin
811 412000 O..25 Letter to Jernes Murray re: production of documents
8115!2000 1v legal research
811 612000 ‘ 0.25 review article: lntemist hits pharmaceutical industry
8117/20'30 0.5 draft notes; document request
8/21/2000 0.5 telephone conference with Cero|yn Macelroy
8/21/2000 0.25 telephone conference with Cerolyn Maceiroy
BlZ’i/ZOOD 0.25 telephone conference with Lerry Reed?HCFA
8122/2000 0.25 Letter to James Rouhandeh re: RPD
Flrst Request For The Production of Documents From Reletor David Franklin To
8/221'2000 4 Defendent Warner-l.ambert Company
8122/2000 0.25 Correspondence to Kanwit
8/25/2000 0.25 review memo from Nico|e Ferrer
8/25/2000 0..5 memo to tile re HCFA
8/2BI2000 0,25 telephone conference Sidney Wolfe ,
8!29}2000 0.25 telephone conference with Public Citizen
B/SOIZOUD 0.25 telephone conference with Vince Powell, Sue Gaston, Jackie et U Minn.
51301'2000 0.5 telephone conference with Dean-'l"lm Mayer
813012000 ‘l telephone conference with Mess Health; \flnce Powell, note to file
8/30/2000 0.5 Fax from Jarnes Murray re: production of documents
8/30/2000 0.25 Letter to David Frenl<lin
Notice OfAction By The Court (granting motion leave to produce written disclosure to
8/30/2000 0_25 Warner-Lemberl "a||owed w/ou_t opposition")

 

 

 

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Date; Hours l Descript_ion of Activity

915/2000 0.25‘telephone conference with D. Disano

915/2000 0.5 Letter to DennisLyons re: Medicaid

915/2000 0.25 Letter to David Frank|in

9/512000 0.25 Letter to David Chaffln re: written disclosure

915/2000 0.75 Letter to James Murray re: production of documents

91512000 1.5 Re|ators Privilege Log Provided PursuantTo Federal Rule Of Civii Procedure 26 (b) (5)

91612000 0. 5 telephone conference with Betsy Mullison

916/2000 0.25 review memo to TG

91612000 4 meeting with D_ Franl<lin, prep for depo

916/2000 0.5 legal research

917/2000 4 meeting with D, Franklin, prep for depo

917/2000 0.25 telephone conference with Tom Kanwit

918/2000 4 meeting with D. Frankiin, prep for depo

918/2000 0.5 memo to nle

915/2000 0.5 notes to file
9/1112000 1 conte-renee with pennie Lyens '*_
911212000 10 meeting with D. Frankl' in and deposition of D Franklin (f rst day)

Review and edit memo to T. Kanwit re: Medice|ly Accepted indications for Gabapentin
911212000 1.5 1993-2000 waabape'ntin Drug Uses by tndication and PDD`A -
911312000 10 Meeting with D. Frank!in and deposition of D. Franklin (second day)
911412000 10 Meeting with D. Franklin.and deposition of D. Franklin(third day)
911912000 1.5 Fax from James Nlurray re:.Defendants objections to RPD
Detendant’s Responses And Objections To Re|ator David Franklin’s First Request For
911912000 1.5 The Prod`uction Of Documents To Defendant Warner-Lambert Company
912012000 0.25 telephone conference with Roseanne
912012000 0.25 telephone conference with Dennis l_yons.
912012000 1 telephone conference with David Franl<li`n
912012000 1.5 Fax from James Murrey re: contidentj_atity agreement
912212000 0.5 Letter to David Franklin re: deposition transcripts
9/2512000 1.5 meeting with M_ Tabb re: Frank|in ease
912512000 0.5 telephone conference\with Ed Haug.
912512000 0.5 telephone conference with Tom Kanwit
912612000 0.5 review Memorandum to Thomas Greene re: Neurontin patents
912612000 6 legal research
912612000 0.5 Reviewing and editing draft memo on Wamer-Lambert Patent issue
912712000 1 telephone conference with david Franklin, review of PD list of AE Deciie 6-10
' psychiatrists

912712000 3 legal research
912712000 1 review Memorandurn to Thomas Greene and Thomas l-loffman re: Medicaid
912812000 6 legal research
912912000 0.5 telephone conference with Estelle Chisolm
9/2912000 0.25 review Memo to Thomas Greene and Michaei Tabb re: Medicaid
912912000 2 legal research
1012/2000 0.25 telephone conference with Pau| Hoffman
1012/2000 1 telephone conference and Letter to Ms. Chisolm re: Medicaid
1012/2000 3 legal research
1012/2000 2 drafting, editing opposition to motion to dismiss
1014/2000 2 drafting, e.didrwj£pposition,to motion to dismiss
1015/2000 6 drafting, editing opposition to motion to dismiss
1016/2000 0;25 Letter to clerk's office re: f@g opposition to motion to dismiss
1016/2000 0.25 Fex to James Rcuhandeh re: ,opposition-to motion to dismiss
1016/2000 0.25 Letter to David Franklin
1016120001 6 draftingl editing opposition to motion to dismiss

 

 

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Et_e_l Hours l Descripb`on of A=Mty
101612000 0.5 Relator‘s Motion For Leave To File Opposition in Excess of Twenty (20) Pages
101612000 0.25 Certiticale of Service (SEE FlLE C23 FOR EXH|B|TS)
1011012000 0.5 notes to tile g
1011012000 0.5 telephone conference with Steve Amundson
1011012000 0.25 Letter to James Rouhandeh re: deposition of David Franklin
1011012000 0.75 Letter to Mary Salhus re: Medicaid
1011012000 1 Letter to Slanley Aiderson re: Medicaid
1011112000 0.25 review of article; "Maine’s New Law on Drug Prices is Put to Legal Test" '
1011112000 0.5 review memo to Staniey Aiderson re: Medicaid expenditures for Neurontin
1 0112!2000 1..5 Meeting w. M. "i'abb
1011212000 1 legal research
1011212000 3 drafting, editing memo.to Tom Kanwit
1011212000 0.75 letter to Kanwit with enclosures
1011212000 0.5 Letter to Court re: corrections to opposition
1011212000 0.25 review Memorandurn to Mary Salhus re: Medicaid
1011212000 0.5 review Memorand um to Thomas Kanwit re: Neurontin Medicaid eligibility
1011212000 ' 0.25 Letter to Mary Salhus re: Medicaid `
1011212000 1 Relator’s Opposition `l’o Motion To Dismiss (1016100‘5 CORRECTED VERS|ON)
10112/2000 0.25 Copies of correspondence and memoranda sent to Kanwit
Memo to T. l<anwit re: Medicaid -Reimbursed Claims for Neurontin Prescriptions, 1995-
1011212000 1 2000
Drafting and editing memo to Kanwit re: Medically Accepted indications for Gabapentin
1011212000 5 (Neurontin) 1993-2000 .
1 011212000 0.25 Correspondence to JudgeSaris
1 011512000 6 prep for deposition of Janeth Turner; organize exhibits and documents
Relator’s Opposition To Mot.ion To Dismiss (do not copyluse; corrections were made,
1011612000 0.25 later version is found on # 55)
1011712000 0.5 review article: Facing down the Drug Giants
10117/2000 0.5 Fax from James Murray re: deposition of Dave Franl<lin
1011 8/2000 0.5 Meeting w. M; Tabb
1011812000 0.25 telephone conference with Bili Waldrnan
1011812000 0.25 telephone conference with Steve Amundson
1011912000 0.25 l`_etter'to Thomas Kanwit
1011912000 0.25 Correspondence to T. Kanwit
10123/2000 025 telephone conference with Kim Howell
1012312000 0.25 Letter'to Dennis Lj/ons re: Neurontin
10124/2000 0.5 telephone conference'with Dennis Lyons
1012512000 0.25 notes to tile re Olympic tickets
1012512000 0.25 telephone conferences with S. Amundson
1012612000 0.25 telephone conference with Adrienne .iones
1012612000 0.5 telephone conference with Michetle Mickey
1012612000 0.25 telephone conference with Wendy Wari ng
10126/2000 0.5‘ review of memo from |JR
1012612000 0.25 Fex from James Nlurrary re: Franklin deposition
1012612000 1.5 Fax from Steve Amundson
1012812000 0.5 Letter from Dennis Lyons‘
10130/2000 0.5 telephone conference with Kim Johnson
1013012000 0.5 tetephone conference with Steve Punzak
1013012000 0.25 telephone conference with Ray Hanley
10/3012000 0.25 Letter to Jarnes Rouhandeh re: second RPD
Second Request For Production Of Documents From Relator David Franlclin To
1013012000 1 DefendantWarner-Lambert Company 7
1013012000 0.25 Correspondence to Rouhandeh
1013112000 0.25 review of memo from lJR

 

 

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Datel Hours Description of Activifv
1013'112000 0.25 review Memorandum to Tom Greene re: state Medicaid coverage
1013112000 0.5 review Memorandurn to Ray Haniey re: summary of allegations; Medicaid attachment
1013112000 0.25 Fax to Mike Tabb of Defendant’s reply brief
Defendant Warner-l_ambertCompany‘s Reply Memorandum Of Law in Support Of its
1013112000 2 Motion To Dismiss The Complaint
1111/2000 1 Meeting with lVlike Tat`)b
1111/2000 0.5 telephone conference with Tom Kanwit
111112000 0..5 telephone conference with Dennis Lyons
111112000 0.25 research re FDA contacts
111112000 0.25 telephone conference with David Franklin
1111/2000 0.25 telephone conference with Tom Firardi
1111/2000 1 review and edit Fax memorandum to David Nexon re: case summary
111212000 0.25 telephone conference with David Franklin
111312000 1.5 meeting with Tom Kanwit
1113/2000 0.25 Letter to Thomas Kanwit
1113/2000 1 Mee@g w/ M. Tabb and TH and lJR to prepare for meeting with Tom Kanwit
11 1312000 1 review and conference with lJR re: Memorandum to file re: Neurontin patent issue
1113/2000 1.5 Review and edit memo to T. Kanwit re: Neurontin patients
1113/2000 2 Review and edit memo to Kanwit re: California Patient Neurontin C|aims
Review and edit memo to T. Kanwit re: Medicaid Reimbursed Claims for Neurontin
1113/2000 4 Prescriptions, 1995-2000
Review and edit charts re: Peer reviewed and non peer reviewed journal citations by
11'1312000 4 year and Drugdex citations by year
`1 116/2000 0.25 telephone conference w'rth Dr. Madden
111612000 0.25 telephone conference with Dr. Sorrell
1116/2000 0_5 review article: Confticts of interest in Science; is Academic Medicine for Saie?
1116/2000 0.5 review article: Tainted ailiances; Are doctors shifting for drug companies?
review article: Truth and advertising.Are pharmaceuticl ads compromising medical
111612000 0.5 journa|s?
1116/2000 0.75 review and conference with lJR re:' Memorandum to Wendy Warring re: Neurontin off-
tabei marketing
111612000 0.25 Fax to Wendy Warring
111612000 0.25 Letter to I_eo Sul|ivan
1116/2000 0.25 Email to Gary Butt re: off-label promotion of Neurontin
111612000 0.25 Email to Boi:r Reid re: off»label promotion of Neurontin
1116/2000 0.25 Letter to David Franklin re: day-four deposition transcript
111712000 0.25 telephone conference with Claudia Gibson
' 111712000 0.5 review of David Franklin memo to Tom Hoffman
111712000 0.25 telephone conference with Dr. Metz
111712000 0.25 telephone conference with Bob Reid
1117/2000 0.5 draft Physician interview sheet
1117/2000 0.25 Email to David Sheper re: memo end state chart
111812000 0.25 Email to Gary Duerr re: memo and state chart
111912000 0.25 telephone conference with Tom Kanwit
111912000 0. 5 telephone conference with Lynn Terra
11 1912000 0. 5 telephone conference wih Curtis Burch
111912000 0. 5 emails of 1116 and 1118 to ray Haniey and Ereck Hopkins email of 1119100
1119/2000 0.25 Fa)t from James Murray to Thomas Greene re: voicernail tapes
1119/2000 0.25 Email to Gene Hiehle re: Medicaid memo and state chart
111912000 0.25 Email message to Greg Beil
1119/2000 0.25 Email to Curtis Burch re: memo and state chart
111912000 0.25 Email reply from Gene Hiehle re: conference call
1111012000 0.25 telephone conference with Scott Earty

 

 

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Date Hours Description cf A‘ctiLity
1111312000 0.5 telephone conference with Breck Hop|<ins
1111 312000 0.25 Email message to Gene Hiehle re: conference call
11114/2000 1 teiephone conference with Medi-Cal
1111512000 0.25 telephone conference with ..lohn Murphy
United Stetes' Unopposeci Motion for Leave to file an Amicus Brief Opposing Defendant
11/1512000 0.25 Parke-Davis' Motion To Dismiss
_ Order/Endorsed Order entered granting motion for leave to file Arnicus Brief opposing
1111512000 0.25 Parke-Davis' Motion to Dismiss
1111612000 0.5 review of memo from Niocoie Ferrer
1111712000 1.5 Meetin_g with Nl. Tabb re: confidentiality agmt.
1111'112000 0.25 Fax to Mike Tabb re: Confidentiality Agreement
1112012000 0.25 telephone conference with Gene Hiehle
11120/2000 0.5 Email proposal to Gene Hiehle re: Medicaid data
11121/2000 9 meeting with D. Franklin and depo of D. Franklin (fourth day)
11!2112000 0.25 Email reply from Curtis Burch‘
1112112000 0.5 conf. With M. Tabb
1112112000 0.5 Letter to Thomas Kanwit re: Neurontinjournal articies
1112212000 1.5 Fax to Thomas Kanwit of Medicaid rebate agreement
1112212000 6 legal research motion to compet __
1112812000 0.25 telephone conference with J. Murray
1112812000 0.5 meeting with M. Tabb
1112812000 ' 0.25 Letter from James Murray re: Defendant’s production of documents
1112812000 4 legal research motion to compel
1112912000 0..5 telephone conference with Gene Hiehle
11129/20`00 0.25 review of emaii from Gene Hiehle
1112912000 0.25 Fax to Gene Hiehle re: Medicaid data
1112912000 4 drafting, editing motion to compel production of documents
1113012000 0.5 conference-with Nlike Tabb
1113012000 0.5 telephone conference with D. Baugh
1113012000 0.5 telephone conference with Dennis Lyons
11130/2000 0.25 Fex to James lvlurray re: letter
1113012000 0.25 Email to Dave Baugh re: opposition to motion to dismiss and state chart
1113012000 0.5 Reiator's Motion Tc Submit Memo Exceeding Twenty Pages in Length
1113012000 5 Relator's Motion To Compei Production of Documents
1113012000 5.5 drafting, editing motion to compel production of documents
1113012000 2 Mernorandum in Support cf Relator’s Motion `l'o Compel Production of Documents
Defenciant's Responses And Objections To Reiatcr David Franklin‘s Second Request
11130120{]0 0.5 For The Production Of Documents To Defendant Warner-Lambert Company
1211/2000 1 telephone conference with Bill Baiantine
1211/2000 05 Fax from James Murray to Thomas Greene re: Defendants objections to the second
RPD
1211/2000 0.25 Letter to James Murray re: contidentiality.order
121212000 0.25 telephone conference with Tim.Terry
1212/2000 2 legal research
121412000 0.25 Email from Gene Hiehle re: phone conference
121412000 2.5 Memorandum to Thomas Kanwite re: causation
12/412000 0.25 review of email from Gene Hiehle
1215/2000 1 Memo to Thomas Kanwit re: Scott-Levin
1215/2000 1.5 Memo to T. Kanwit re: Scott Levin
1216/2000 0.25 review of lvlemo from NMF
1216}2000 2 Memo to Thomas Kanwit re: Medicaid
121612000 0.25 Email to Gene Hiehle re: conference call
12/612000 0.25 Letter to Thomas Kanwit enclosing day fourtranscript of Frank|in deposition

 

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Datei Hours _Qescription of Acfivity
1216/2000 0.25 Letter from Thomas Kanwit re: audio tapes
121612000 2 Review and edit memo to T. Kanwit
1217/2000 0`.25 review of memo from Dennis Lyons
12!712000 0.25 telephone conference with Bheiia lVloCarthy
1217/2000 0.25 telephone conference with Ted Doyie
1217/2000 0.25 Letter to James Rouhandeh re: production of documents
1217/2000 0.5 Fax from James Murray re: confidentiality £greement
1217/2000 1.5 United States` Motion For Leave TO Fiie its Brief in Excess Of Twenty Pages
Notice O.f Actlon By The Court (granting motion for leave to Hie Amicus Eirief. opposing
121712000 0.25 motion to dismiss)
1218/2000 3 preparation , edit and review of memo-to George Jacobs with attachments
121812000 0.5 telephone conference with Dennis Maloney
1218/2000 0.25 telephone conference with Gene Heih|e
1218/2000 1125 telephone conference-with Gregory Boyd Beil
1218/2000 0`.25 telephone conference with George .iacobs
1218/2000 0.25 Letter to David Chaffin re: audio tapes
1218/2000 0.25 Email to Gene Hiehle re: address
1218!2000 0.25 Fax to Ms_ Emanuei of Mass.Div.l\/ied.Asst re: Neurontin marketing memo
1211 1/2000 0.25 telephone conference with iviiiiie Emmanuel; telephone conference with George Jacobs
1211112000 0.25 Email to Ms. Emanuei of Mass.Div.Med.Asst _
1211112000 0_25 Letter to Jim Caruso attaching Medicaid memo
1211112000 2 reviewing and editing memorandum're: Parke-Davis’s illegal Scheme
1211112000 1 Reviewing and editing memorandum to Jim Caruso re'. Neurontin marketing
1211112000 0.25 Email from Gene Hiehle re: draft letter
1211212000 0.25 Email to Gene Hiehle re: changes to draft letter
1211412000 0.25 review of articie; "HCA settles federal health fraud cese”
1211412000 0.25 Letter from David Chafhn to the court re: US amicus brief
1211412000 0.25 Letter from David Chafiin to the court re: enlargement of time on motion to compel
Wamer-t`_arnbert`s Motion For Eniargement Of Time Within Which To Respcnd To
1211412000 0.25 Motion To Compel
Order1Sari's Endorsed'Order Entered Granting Motion to Extend Time to 12115 t`o
1211412000 0.25 Respond to Motion To Compel `
1211512000 1 telephone conference with Beth Travola
1211512000 0.25 telephone conference with J. Murray
1211512000 1 Fex from James Murray re: revised confidentiality order
1211512000 0.25 Letter from David Chaftin to court re: Defendant's motion for a protective order
Motion Of Defendant Warner-Lambert For A Protective Order Limiting The Disclosure
1211512000 0.25 Of Confidentia| Documents
Defendant Warner-Lambert Compeny's Memorandum Of Law (1) in Support Of
Defendant’s Motion For A Protective Order Limiting The DisclosureOf Conhdential
Documents and (2) in Opposition To The Reiator's Motion To Compel The Production
1211512000 2 ()f Documents and affidavit of James Murray
1211812000 0.5 conf. With M. Tabb
1211912000 0.25 Letter from David Chafiin to court re: murray afndavit
1211912000 0.25 Notice Of Hearing On All Pendi`ng Motions
Def. Warner Lambert Co. Memo of law in response to the US Amicus Bn’ef. Opposing
1212012000 1.5` Def. Motion to Dismiss
12!2112000 1,5 coni. With M. Tabb
1212112000 0.25 telephone conference with Gecrge Jacobs
12121120[}0 0.25 notes to file re confidentiality agreement
1212112000 0,25 Letter from David Chaffin enclosan Defendant‘s reply brief to US amicus brief
1212312000 1 review of memo from liyas and attachment

 

 

 

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`i“ime Sheet Thomas M. Greene

 

Datel Hours Description of Acti'vitv

 

legal research. drafting and editing Relator's opposition to def.'s motion for protective
1212612000 5.5 order

 

 

 

1212712000 1 conf. With M. Tabb
1212712000 0.25 telephone conference with Tom Kanwit
1212712000 0.25_ Letter to Thomas Kanwit re: hearing date

 

legal research, drafting and editing Re|etor's opposition tc def.'s motion for protective
1212712000 4 order

 

 

 

 

1212712000 0.25 Correspondence to Kanwit
1212812000 0.5 review article: Biotechnoiogy companies Try to Ward Off Generic Drugs
legal research, drafting-and editing Relator's opposition to def.'s motion for protective
1212812000 4 order
121291200[) 0.25 Lettertc court re: motion compei and motion for a protective order

 

Relator's Motion For Leave Of Court To File Relator's Oppositlon ’l'o Defendant’s
Motion For Protective Order and Reply To defendant's Opposilion To Relator's Motion
`l'o Compel Production Of Documents

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1212912000

 

 

legal research, drafting and editing Reiator's opposition to def.’s motion for protective
1212912000 6 order

 

Relatoi‘s Opposition To Defendant's Motion For Protective Order and Reply To

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1212912000 3 Defendant`s Opposition ToRelat`or's Motion To Compel Production OF Documents
Afhdavit Of Thomas N|. Greene in Opposition To Defendant's Motion For Protective
1212912000 2 Order {re: #70 81 #71)
1212912000 0.25 Correspondence to Kanwit
115/2001 1.5 MeeMwith M. Tabb and Hoffman
117/2001 1.5 meetianith Tabb, Hoffman
117/2001 0.5 hearing before J. Saris
United'States’ AM|CU-S Bn'ef Opposing Defendant Parlce-Davis’ Motion For A Protective
11812001 1 Order .
111612001 0.25 l'_etter to James Rouhandeh re: 1st ints and 3rd RPD
Rel`ator, David Frenklin’s First Set Of interrogatories To The-Defendant, Parke-Davis,
111612001 2 Division ofWamer-Lambert Company (DUE 2117)
Relator,. David Frankiin.’s, Third.Request For Production Of Documents _To The
111 612001' D.75 Defendant, Parke-Davls, Division of'Wamer¢Lambert Company (DUE 2117)
111612001 ` 0.25 Correspondence to T. Kanwit
111712001 0.25 telephone conference with J. Murray
111 712001 1 Letter to Thomas Kanwit re: draft confidentiality agreement
111712001 1 Correspondence to T. Kanwit
1119/2001 0.25 Letter from James Murray re: Defendant's production of additional documents
111912001 0.25 Email from George Jacobs re: Neurontin
111 912001 8 readingl indexing PD boxes
112 112001 4 reading, indexing PD boxes
1122/2001 5 reading, indexing PD boxes
1122/2001 0.25 telephone conference with George Jacobs
.112212001 0.25 telephone conference with T. Kanwit
112212001 0;25 Letter from James Murray re: Defendant’s production of additional documents
112212001 1 review Fax to Thomas Kanwit re: redline confidentiality agreement
112212001 0.25 Review of changes made to enclosed confidentiaiity agreement
1123/2001 4 reading. indexing PD boxes
1123/2001 0.25 review ad; Suffering from S_hingles
1123/2001 0.25 telephone conference with M. Steinrnan
112312001 0.25 review Fax to James Murray re: recllined confidentiality agreement
1124/2001 6 reading, indexing PD boxes
112512001! 6 reading, indexing PD boxes

 

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Date floors l Descrigtion of Activitv
Reiator's Reply to Defendant Warner Lambert Company’s.Memorandum of Law in
Opposition to (1) Relator’s Motion for Reconsideratlon cf the Magistrate's Order Datecl
1125/2001 4 December 12, 2001 and
1126/2001 B reading, indexing PD boxes
112912001 6 reading, indexing PD boxes
Notice of Change of AddresslHare & Chafnn (same address 160 Federal different floor
1130/2001 0.25 on 23)
1130/2001 8 reading, indexing PD boxes
113112001 8 reading, indexing PD boxes
1131/2001 0.25 Letter from David Chaffin to court re: notice of change of address
21112001 4 reading, indexing PD boxes
212/2001 4 reading, indexing PD boxes
215/2001 8 reading, indexing PD boxes
216/2001 4 reading, indexing PD boxes
217/2001 4 reading indexing_PD boxes
21812001 6 reading, indexing PD boxes
21912001 6 reading, indexing PD boxes
219/2001 3 reading, indexing PD boxes
211 212001 8 reading, indexing PD boxes
211212001 0.5 telephone conference with T. Kanwit
211412001 8 reading, indexing PD boxes
2114/2001 0.5 telephone conference with T. Kanwit _…
211 412001 0.5 Fax re: pregabaiin
211412001 2 reading, .indexing.PD boxes
211512001 7 reading, indexing PD boxes
211 612001 1 Fax from James il.'lurray to Thomas Greene re: Defendant's answers to interrogatories
Defendant’s Responses And Objections To Reiator David Franklin's Third Request For
211 612001 1 The Production Of Documenfs To Defendant Warner-Lambert Company
211 612001 3 reading indexing PD boxes
Responses and Objections. of Def. Parke-Davis, Division of W'arner-Lambert Company
211 612001 1 to Reiator David Frani<lin’s First Set of lnts.
211 612001 3 reading, indexing PD boxes
211712001 0.5 conf. With |Vl. Tabb
211 712001 3 readi£g, indexing PD boxes
212012001 0.5 conference with Mike Tabb
2120/2001 0.25 review article: Court Papers epict Scherne in Drug Billing
212012001 5 reading, mdng PD boxes
2120/2001 2.5 Letter to James Murray re: Defendant's answers to interrogatories
2121/2001 6 reading, indexing PD boxes -
212212001 0.5 conference with M. Tabb
212212001 8 readin&indexing' PD boxes
212212001 0.25 telephone conference with Seth Ray
2123/2001 0.5 conf. With Ni. Tabb
2123/2001 0.25 telephone conference with Murray
212312001 0.25 review article: Medicare Fraud Tipster io-get $26 million
212312001 1.5 Letter from James Murray resp_onding to letter of Feb. 20
212312001 1.75 Fax to James Murray re: interrogatories
212612001 3 reading, indexingPD boxes
212712001 3 reading, indexing PD boxes
212712001 0.25 review articie;' U.S. scrutinizes Saies Praciices of Bristol-Myers
2126/2001 8 rea'ding,.indexing PD boxes
2128/2001 0.5 telephone conference with D. Franklin
2126/2001 0.5 review Letter to James l\/lur@Lre: nling of proposed protective order

 

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,D_at_§| Hours Description of Actgi_ty
First Amended Responses and Objections of Def. Parke-Davis, Division of Wamer»
212812001 1 Lambert Company, to Reiator David Frankiin‘s First Set of lnts.
31112001 0.25 telephone conference with J_ Rouhandeh
31112001 1.5 drafting outline of Documents for T. Kanwit
311/2001 1 conference with lJR re Fax from James Murray to Thomas Greene and |lyas Rona re:
tiling of proposed protective order
31112001 5 reading, indexing PD boxes
31112001 1 Letter to James Murray re: Defendant’s answers to interrogatories
31212001 3 reading, indexing PD boxes
31212001 0.25 telephone conference with Rouhandey, Murray; M_ Tabb
31212001 0.25 Letter to James Murray enclosing Reiator's 4th RPD
31212001 0.75 Letter to Judge Saris re: protective order -
Fourth Request for the Production of Documents from Re|ator David Frank|in to
312/2001 1.5 Deiendant Wamer Larnbert Company
312/2001 1.5 reading, indexing PD boxes
315/2001 5 readirig,. indexing PD boxes
31612001 0.5 Letter from James Rouhandeh to court re: the protective order
316/2001 1 Letter from James Rouhandeh to court re: the protective order
31812001 2.5 meeting with M. Tabb
311312001 6 reviewing and indexing PD documents
311312001 0.5 Letter from James Murray re: production of additional documents
311312001 0.5 letter from J. Murray to T. Greene
311412001 7 reading end indexing PD documents
311412001 0.25 Letter from David Chari'in to clerk re:' defendants letters
311412001. 0.25 review NMF'e Memo to tile re: call to clerk's office re: docketing of letters to court
311512001 8 reviewing and indexing PD documents
3116/2001 8 reviewing and indexing PD documents
311912001. B reviewing and indexing PD documents
3120/2001 B reviewing and indexing PD documents
3120/2001 0.25 Fax to Thomas Kanwit re: tumors
3120/2001 4 review of law review articles and Letter to Thomas Kanwit re: law review articles
3120/2001 1 Correspondence to T. Kanwit with attachments
3123/2001 0.5 telephone conference with Louis Lesense
3123/2001 0.25 review of NMF memo
3123/2001 0.25 review Merno to TMG and lJR re: FDA FOl
312312001 8 reviewing and indeein PD documents
312612001. 1 meeting with M. Tabb
312612001 B reviewing and indexing PD documents
Defendant‘s Responses end Objections to Re|ator David Frank|in's Fourth Request For
41212001 1.5 The Production Of Documents `i'o Defendant Warner-i_ambert Company
41312001 0.25' meeting with M. Tabb
41412001 2 Letter to James Murray re: discovery
41512001 0.25 conf. With M. Tabb
415/2001 0.25 review Dept. HHS
41612001 B reviewing and indexing PD documents
41612001- 0..25 telephone conference with Jim Caruso
411012001 0.25 review of Murray letter of 411 0101
411112001 6 reviewing and indexing PD documents
411212001 7 reviewing and indexing PD documents
4/1312001 0.5 conference With M. Tabb
411312001 8 reviewing and indexing PD documents
411312001 0.5 research IMS Hea|th
411312001 1.25 Letter from James Murray re: response to 4th RPD
411312001 0.5 Letter to James Murray re: answers to interrogatories

 

 

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Date Hours Description of Activig{
Defendant Parke-Davis Production of Documents that contain information requested by
Relator David Frank|in's First Set of lnts.(See pleading index |V #79 {l-`rrst Amended
Responses and Obje. Of Dei Parke-Davis,. Div. Of Warner~Lambert co. to Relator David
411 61200‘| - 0.5 Franklin’s First Set of lnls.))
411712001 1.5 meeting with M. Tabb; telephone conference with J. Murray, J. Rouhandeh
411712001 0.5 Letter from James Murray re: interroga_tories
411812001 0.25 telephone conference with J. Rouhandeh
411812001 0.25 telephone conference with T. Kanwit
411812001 0.5 review of PRllViED materials
411812001 0.25 search for A.» Crook
411912001 1 conf, With M. Tabb
412012001 1.25 letter to James l\/lurray
412012[}01 3 letter to James Murray
412012001 1 letter to T. Kanwit
4120/2001 ' 1.5 Correspondence to Kanwit with Enc|osures, voicemail transcript
412312001 8 reviewing and indexing PD documents
412312001 1.5 Editinglemo to T. Kanwit
412312001 0.25 Correspondence and attachment to T. Kanwit
412412001 8 reviewing and indexing PD documents
_ m-41.'7_512001 8 reviewing and indexing-PD documents
412712001 0.5 telephone conference with J. lvlurray
412712001 1 Letter from James Murray re: answers to interrogatories
512/2001 1 editing Piaintiff-Re|ator letter to Hon. Saris re: Proposed protective order
NoticelEndorsed Order entered granting motion for leave to ita opposition to Def.
Motion for protective order and reply to Def. Opposition to Relator‘s motion to compel
513/2001 0.25 reduction of documents
' NoticelEndorsed Order entered granting motion for leave to file memorandum in excess
513/2 001 0.25 `of 20 pages
516/2001 1 DefendantWarne'r»Larnben Company‘s Letter re:Motion for Protective Order
511112001 8 reading and indexing Parl<e-Davis boxes
512112001 0.5 reviewing article: RX for nosebleed Prices
612512001 2 Mernorandum & Order by'.iudge Saris
612612001 0.5 telephone conf. VWth M. Tabb
612612001 2.5 review of Saris opinion; 6126101 llyas Rona memo
612612001 0.25 Procedural Order.iune 26, 20011Cohen, Nl.J.
612712001 2 meeting with M'. Tabbl T. Hoffman
6/3012001' 2 review of Ilyas Rona memo and attachments
712/2001 0.25 Letter to David.Frankiin
712/2001 0.5 Fax from David Frankiin '
719/2001 0.25 telephone conference with R. Gandi
711012001 0.5 review of |JR memo
711012001 1 preparing memo
711012001 0.25 reviewing 6126101 procedural order
711012001 1 memo to file '
711112001. 1.5 conference with M. Tabb
711212001 2.5 Meeting with`T. Kanwit, TG, TH, lJR and prep for meeting
711 612001 1 meeting with M. Tabb
' 711 612001 0.25 tele=.thone conference with Darry| Moy
711612001 5 drafting and editing amended complaint
7117/2001 2.5 Letter from James Rouhandeh to Magistrate Cohen re: discovery
Further Status Report of Relator David Franklin Conceming Outstanding Discovery
7117/2001 4 Motions

 

 

 

 

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Datei Hours Descrigtion of Activity
Rouhandeh’s letter/pleading to Court re: Procedural Order dated June 26, 2001 -
requesting Status Report on Discovery Motions (|JR Request this be in pleading and
711712001 1 corr.)
711312001 0.5 conf. With M. Tabb
711912001 0.25 reviewing M'.Saunders memo
711912001 3 drafting and editing amended complaint
712012001 1- conf. With M. Tabb
1 Procedurel Order dated July 24, 2001 from Magistrate Cohen Reiator's Memo of Law
712412001 0.25 Due 8114101 Def. Response Due 914/01
712412001 6 drafting and'editing amended compiaint
712512001 0.5 Letter to James Rouhandeh re: Amended‘ Complaint
712512001 0.5 Letter lo clerk re: filing of Amended Complaint, motion for leave to amend, motion to
substitute party
712512001 1 Relator’s Motion to Substitute Party;
712512001 2 drafting and editing memo in support of amended complaint
Motion For Leave To Amend Reiator's Count For Violation Of The False Claims Act
712512001 2 Due Payment Of Kickbacks; memo in support
712512001 1` Relator’s Motion To Tempora@.r impound Amended Complaint;
712512001 3 review and final edit of Amended Corrg)|aint;
7/251200'1 0.25 CertiHcate Pursuant to Local Ru|e '1.1 (A) (2) (See file 039 for complete set.)
712912001 0.5 review article Whist|e-blower windalis questioned
713112001 0.5 telephone conference with Ed Haug_
713112001 3 drafting Relator's Motion to Supplant Attached Amended Complaint;
7/3112001 1 final edit of supplanted Amended Compiaint. (See file C40}
81112001 0.5 Fax from James Murray to Thomas Greene and i|yas Rona re: briefing schedule on
pending motions
816/2001 0.5 Fax from James l\/lurray re;joint motion to extend time
817/2001 0.25 Letter from David Chaffrn to court re: joint motion to extend time
81712001 0.5 review Joint Motion for Brieflng Scbedule
817/2001 0.25 conf. With M. Tabb
7 review Endorsed Order entered granting joint motion to approve joint statement of
818/2001 0.75 briefing schedule; conf. With M. Tabb
811012001' 0,25 reviewing article: Court case Biames off-label use for causing dru_g billing fraud
811012001 1 legal research
811312001 2.75 drafting and editing reiator*s supplemental memo in support of motion to compel
production of documents; oonf. With M. '_fabb
811412001 0.25 telephone conference with Jim Caruso
811412001 0.5 telephone conference with Mari< Klyman
811412001 0.25 Letterto Magistrate Cohen re: supplemental memorandum
511412001 3 drafting and'ecliting relator's supplemental memo in support of motion to compel
production of documents
Hnal edits Relators Supplemental Memorandum ln Support Of His Motion To Compel
811412001 3 Production of Documents (See tile C41 for complete set_)
812012001 0.25 telephone conference with Bob Patten '
812012001 0.25 review article Drug industry gets significant U.S. help developing medicines
drafting and editing ex parte motion concerning filing and srvice of a second amended
812012001 2 complaint
final review and edit of Reiator’s Ex Parte Motion Concerning Fiiing and Service of a
812712001 3 Second Amended Complaint (See tile 045 for extra copy)
Endorsed'Order Entered Granting Motion to Suppiant Amended Complaint wlAttached
8127/2001 0.25 Amended Complaint _ '
conf with M. Tabb; review court order; DENlED/The Court Denied Leave to Fi|e a
8/2712001 0.75 Seccnd Amended Complaint '

 

 

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Date f Hours l Descript_lon of Actlvitv
812512.001 8.25 drafting, editing and reviewing Disc|osure letters to California, Delaware, Distn'ct of
C_oiumbia, i:loridal Hawaii, lllinois, Louisianal Messachusetts, Nevada, Tennessee, and
Texas
Ex Parte Motion '|'o Reconsicler Denial of Relator’s Ex Parte Motion Concerning Filing
812912001 6 and Service of A Second Amended Complaint (046 Extre copy)
DENlEDi Ex Parte Motion To Reconsider Denial of Reiator’s Ex Parte Motion
812912001 0.25 Concernlng Filing and Service cfa Second Amended Complaint
812912001 0.5 conf..With M. Tabb ` `
` review articles: Di'ug firms pay for'teaching doctors about ethics of gifts; Journals pool
813012001 0.5 clout to ensure integrity _
813012001 0.5 review Dennis Lyons letter of 9127100 and E. Guen'ero memo of 10124195
813012001 2 memo to die
813012001 0.5 review of VA subpoena
914/2001 0.25 telephone conference with Suzanne Durrell
914/2001 0.5 telephone conference with jim Breen
914/2001 0.25 telephone conference with Tlm Terry
914/2001 0.25 review Chaffm letter tc court
914/2001 0.25 Letter to Robert Patten re: disclosure ietter
Defendant Warner-Lambert Company's Response to Reiator‘s Supplementai
914/2001 3 Memorandum in Support of His Motion to Compel Production of Documents
91412001 0§25 Order/ Entered Granting Motion to Substitute Party
915/2001 0.25 telephone conference with Ei|en Sternfield
915/2001 0.25 review of TAF Quarteriy
916/2001 2.5 Letter to Ellen Sternfield re: Neurontin
916/2001 0.25 Fax from James Mun'ay to Thomas Greene re: affidavit
Defendanf Warner-Lambert Company's Memorendurn of Law in Opposition to Relator’s
916/2001 1 Motion to Substitute Party
Aff'rdavit of James F. Murray in Support of Defendant Warner-Lambert Company’s
916/2001 0.25 i\/iernorandum of Law in Opposition to Re|ator's Motion to Substitute Party
Defendant Warner~Lambert Company's- Memorandum of Law in Opposifion to Reiator’s
91612001 3 Motion Seeking Leave to Amend the Complaint
917/2001 0.5 meeting with T. Kanwit, Susanne Durrell, TG and TH
917/2001 0.25 Fax from David Chaflin to Thomas Greene re: motion for reconsideration
_ 911012001 0.25 Letter from David Chafiin to clerk’s cfiice re: court filings
911012001- 0.75 Motion for Reconsideration Of Grant Of Motion To Substitute Party
Procedurei Order1Hearing on P's Motion to Compel Production of Documents
911012001. 0.25 scheduled for 10111101 10:am by Magistrate Judge Cohn
9111/2001 0.25 telephone conference with Ar‘i» Parker
911312001 0.5 Letter from Tennassee Oft’ice of Attomey General
911712001 0.25 telephone conference with Scott Farr
911812001 0.25 Letter from David Chal"En to clerk's office re: court filings
912412001 1 research; review rebate agreement
912412001 0.5 memo to file
912412001 0.5 review table Neuronti Development Team Meetings; legal research
912412001 0.25 Letter from Florida Attorney Genera|'s office
912412001 2 drafting, editing relator's reply to def's opp. To relator‘s motion to amend complaint
912512001 3 drafting, editing relators reply to def’s opp. To relator's motion to amend complaint
912612001 3.25 preparation for and meeting with Bob Patten and Al Brown; conf. With M. Tabb
912712001 0.25 Letter from Massachusetts Division of Medical Asslstance re: information request
9127/2001 0.25 Letter from Niassachusetts Division of Medicai Assistance re: qui tam action
912712001 4 drafting, editing relator's reply to cler opp-. To relator's motion toamend complaint
912812001 1 conf._ With Mr Tabb
912512001 0.25 Letter to judge Saris re: amended compiaint, substitution of party and impoundment

 

order

 

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` Time Sheet: Thomas M. Greene

Datel Hours Description of Activity
final editing Reiator’s Reply to Def. Opposition to Retator’_s Motion for Leave to Amend

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

" 912312001 3 His Complaint (Seei file 055 for comp. Copy of 105-110)
l 912512001 2 Opposition to Def. Parf<e-Davis's Motion for Mcdihcation of impoundment Order
drafting, editing reiator's reply to defendants opposition to relator's motion to substitute
912812001 1 party
__l 912012001 2 editing Relator’s Reply to Def. Opposifion to Reiator's Motion to Substitute Party
~ 1012/2001 2 drafting and editiU repiy brief
1013/2001 0.5 review Noti`ce of Deposition~KOR livtS Hea|th
| 1013/2001 0.5 review Notice of Deposition-KOR Baron, l_ePore & Associates, lnc.
vi 1013/2001 0.5 review Noticeof Deposilion~KOR C|ine, Davis & Mann, inc.
1013/2001 0.5 review Notice of'Deposiii'on'-KOR Sudier 81 Hennessey
, 1013/2001 0.5 review Notice of Deposition'-KOR Ouintiies Transnational Corporation
l 1013/2001 0.25 Requestfor Hearing on Motions for Leave to Amend and to Substitute Party
----t 1013/2001 1 riman and editing repiy brief
1014/2001 0.5 cont. With. M. Tabb; review article: Drug hrm to pay $S?§M fine for fraud
l 101412001 0.25 review article: 2 Drug Makers to pay $875 iviiilion to Settie Fraud Case
`__i 1014/2001 0.25 Letter from David Chafiin to cierk’s ofhce re: court filings
1014/2001 1 Letter to Wendy Warring re: FO|A request
' 1015/2001 0.5 telephone conference with T. Kanwit
l 1015/2001 0.25 Letter to Magistrate Cohen re: reply brief
` 1015/2001 0.25 Letter to C|erk‘s.thce re: reply brief
_ _ 1015/2001 3 drafting and editing repiy brief
l 1015/2001 2 final editing Relator‘s Motion for Leave to File Reply Briet
mi 1019/2001 0125 Letter from David Chai‘fin to court re: defendants motion to file sur-reply

 

"| Motion of'Defendant Warner-i_ambert Company for Leave to Fiie a Sur-Reply
1 1019/2001 0..5 Memorandum iri Opposition to Reiator‘s Motion Seeking Leave to Amend the Complaint
Defendant Wemer-l_embert Company’s Sur-Repiy lViemorandum of Law in Opposition

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1019/2001 1 to Reiator's Motion Seeking Leave to Amend the Complaint
l 1019/2001 0.25 OrderIEndorsed Order entered granting motion for leave to f“ le reply brief
»-J 1011012001 0.25 telephone conference with B. Patten
1011012001' 0.25 telephone conference with T Kanwit
review Order/Endorsed Order entered granting motion for leave to file sur-reply
1 memorandum in opposition to Relator's Motion Seeking Leave to Amend the Complaint;
1 011012001 0.75 conf. With M. Tabb
-. 1011112001 2 preparation of document index for 10111101 hearing
l 1011112001 3.5 preparation for and hearing before Magistrate Coheri; meeting with M.Tabb
~i' 1011112001' 0.25 review of memo from iiyas and attachment
4 1011112001 0.5 research re: Ciine, Davis N|ann, Scott-Levin; Sudier; Boron
' conference with Jason; review of B.J. Wilder’s E-pilepsy Researcl~i Foundation of
ml 1011112001 0.5 Florida, inc corporate tilng
1011112001 0.25 Letter from Massachusetts' Division of Medicai Assistance re: information request
~ 1011212001 0.75 Letter to James Rouhendeh re: confidentiality of documents
j 1011512001 0.5 telephone conference with Beth Travoia
Notice of Motion Hearing re: Motion for Leave to Amend and Motion to Substitute Pai'ty
1011812001 0.25 on MondaU`1/12101-Veteran’s Day (Court Closed~Error)
" 1011912001 0.25 telephone conference with Tom Giardi
l Notice Oi Rescheduied Motion Hearing re: Motion for Leave to Amend and Motion to
10/1912001 0.25 Substitute Party on Thursday 11129101-3p.m. waaris
l 1012212001 0,5 review of memo from iiyas Rona and conference with lR
i 1012212001- 0.75 Quintilelebjections to Subpoena
'"| 1012312001 0.25 telephone conversation with J. Caruso
- 10124/2001 0.25 memo to file
d' 1012412001 0.25 telephone conference and memo to file Re: Art Parker
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Time Sheet: Thomas Nl- Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours - Description of Activity
1012412001 0.5 telephone conference with T. Kanwit
1012512001 0.5 Fax from David Chaffin to Thomas Greene re: postponing hearing
1012612001 0.5 Fax letter from James Murray re: ccnn`dentiality
1012912001 0.25 Letter from James Murray previously taxed
1013012001 1 review and edit Memorandum to Thomas Kanwit re: teieoonferences
1013012001 0.5 Letter from David Chaffin re: motion to extend time
1013012001 0.5 Editing and Reviewing Memo sent to Kanwit
1111/2001 0.25 telephone conference with J. Caruso
111212001 1 telephone conference with Bob Patten and memo to file
1112/2001 0.25 Notice of Action by the Court
111512001 2 preparation for and meeting with Bob Patten and Al Brcwn
111512001 0,25 Notice of Rescheduied Motion Hearing
1117/2001 0,5 telephone conference with Bob Patten
1111612001 1.5 conl. With M..Tabb;
1111612001 0.25 telepohone conference with David Waterbury
1112012001 1.5 telephone conference with Beth Travoia
1112712001 2 telephone conference with David Waterbury; conf. With M. Tabb
1112712001 0.5 Letter to David Waterbury re: Amended complaint and additional information
1112712001 0.25 Letter to Robert Pat'len re: amended complaint
1112812001 1.5 telephone conference.with Lynn Schreiber
1113012001 0.25 telephone conference with Bob Patten-
1113012001 0.25 telephone conference with David Waterbury
1215/2001 0.25 telephone conference with John Fearon
1216/2001 0.5 telephone conference with T. Ka nwit
121712001 0.5 conf. Viuth M. Tabb
1217/2001 0.5 telephone conference with D. Waterbury
1217/2001 1 memo to file--
1211012001 0.5 telephone conference with David Waterbury
1211012001 0.25 Letter to `iTiomas Kanwit re: memorandum
12110/2001 5 Correspondence to T. Kanwit; editing. draftigg Memo for Review
1211112001 0_5 telephone conference with David'Waterbury
1211212001 0_5 ORDER!Decernber 12, 2002 by Cchn re: discovery
1211312001 0.5 telephone conference with T. Kanwit
1211412001 ' 0.25 Notice of Rescheduled Motion Hearing
1211712001 2 review of lJR memo
1211712001 0`.75 Letter to Thomas Kanwit re: payments
1211912001 0.5 Letter from James Rcuhandeh to Magistrate Cohen re: protective order
1211912001 0.25 review J. Rouhandeh’s letter to court
1211912001 1 Protect]'ve Order
1212612001 0.5 review cf article: Drugrnal-cers poised for battle
1212612001 0.25 review article: States, insurers forcing use of generic drugs
1212712001 1 conf. With M. Tabb
1212712001 0.25 Letter to Court re: motion for reconsideration
1212712001 0.25 Letter to Judge re: courtesy copy of motion for reconsideration
drafting and editing Relator's Motion for Reconsideration of Magistrate's Order Dated
1212712001 2 December 12, 2001
final edits Reiator's Memorandum in Support of his Motion for Reconsid eration of
1212712001 5 Magistrafe’s Order Dated December 12, 2001 "
1'212712001 0.25 United States‘ Aesented-To Motion For Additionai Time in Which `i'o Fiie its Objections
112/2002 0.25 telephone conference with T. Kanwit
United States‘ Objections to Order of Magistrate Judge and to Proposed Protective
113/2002 1 Order
11312002 0.25 Order dated January 3, 20021 Protective Order

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Time Sheet: Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Datei Hours Descript_iLon of Activity
117/2002 0.5 review article: Tacti`c:s of Drug Mal<ers le Raising Questons About Use of Research
United States’ Revisecl Objections To Drder of Magistrate Judge and To Proposed
117/2002 1 Proteclive Order `
United States' Unot)jected-To Motion to Fiie Revised Objections To Order Of Magistrate
117/2002 0.25 Judge and`To Proposed Protective Order
118/2002 0.25 review of article: Pfizer’sChier is Subpoenaed in an inquiry on Drug Pricing
118/2002 1 conf.With M. Tabb, TH .
118/2002 1 review of tax dated 110102 from T. Kanwit
118/2002 0.5 telephone conference with T.Kanwit
118/2002 0.75 Fax from Thomas Kanwit to Thomas Greene re: objections to protective order
110/2002 0.5 Fax from James Nlurray to Thomas Greene re: motion for additional time
Assented~To Motion For Additiona| Time ln Which To Respond To Objections To
118/2002 0.5 Magistrate Jodge's Order
Order/Entered after hearing l order that both partiesbe named as Defendants re:
1 1812002‘ 0.25 Motion for Reconsideration of Endorsed Order Granting motion to Substitute Party
119/2002 1 motion to amend hearing, motion for substitution
119/2002 0.25 note to tile
119/2002 0.25 Letter from David Chafiin to court re: assented to motion
11912002 0.25 review of Fran_klin docket
Order1Granting Motion for Leave to Fiie Revised Objectiohs to of Magistrate Judge and
111 1`12002 0.25 to Pmposed Prorecrive order
Order/Granting Motion to Extend Time to 1117102 to Respond to Obj. To |‘viagistrate
111 112002 O. 25 Judge’s Order ' .
1114/2002 0.25 telephone conference with Michael Bassharn
111 612002 0.5 telephone conference-with David Waterbury
11 1712002 1 legal research
11 1712002 0.25 Letter from David Chaftin to Court re: defendants opposition to motion for
reconsideration
DefendantWamer-Lambert Company's Memorandum of Law in Opposition to (1)
Relator’s Motion for Reconsiderat.ion of the Magistrate`s Order Dated December 12,
2001 and {2) United States‘ Revised Objections. to the Nlagistrate's Order and the
111 712002 1.5` Protective Order
111812002 ' 0.25 Letter to David Waterbury
1122/2002 0.25 Letter to David Wa.terbury attaching Medicaid state chart
1123/2002 0.25 review article: PHzer Proflts Soar on Strong Drug Sales
1123/2002 0.25 Letter from James l\/lurray re: production of additional documents
Relator’s Motion for Leave Fiie Reply to Defendant Warner-i__ambert Company's
Memorandum of Law in Opposition to (1) Relato:'s Motion for Reconsideration of the
Magistrate's Order Dated December 12, 2001 and (2) United States' Revised
1123/2002 0.25 Objections to the Magistrate's Order and the Protective Order
112512002 0.25 Correspondence to Kanwit _
21612002 0.25 review article: Reseachers find many physcians are influenced by drug companies
21612002 0.25 review article: Study says Clinical Guides Often Hide Ties of Doctors; note to Jason
Memorandum and Order Re: Relator‘s Motion to Reconsider Magistr.ate's Order and
21612002 0.25 Motion to Amend
216/2002 0.25 Discovery Order
211 112002 0.5 conf. With M. tabb
211 112002 0.5 telephone conference with T. Kanwit
211 112002 0.5 telephone conference with D. Waterbury
211212002 2.5 Fa)c to David Waterbury of discovery order; meeting with M. Tabb re payment registei",
meetings with paralegals re payment @ister
211 312002 0.75 meeting with M. Tabb. Tl"l

 

 

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Date Hours Descrigtion. of Activity
211312002 0.25 telephone conference with David Waterbury
2113/2002 0,5 Letter to David Waterbury enclosing payment register
2126/2002 0.25 review article: Deputy Picked To Direct Food Agency in impasse
2126/2002 0.25 telephone conference with David Waterbury
2126/2002 0.25 review of Yale School of Medicine administration (Kessler)
2126/2002 0.25 review of Vanderbiit UniversitylVanderbi|t Pharmaco|ogy', Al|istair Wood
2126/2002 0.5 research; congressional intent
2126/2002 0.25 Letter to David Waterbury enclosing i_yons report as well as additional information
2126/2002 0.25 Correspondence to D. Waterbury
315/2002 0.5 memo to file
31712002 0.75 conf. With.M. Tabb; Letter to court re: sealed pieadings
Relator’s Request to Maintain Seal on Ex-Parte Fi|ings {Docicet Entries 121 and 122)
317/2002 1 and Court‘s Endorsement Orders Thereon
31712002 0.25 Correspondence to Kanwit
318/2002 0.25 Letter from James Murray ref more documents
31812002 0.25 Letter from.James Rouhandeh to court re: sealed documents
318/2002 0.25 Letter from Thomas Kanwit to court re: sealed mian
318/2002 0.”/’5 United States’ Objections to Unseaiing of Fiiings
311 112002 1 conf. With M. Tabb; Letter to David Waterbuy enclosing amended complaint
311112002 0.5 Letter to David-Waterbury requesting information on select physicians
311 112002 1 Correspondence to D. Waterbury with attachment
3111/2002 0.25 Correspondence to D. Waterbury
3112/2002 1.5 conf. With lvt. Tabb; telephone conference with David WaterbLy
311312002 0.25 review Phone Search results `
311412002 0.25 telephone conference with David Waterbury
311412002 2 drafting and editing reiator's motion to unseal exhibits to the amended complaint
311512002 0.25 telephone conference With Ron Kasserman
311512002 1 telephone conferene with David Waterbury
311 512002 0.25 Letter to Russeli Mokhiber
3115/2002 0.25 Letter to James Rouhandeh re: 30(b](6) of`Piizer
311512002 2.5 Notice of Deposition of Defendant Pizer', inc. Pursuant to Fed`. R. Civ. P. 30 (b) (6}
311512002 2 drafting and editing reiator‘s motion to unseal exhibits to the amended complaint
311912002 1 conf. W/ . Tabb re unsealing
312012002 1 conf. With Niike Tabb
312012002 3 hnai edits to Relator's Motion to Unseal Exhibits to the Amended Complaint
3122/2002 1 review of report re: Neurontin case
312212002 0.5 Letter from Ronaid Kasserrnan re: Neurontin
312412002 0.5 conf. With i\1i. Tabb
review and‘edit Relator‘s Noijce of Defauit and affidavit of iJR in support of relator's
312512002 1.5 notice of default
conf. With Mike Tabb; Order/T he clerk shaii enter a.defau|t if an`answer is not filed
312612002 0,5 within (?) working days of receipt of this order
312712002 0.5 Letter from James Rouhandeh to Judge Saris re: defauit
3/2`1!2002 0.25 Letter from David Chafiin to court re: default
312812002 0.25 Chahin letter to court
313112002 0.5 review article: Rising Drug C_osts a Powerfu| issue for Nationai and State Politicians
411/2002 1 Letter to James Murray re: outsta@g discovery
412/2002 0.5 telephone conference with D. Waterbury
412/2002 0.25 Email to Andy Liebman
41312002 0.25 telephone conference with D. Waterbury n
413/2002 0.25 Letter from David Chaftin to court re: opposition to unsealing the exhibits to the

 

amended complaint

 

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Time Sheet: Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Datei Hours Descrigtion of Activity .
Defendant’s Memorandum of Law in Opposition to Re|ator's Motion to Unseai Exhibits
41312002 1 to the Amended Complaint
Aftidavit of John Marino in Opposition to Relator’s Motion to Unseal Exhibits to the
41312002 0.5 Amended Complaint
41412002 0.25 telephone conference with Suzanne Gardner
41412002 0.25 review article: British DruMi ustry Group Criticizes Ffizer
41412002 0.5' review article: Pfizer gets a public dressin_@wn over promoting unlicensed drugs
41412002 0.25` review PMCPA- The Prescription Medicines Code ot Practice Author'rty
41412002 0.25 Letter from David Chal"lin to court re: affidavit of Marino
415/2002 0.5 revview-: F_AQ: Gabapentin for Depression, Mania and Anxiety
418/2002 5.5 drafting and editing relator’s reply to det`s memo in opp. To relator’s motion to unseal
exhibits attached to amended compiaint
41912002 0.2 review article: Many on Medicaid Lack Drugs. Study Says
41912002 0.5 Letter from James Murray re: outstanding discovery
419/2002 4 drafting and editing reiator‘s reply 10 defendants memo in opp. To reiator's motion to
unseal exhibits attached to amended con_iplaint
411012002 6 drafting and editing relator's reply to def's memo in opp. To relatro’s motion to unseal
exhibits attached to amended complaint
Notice of Action by the Court-Ruiing: Endorsed Order Granting [163~1] Motion to Unseai
411112002 0.25 {115~1] Exhibits to Amended Complaint V_ "“
Notice of Action by Court-Ruling: Endorsed Order Entered Denying [161-1] Motion to
Maintain Beal on Ex-Parte Filings (Docl<et Entries 121&122) and Courls' Endorsement
411112002 0.25 Orders Thereon.
Notice of Action by'Court-Ruling: Endorsed Order Entered Re; [160-1] Objection by
USA to Unsealing Documents. After review of the governments objections, the court
orders that the following documents remain sealed on the ground that disclosurernight
411112002 0.25 interfere with an-ongoing government investigation
411212002 0.75 Letter to court re: reply in slipped of motion to unseal exhibits; conf. With M. Tabb
411212002 0.25 Letter to Judge Saris re: reply in support of motion to unseal
Relator‘s Repiy to Defendant’s Memorandum of Lew in Opposition to Reiator’s Motion to
411212002 3 Unseai Exhibits Attached to Amended Complaint with Certiticate of Service
Reiator's Assented Motion for Leave to Fiie Repiy to Defendants’ Memorandum ot Law
in Opposition to Reiator’s Motion to Unseal Exhibiis Attached to the Amended
411212002 0.5 Complaint with Certiticate of Service
411312002 0.25 review article: Case of Overcherging Govemment is Setlled
411512002 1.5 Fax from James Murray re: objections to 30(b)(6) schedule
411512002 0.25 Letter to David Waterbury re: NC physicians
Responses and objections of`Defendants to Notice of Deposition of Pfizer, lnc.
411512002 1 Pursuant to Fed. R. Civ. P. 30 (b) (6) with Cerlificate of Service
411512002 1 Correspondence to D. Waterbury with attachments
411612002 0.5 Letter to FDA requestllg information
411712002 0.25 Fax from James Murray to Thomas Greene re: 30(b)(6)
411812002 0.25_ telephone conference with Merrii H.
411812002 1.5 review M. Gailagher 4118102 email; memo to file; class action litigation
411912002 1 Letter to James Murray re: 30(!3)(6) deposition; meeting w1 M. Tabb
412212002 1 Letter from James Murray re:' outstanding discovery
4/2312002 0.5 telephone conference with MES
412312002 1 conf. With M. Tabb; edit and review Letter to James Murray re: 30(b)(6) deposition
412412002 0.25 telephone conference with T. Kanwit
412412002 0.5 telephone conference with D. Waterbury
412412002 0.25 Letter from FDA
412412002 0.5 conf With M. tabb; Letter to James Murr_ay re: Re|ator’s 5th RPD
412412002 0.25:Email from Thomas Kanwit

 

 

 

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Time Sheet; Thomas i\/l. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Date Hours i Description of Activity
412412002 0_.25 Letter to Thomas Kanwit re: damages
412412002 1.25 Letter from James Murray re: 30(b)(6) deposition with attachment
412412002 1 editing Relator's Fifth Request for Production of Documents with Certiticate of Service
412412002 0.25 Correspondence to Kanwit
412512002 0.5 review memo re process server
412512002 0,75 meeting with M. Tabb; telephone conference with T. Kanwit
412512002 0.5 Letter from James Murray re: BD(b)(B) deposition
412512002 1.25 Letter to James Murray re: 30(b)(6) deposition
412512002 0.25 Letter to process server re: subpoena of Dr. Mellick
412512002 0.25 Letter to James Murray re: notice of deposition of Dr. Meliicl<
412512002 0.5 reviewing Subpoena to Gary Meilici< Re Deposition on 5108102, with Schedule A
412512002 4 prep for 3D(b)(6) depo on 4129
412612002 1.5 mng with M. Tabb; Letter from James Rouhandeh to thge Saris re: 30(b)(6)
412612002 0.25 Letter from David Chaflin to court _re: filing motion for protectice order
Niotion of Parke-Davis, Division of Wamer-Lambert Company. and Pfizer. inc. for
412612002 0.5 protective Order, with Certiticate of Service and Certiticate of Consultation
Memorandum of Law in Support of Motion of Parke-Davis. Division of Warner-Lambert
412612002 1 Company, and Pfizer lnc. for Protective Order with Certificate of- Service
Notice of Tai<ing Deposition of Gary Meilick, D.G., with Certificate of Service and
412612002 1- Scheduie A
Affidavit of Martine M. Beamon in Support of Motion of Parke-Davis, Division of Wamer-
4/2612002 1 Lambert Company and Ptizer inc, for Protective Order
4/2612002 2 prep for 30(b)(6) depo on 4129
412612002 0.25 Correspondence to T. Kanwit
412712002 4 organize documents‘and prep for depo on 4129/02
4129/2002 9.75 conf With M. Tabb; travel to NY and depo of Piizer |nc. (Murray)
Order/Denying motion for protective order. Denied The deposition shall go forward
However, some categories seem overbroad (l e. every payment, every visrt} The
4129/2002 0_25 counsel shat|- confer to narrow these categories
412912002 4-.75 Deposition of Pfizer, inc. James E. Murray
413012002 0.25 telephone conference with D. Waterbury
413012002 0.25 Letter to David Waterbury re: complaint and disclosure
413012002` 1 Correspondence to D, Waterbury; review of attachments to correspondence
511/2002 0.75 meeting with M. Tabb; telephone conference with Jason Hart|ey
511/2002 0.25 review tax from C Miiier
511/2002 0.25 review: Understanding Promotionai and Educational ReguiationsIGuideline
511/2002 0.25 review of email from Beth Chaba|ia
511/2002 0.25 Letter from James Murray re: production of additional documents
511/2002 0.25 Letter from Martine Beamon re: deposition of Dr. Mel|icl»c
511/2002 0.25 Letter to Martine Beamon re'. deposition of Dr. Meiiick
51212002 0.25 telephone conference with Sue Jorgenson
512/2002 2 meeting with M. Tabb; telephone conferene with J. Murray
512/2002 0.25 Letter to James Murray re: 30(b)(§Ld`eposition
513/2002 0.25 telephone conference with Bob Patten
Def. Parke-Davis' supplemental information requested by Relator David Frankiin‘s first
513/2002 1 set of interrogatories
516/2002 0.75 telephone conference with Dr. Nleliick
517/2002 1.5 meeting with T. kanwit
Def. Parke-Davis' supplemental responses to the Reiator's requests for the production
517/2002 1.5 of documents
517/2002 2 research re: Thomas Browne, Newton Consulting Services, inc.
518/2002 0.25 telephone conference with Lynne Muiligan
518/2002 0.25 review of memo from Lorrie Federico

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'l“lrne Sheet: Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l_J_a_t£ Hours l Description. of Act_ilitv
518/2002 0.25 review |JR note
5/3/2002 0.5 Letter to Thomas Kanwit re: CMS data and class action complaints
review email from S. Spencer; Frank|in confidentiality agreement and spreadsheet of
519/2002 1 NC doctors that received payments
51'101'2002 0.25 telephone conference with David Franklin
51'10/2002 0.5 telephone conference with David Waterbury
51'10/_2002 0.25 telephone conference with J.Murray
511/2002 6 organize documents and prep for depo cf Pnzer on 5/1 5102 (Farinet)
5/13/2002 1 meeting wl M; Tabb
5/14/2002 0.25 telephone conference with J. Murray and M. Beemon
5/14!'2002 0.25 telephone conference with J. Murray
5114!2002 0.5 telephone conference with-Dr. Me|liok
5/14/2002 0.25 telephone conference with D. Franklin
5114/2002 5 travel to NY'and prep for depo of Pt':'zer (Farinet)
5!14/2002 0.25 review note to file on Shei|a Shulman
511 512002 0.25 telephone conference with Steve Amundson
5/151'2002 0.25 telephone conference with J. Murray
5/15;'2002 0.25 Letter from James Murray re: production of additional documents
5/151'20[)2 0.25 Fax from Jason Lowenthal to Thomas Greene re: documents containing payments to
physicians
5!15112002 9 prep forSD(b)(G} depo of Ptizer on 5/15 (Farinet) and depo of Farinet; meeting with M,
Tabb
5!15{2002 0.25 review Fax from Lorrie Federico to Thomas Greene re: Amended Complaint and FedEx
from James Murray
5116/2002 1 reviewing PD videotape
5/16/2002 0.5 Fax from Jaso'n Lowenthal to Thomas Greene re: 30({:))(6) memo, Bri| incidentl and
' Schachter slides
5/16!2002 1.5 review Memorandum from |lyas Rona to Thomas Greene re: Rule 30(b)(6) depositions
5{16/2002 5 confl with‘M. Tabb; review-documents prep for and depo of Ptizer (.Chris Higgins)
511 612002 0.25 Fax from Thomas-Greene to Beth
511 612002 2.5 review documents, organize exhibits, prep for depo of Ptizer on 511 _71'02 (Jarnes Parker,
Jr.)
51'161'2002 2 Deposition-of Ptizer, lnc. 30 (b)(S) Chris Higgins
511 712002 10.5 prep for and depo of Pfizer on 5/17/02 (..lames Parker); return to Boston; conf. With M_
Tabb
511 1‘7/2002 0.5 telephone conference with Beth Travola
5117.'2002 0.5 memo to tile
5120.1'2002 0.5 telephone conference with Bruce Staford
5/20.1'2002 0.25 telephone conference with B. Kenney-
5120/2002 0.25 Email to Sam Lowenberg re: neurontin
5/21/2002 0.5 telephone conference with D. Waterbury
5/2‘!1'2002- 0.25 telephone conference with Larry Bennet
5/21/2002 0.25 review email from S. Spencer
5/21/2002 0.5 review article: szer to Report Epilepsy DnMreats Anxiety
5/21/2002 0.5 review article: Drug Raids: States Go to Court in Bid to Rein ln Price of Medicine
5/21/2002 0.25 memo to tile
5/21/2002 2 review AMA Ethicel Opinions/Guidelines
5/21!2002 0.5 telephone conference with Caro| Lenihan
5/21/2002 0.25 telephone conference with Elizabeth Brisben
5/21/2002 0.25 Letter to Sam Lowenberg re: neurontin
5/22i2002 0.75 Letter to process server re: sugpoena of CMS; conf. With M. Tabb
5/2`2/2002 0.25 Letter to James Murray re: tst set of ints to Ptizer and 1st RPD to Pflzer
5122/2002 0.25 Letter to James Murray re: 30(b}(6) deposition

 

 

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Time Sheet: Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours i Qesoription of'Activity
5/22/2002 1 Letter to James Murray rtip_ayments to physicians
5122!2002 0.25 Letter from James Murray re: BMD)(E) deposition
5/22!2002 2.5 Relator’s First Request For Production of Documents to Defendant Ptizer, lnc.
5/22!2002 1 Reiator, David Franklin's First Set of interrogatories To the Defendant, Pfizer, |n.
5/22!2002 0.25 SubpoenalDennis G. Srnith, Director of Center for Medicare and Medicaid Services
5/23/2002 0.5 Letter from FDA re: request for information
5/2412002 0.25 telephone conference with T. Kanwit
5/241'2002 t 0.25 Fax from James Murray re: Sth RPD
51241'2002 0.25 Letter to Stephen Skwara re: amended complaint and disclosure
Defendanis' Responses and Objections to Re|ator’s Fifth Req_uest for Production ct
5/24!2002 1 Documents
5/27!2002 0.5 review article: Drug industry costs doctor top FDA post
5/28/2002 0.25 review "Ptizer receives FDA approval to market Neurontin for Post herpetic neuralgia
5/29.'2002 0.25 telephone conference with D. Waterbury
5/29/2002 0_5 review article: States Suing Drug Nlaker Spurn Former Allies on Tobacco
5/30/2002 0.25 telephone conference with T. Kanwit
5130/2002 025 telephone conference with R.r Bertsche; conf. With M. Tath
review of article: pfizer Receives FDA Approval to market Neurontin for Post-herpetic
5/30/2002 0.25 Neuralgia
51'30/2002 0.25 review JPL memo
5!30/2002 0.25 Letter to David Waterbury re: Drug Uti|ization review
5/301'2002 0.25 Letter to Thomas Kanwit re: Drug l_|ti!ization
5/301'2002 1 review and edit Memorandurn from Thomas M. Greene to Thomas Kanwit re: Oregon
Drug_Utilization Review
5/30)'2002 0.75 review and edit Memorandum from Thomas M. Greene to David Waterbury re: Dregon
Dn.ig Uti|ization Review
5/30:'2002 2 Correspondence and lviemo to T. Kanwit `
Review and edit Memo summarizing Oregon Dnig Utilization Review of Neurontin and
5;1'30/2002 2 Correspondence to D-. Waterbury
5!31}2002 1.5 meeting With T. Kanwit; TG and TH
5/3‘|/2002 0.25 review email from T. Kanwit
5/31/2002 0.5 Letter to David Waterbury re: prescription data for select physicians
5/31)'2002 0.25 Letter to Thomas Kanwit re: deposition transcripts ct David Murphy
5/31/2002 0.25 Letter to Thomas Kanwit re: deposition transcripts of Higgins and Parker
5/31/2002 0.5 Letter to Robert Bertsche re: documents
5131'!2002 0.25 Correspondence to-T. Kanwit
5/31/2002 0.75 Correspondence and.attachments to D. Waterbury
613/2002 0.25 telephone conference with Ann, Hamer
613/2002 0.75 telephone conference with Ann Hamer and review of June 3, 2002 tax with attachment
613/2002 0.5 Letter from James Murray re: outstanding-discovery
613/2002 10 travel to NY and prep for depo of Pi'lzer (Wi||iem Sigmund)
6/4.'2002 10 prep for depo of Piizer (William Sigmund); depo of Sigmund and prep for depo of Ptizer
on 6/5/02
6/4)'2002 0.5 memo to file
review Subpoena/Manager, Hea|th and i-iuman Services, Medicare & Medicaid Services
614/2002 0.25 {this substitutes the above subpoena because we had to serve it in Washington, DC)
_ review and edit Subpoena of Department of`H`ealth and Human Services Center for
6/4/2002 0.5 Medicare & Medicaid Services With Retum of Service-Perfected on 618/02

 

 

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Date Hours Description of Acti\M
6!512002 10 prep for depo of Pfizer on 515102 and depo of Pflzer on 615/02 (James Parker, second
day) and review documents, organize exhibits-_ prep for depo of Pfizer on 616/02 (David
Murhphy)
615/2002 0.25 review Fax from Lorrie Federico‘to Thomas Greene re: Parke-Davis memo
61612002 10.5 prep for depo of Ptizer on 616!02 and depo of Ptizer on 616102 (David Murhphy) and
prep for depo of Ptizer on 617102
617/2002 12 prep for depo of Ptizer on 617/02 and depo of PHzer on 6/7102 (David Murphy, second
' day} and return to Boston
61712002 0.5 review of tax from M. Tabb dated 615/02 and telephone conference with J. Murray
611112002 0.25 review of Ann Hamer email
611112002 2 research FDA
611112002 0.25 memo to tile 1
611 112002 0.25 Letter from James Murray re: 30(b}(6) deposition
611212002 0.25 review ct memo from Lorrie Feden'oo
511.212002 1 review article: inside the Happiness Business
611 212002 0.25 review article: Vermont targeting drug flrrns’ gifts
6/12/2002 0.25 telephone conference with R. Bertsche
6/1212002 0.25 review article: Docs with company ties OK‘d to write for NEJ
6112!2002 0.5 review article: Tria|s and errors
611212002 0.25 telephone conference with Steve Amundson
611212002' 0.5 review article "The Pharaceutica| Industry To Whom is it Accountab|e?"
611212002 0.25 Memorandum from Lorrie Federicoto Thomas Greene re: Boris
611.212002 0.25 Letter to James Murray re: 30{b)(5) deposition _
review P’s Subpoena to Micromedex for a 30 (b)(B) deposition: Documents due July 8,
6/1212002 0.25 2002 Appearance on Ju|y 15, 2002 in Denver, Colorado
611212002 0.25 Correspondence to T. Kanwit
611312002 0.25 Letter from Robert Bertsche to'court.re: motion to intervene
6113/2002 0.25 Letter to Lynn Eherte
Notice of Appearance on behalf of the Ny Times and NBC and NPR, lncfAttomey
611312002 0.25 Robert Bertsche wll"iill and Bariow
Notice of Appearance on behalf of the NV Times and NBC and NPR, lnc./Attorney
611'312002 0.25 Stuart Svonkin leill & Bariow
Motion to intervene and`to Modify Protective Order/Expedited Brieti ng Schedule
611 312002 0.5 Requestecl
811312002 0.5 Memorandum in Support of Motion to intervene and to Modify Protective Order
611`412002 2 Fax from Martine Beamon to Thomas Greene re: 30{b)(6) deposition; conf. With M.
Tabb
611412002 0.25 Defendants‘ Opposition to Motion for E@dited BrieringSohedule
611412002 0.25 P`rocedural Order RE: Motion to intervene and Modify Proteciive Order
6/1412002 0.25 Notice of Motion~Hearing
611712002 1 review corporate profile on Sankyo Pharma inc. (Joe Pieroni); conf. With M. Tabb
611712002 0.25 Letter from David Chaftin to court re: opposition to motion for expedited briefing
schedule .
611812002 1.5 Email from Lena Roginsi<y to Thomas Greene and Ilyas Rona re: Murphy deposition;
conf. With M. Tabb
611912002 - 1 telephone conference with “l'. Kanwit
611912002 0.25 Letter from Robert Bertsche to court re: NPR
6/1912002 0.25 Notice of Withdrawai of National Public Radio, lnc.
612012002 1.75 Deposition of Piizer, inc. 30(b)(6) David Murphy v.3
612112002 0.5 telephone conference with T. Kanwit
612112002 1.25 Fa)c from James Murray to Thomsa Greene re: Pfizer‘s answers to 1st set of ints and
tsi RPDs
Def., Pnzer’s Responses to Relator's First Set' of Request for RPD’s Letter &
612112002 0.5 Documents-No pleading (Docs in Folder CBB)

 

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Time Sheet: Thomas Nl. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours Descrigtion of Activity
Def,`s Responses and Objections to Relator’s First Request for Production of
6/2112002 1.5 Documents to Defendant Ptizer, lnc.
Responses and Objections of Def. Pfizer, |n'c. tc Relator David Frank[in's First Set of
612112002 0.75 interrogatories
612412002 2 review article: Off-labe Uses of Approved Dn.ig_s A New Compromise is Needed
612412002 0.5 em`ail to T. Kanwit
612412002 0.5 memo to file; review email to T. Kanwit dated 6124/02
6124/2002 0.25 Letter from James Murray re: production of additional documents
6124120_02 0.25 Review email from R. Nemire
6125/2002 0.5 Letter from James Murray re: Parl<er deposition
review Notice of Deposition of MicroMedex, A Division of Thompson Corporation
612512002 0.25 Pursuant to Federal Rules of Civii Procedure 30 (b) (5)
' review Notice of Subpoena of Manager, Department of Hea|th and l-luman Services
612512002 0.25 Center of Medicare and Medicaid Services
612612002 0.25 Letter from David Chafhn re: assented to motion for additional time
612612002 0.25 Letter from Eugenia Carris re:‘subpoena of DHHS `
Assented-To Motion for Additionai Time in Which To Respond To Motion To intervene
6126/2002 0.25 And Modify Protective Order
612712002 0.25 Letter to Judge Saris re: motion to intervene filings
612712002 0.25 Letter to Thomas Kanwit re: Farinet deposition
6127/2002 1..5 Memorandum to 'l`hornasi<anwit re: Ruth Nemire interview
612712002 1 Memcrandum to Thomas Kanwit re: Boris interview
612712002 0.25 Letter to Thomas Kanwit re: Boris documents
Relator's Brief in Ftesponse to Court's Procedural Order issued Sua Sponte Pursuant to
612712002 0.75' 28 U.S.C. sec. 455 (a)
. Relator’s Assented-To Motion For Additional"lime in Which to Respond to i\!|otion to
612712002 1 intervene and Modify Protective Order `
612712002 0.25 Order/Entered GrentinLl\/iofion to Extend to 715/02 to Respond to Motion to intervene
612712002 0.25 Copy- of Correspondence to T. Kanwit
512712002 1.5 Memo and correspondence to T. Kanwit
612812002 0.75 Letter from David Chafiin re: Defendants?` response to recusal issue; conf With M. Tabb
612812002 1 Defendant’s Memorandum of Law Regardig 28 U.S.C. sec. 455 (a.)
612812002 0.5. Memorandum of Lawin C*pposition to Motion to Unsea| Documents
613012002 0.5 review article: Dnig industry freebie at issue
711 12002 0.5 telephone conference with D. Franklin
711/2002 0.25 United States Motion to intervene to Oppose Motion to Modify Protective Order
United States’ Unopposed Motion'For additional Time in Whioh To intervene and
711/2002 0.25 Oppose Motion to Modify Protective Order
711/2002 0.`!5 United'States' 0_pposition to Modify Protective Order
711/2002 2.5 drafting and editing relator’s response t'o proposed intervenors motion to modify
protective order
71212002 0.25 Order/Granting Motion to intervene to Oppose Motion to N|odify Protective Order
OrderlGranting Motion to Extend Time to 713102 to lntervene and to Oppose Motion to
712/2002 0.25 Modify Protective Order
712/2002 2 drafting and editing relator's response to proposed intervenors' motion to modify
protective order.
713/2002 1.25 memo to file
71312002 1.5 review Email from Lorrie Federico re: memo\fiied in response to media's motion to
intervene; conf. WI Ni. Tabb
713/2002 0.25 Letter from Robert Bertsche to court re: recusal
final editing Relator's Response to Proposed lnterveners’ Motion to Modify Protective
713/2002 3 Order (See Folder 685 for Exhibits and Appendix)

 

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Date l-lours i Description of Activity
review Relatofs Written Justiftcetion to Fiie Documents Under Seai‘(See Folder 85 for
71312002 0.25 Exhibits & Appendix)
713/2002 1 Media Entities' Memorandum of Law Dpposing Recusa| Under 28 U.S..C. sec. 455 (a_)
713/2002 0.25 Assented-To Motion For Leave to Fiie Memorandum in Excess of Twenty Pages
Memorandurn of Law in Opposiiion To Motion to intervene and to. Modify Protective
713/2002 2 Order
7151`2002 0.25 Letter from David Chaffin to court re: modification of protectice order
719/2002 1.5 conference with Lena re research; conf. W/ M. Tabb
719/2002 2 preparation and meeting with T. Kanwit; TG and TH
719/2002 0.5 meeting with Lena
719/2002 0.25 telephone conference wl T. Kanwit
719/2002 1 Letter from James Rouhandeh re: NPR interview, and conference
719/2002 0,5 Letter from James Murray re: Sigrnund and Parker depositions
71912002 1 Review email from i_. Roginsi<y with attachment re: Drugdex therapeutic uses
711012002 0.5 Review emaii from |_. Roginsky re: Kasich
711 112002 0.25 Letter from James Murray reMUition of Murphy
711-112002 0.25 Letter to Thomas Kanwit re: deposition transcripts ot Sigmund and Murphy
711112002 0,5 review Relator's Second Req uest for Production of Documents to Defendant Ptizer, inc.
711112002 0.25 Correspondence to T. Kanwit
71 ‘l 112002 0.25 Copy of Correspondence to T. Kanwit
711212002 0.25 Letter from David Chaffln to court re: motion to modify protective order
711212002 0.5 Letter to James Rouhandeh re: NPR interview
Defendants' Opposition to Relator's Response to Proposed intervenors Motion to
7112/200?_ 0.5 Modify Protective Order
711512002 0.5 review of email from R. Luna y
7116/2002 115 telephone conference with Sue Jorgenson
711 612002 0.25 Letter from Stuart Svonkin re: motion to intervene
711 612002 0._25 Media Entities’ Assented-to Motion for leave to Fiie Repiy Memorandurn
Media Entities’ Repiy Memorandum in Furfher Support of Motion to intervene and to
711612002 11 i\/|odify Protective Order
711812002 1 conf. Wl T. Tabb re hearing
711812002 3 drafting and editing memo'| support of reltor’s rue 37(D) motion to compel designation
of a corporate representative
711912002 0.25 Letter from Eugenia Cam`s re: subpoena of DHHS
711912002 2 drafting and editing memo l support of reitor’s rue 37(0) motion to compel designation
of a cgporate representative
7122/2002 D;5` telephone conference with Caroi Benneit
712212002 0.5 telephone‘conference with i‘\/iark ShaHo
712212002 0.25 telephone conference with R. i_una
7122/2002 0.5 telephone conference with Ken Weiss
7122/2002 1 memo to ila
7122/2002 1 meeting with MT, Tl-l
712212002 2 legal research; telephone confernce with S. Shu|man
7122/2002 0.5 Letter to James Murray re: 2nd'set of ints to Parke-Davis
7122/2002 0.5 review Response to Subpoena (by Micromedex, lnc.)
` Relator David Frani<iin's Second Set of interrogatories to Defendant Parke-Davis,
7122/2002 1 Division of Warner~t_ambert Company
7123/2002 0.25 telephone conference with Bob Patten
7123/2002 0.25 review of .i. Guthro email
712412002. 0.25 telephone conference with M_ Beamon
7/24/2002 0.25 telephone conference with Louis i.aSagna
712412002 0.25 Letterfrom Robert Bertsche to court re: motion to intervene

 

 

 

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Date Hours i . Description of Activity

712412002 0.25 Letter to Martine Beamon re: 2nd set of ints to Pfizer

7/2412002 1 Relator David Franl<lin’s Second Set of interrogatories to defendant ther, inc.

7/2412002 1 Supplemental Memorandum of Law in Opposition to Request to Modify Protective Order

712412002 0.5 Media Eniities' Suppiementai Memorandum of l_aw

712512002 1.25 telephone conference with M. Beamon; conf. W1 M. Tabb

712512002 1 memo to flie~Drugdex '

' 712512002 - 0.25 telephone conference with Ben Peck

7125_12002 0.5 teleconference with L.Sasich

712512002 0.5 memo to file

712512002 2 review of Drug@< index for gabapentin; conf. Wl M. Tabb

712512002 0.25 Letter from David Chafiin to the court re: supplemental response to motion to modify
protective order

712512002 0.25 Fax to David Waterbury re: subpoena of Washington Medicaid

712512002 0.25 Media Intervenors’ Motion Relating to Documents Filed Under Sea|

712512002 0.25 Review emaii from S. Shuiman re: 49 Food and Drug i_aw Journai 37

712512002' 0.5 10 page tax with Scheduie A and appendix A to D. Waterbury

712612002 0.5 telephone conference with L.Sasich

712612002 0.5 telephone conference with D. Waterbury

712612002 0.25 telephone conference with Steve Sumerai

712612002 0.25 memo to file

712612002 0.25 telephone conference with Ni. Beamon

712612002 0.25 review HHS letter dated 7126102

712612002 0.25 Letter from David Chatfin to court re: motion relating to documents under seal

712512002 0.25 Letter to Sue Jorgensen re: subpoenas

712612002 0.5 review Email from Mike Tabb to Thomas Greene and iiyas Rona re: motion to compel
witness '

712612002 0.5 Letter from Caroi Bennett to Thomas Greene re: CMS subpoena

7/2612002 0.5 Depaitment of Hea|th & i-iuman Services’ Objections to CMN|S Subpoena

' Subpoenas to Medicaid Agencies in: Aiabama, Caiifomia, Connecticut, Fiorida,

Georgia, |ilinois, indiana, Kansas, i<entucky, Louisiana, Maine, Maryland,
i\iiassachusettsl lVlichigan, Minnesotal i\/iississippi, Missouri, New Jersey, New Yori<,
Norih Carolina, Ohio, Okiahoma, Pennsyivania, Sooth C.aroiina/l Tennessee, Texas,

712612002 2 Virginia, Washington, West Virginia, and Wisconsin-

712612002 1 Review of email from Tabb with Motion to compel draft

712912002 0'.25 memo to file

712912002 0,25 Letter from David Chaffin to court re: opposition to unsealing documents

712912002 0.25 Letter to court re: motion to compel designation of 39(]:>)(6) witness
Relator's Ru|e_37 (D) Motion to Compel Designaiion of a Corporate Representative on

712912002 0.5 Medicaid Topics and to impose Sanclions
tinai edits to Memorandum in Support of Relator's Ruie 37 (d) Motion to Compel
Designation of- a Corporate Representative on Medicaid Topics and to impose

7129/2002 2 Sanctions j

7130120{]2 0.25 telephone conference with T. Kanwit

713012002 0.25 emaii'to T. Kanwit

713012002 0.25 telephone conference with D. Frank|in

713012002 0.25 telephone conference W. Sumerai; memo to file-re potential deponents

713012002 O`.5 review of subpoena Yreadsheet of state medicaid agencies

713012002 0,25 Letter to Manine Beamon re: 2nd set of ints to Pari<e-Davis

 

 

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Date Hours | Description of A'ctivity
review, edit Notice of Deposition of Medicaid Agencies int Aiabama, California,
Connecticut, Fiorida, Georgia, lllinois, lndiana, Kansas, Kentucky, Louisiana, Maine,
Maryiand, Massachusetts, lvlichigan, Minnesota, Nlississippi. Missouri, New Jerseyl
New Vork, North Carolina,\ Ohio, Oklahome, Pennsytvania, South Carolina, Tennessee,
Texas, Virginia, Washington, West \ftrginia, end Wisccnsin (hard copies in C92._Copy
713012002 6 in Copy Cop box in coat cioset.)
713012002 0.25 Correspondence to T. Kanwit enclosing additional copies of memo on Boris
713112002 0.25 telephone conference with J. Murray `
713‘112002 0.25 Letter from David'Chafiin to court re: emergency motion to enlarge time
713112002 0.25 letter from Verne Tinker
713112002 ' 0_5 Letter from Martine Beamon re: discovery
713112002 _ 0,25 Emergency Motion for Eniargement of Time
811/2002 1 search for Janet Turner; review of HHS letter of 9129198 to Janeth Turner
811/2002 0.25 telephone conference with S. Amundson
811/2002 0.25 Fex from Thomas Greene to process server re: Magistro deposition
811/2002 0.75 Letter to James Murray re: redesignation of boxes
81112002 0.25 Docketed/Ailowed: Emerge_ncy Motion for Eniargement of Time
812/2002 0.3 review of'D_ Waterbury Memorandum
812/2002 0.25 Letter from C|VlS re: subpoena
312/2002 0.25 review Notice of Taking Deposition of Phii Magi`stro
81512002 0.25 review of people search result
81512002 1.25 notes to tiie; conf. W/ lt/i. Tabb
81512002 0.25 telephone conference with Lena Uirich
81512002 0.25 telephone conference with M. YarboroughMctor Johnscn
815/2002 0.25 Letter from James Murray re: production of additional documents
815/2002 0.25 Letter to David Frenkiin re: voicemail transcripts and tapes
Relator's Emergency Motion to Provide Soci`ai Security Numbers With Responses to
815/2002 3 interrogatories identifying Witness in Less “i“han Thirty Days
816/2002 0.25 telephone conference with John Bradigan
816/2002 0.25 telephone conference with T. Comerford
816/2002 0.25 Letter'to James Murray're: deposition of Phii Magistro
816/2002 0.25 Fax from ThomasGreene to Martine Beamon
816/2002 0'.25 Letter to court re: emergency motion to obtain social security numbers
81612002 0.5 Letter to Sue JorYnson re: depositions of Knoop and Ek
816/2002 0.25 Letter from Stuart Svoni<in re: motion for clarification
816/2002 0.5 Media intervenors' Motion for Ciarification of Jt£y_t$i, 2002 Order
816/2002 0.25 Certit'lcation
516/2002 0.5 Review email from S. Jorgensen with State Agency Upd ate
81612002 0.25 Review-email from M. Cipriano
817/2002 0.25 telephone conference with Chris Cashiola
517/2002 0.25- memo to tile
817/2002 0.25 Letter from James Murray re: redesignation of documents
817/2002 0.25 Letter from David Chaffin to court re: certification
81712002 0.25 Letter to process server re'. deposition of'Lisa Kelleit
817/2002 0.25 Fax from David Chatiin to Thomas Greene re: opposition to emqgency motion
817/2002 015 Letter to Edward Mur-reiie re: Laura Johnson
Defendants’ Opposition to Relator's Emergency Motion Seeking the Production of
817/2002 0.5 Sociai Security Numbers with Respcnses to interrogatories
OrderlSeris' Ctaritication in response to Media intervenors Motion for Clarificetion of
817/2002 0.25 July 19, 2002 Order
817/2002 0.25 Notice of Acticn By The Court: denying motion to provide social security numbers
817/2002 0.5 Review email from L. Roginsi<y with GreeneU pdate.doc
818/2002 0.75 telephone'conference with Juiie Gunter; conf. W. M Tabb
818/2002 0.25 telephone conference with Amy Huber

 

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Time Sheet Thomas M. Greene
Date Hours ' _l_)__¢=z§:riptlon of Activlty
81812002 0.25 telephone conference with David Edick
81812002 0.25 telephone conference with David Waterbury
81812002 0.25 telephone conference with Nirs. Magistro
81812002 0.25 Letter to court re: Relator's reply in support of emergency motion
818/2002 ~ 025 Letter from Carl Boyer re: Neurontin
818/2002 0.25 letter to court
l Relator's Fteply to Defendants' Opposition to Emergency Motion Seeking Production of
_ 81812002 1 Sociai Security Numbers With Responses tc interrogatories
81812002 0.25 Review email from L.Roginsky
818/2002 0.5 Review email from E. Heatwole with attachments
818/2002 1 Review email from i_. Roginsicy with new chart for Drugdex
819/2002 0.25 Letter to David Chaflin re: notice of deposition of Lisa Keileit
819/2002 0.25 Letter to Suegg§nson re: depositions of Krul<ar
819/2002 0.25 Letter to Sue Jorgensen re: subpoenas of Nlr. and Mrs. Johnson
, 819/2002 0.25 Fax from Sue Jorgenson to Jason Lowenthai re: subpoena of John Knoop
819/2002 0.25 Letter from David Chaffin re: Defendants' 1st set of ints and and 2nd RPDs
819/2002 7 0.25 Notice of Taking Deposition of t.lsa Kellett
Defendant Warner-Lambert and Pfizer’s First Set of interrogatories to Relator David
s 819/2002 0.25 Frank|in
h ' Defendant Warner~Lami:)ert and Ptizer’s Second Document Request to Relath David
819`12002- 0.25 Frankiin
f Re'sponses and Objections Of Defendant Pari<e-Davis, Division Ot Warner-Lambert
i 819/2002 0.5 Company. To Relator David Frankiin‘s Second Set of interrogatories
»J 81912002 0.25 Letter to the Court from David B. Chafiin
819/2002 0,25 Review email re: i-liggins
l 819/2002 0.25 Review email from L. Roginsky
_ 819/2002 0.25 Review email re: Murray
811212002 0.5 memo to file and telephone conference with T. kanwit
-- 811212002 0.25 memo to file -
i 811212002 1, telephone conference with Rcbert Harniiton and memo to file
--! 811212002 0.25 telephone conference with David Chapin
811212002 0.25 telephone conference with Dept. of Social`Services Missouri
l 811212002 0.5 telephone conference with Deb Peterson
8112/2002 0,5 Letter from David Chafi'ln to court re: redesignation of documents
811212002 0.25 Fax from James Murray to Thomas Greene re: 2nd RPD to Pfizer
Defendantsi Responses and Objections to Relator's Second Request For Production Of
j 811212002 0.5 Documents To Defendant Pflzer, |nc.
Memorandum of Law in Opposition to Relator's Motion To Compel And To impose
4 811212002 1.5 Sanctions And in Support of Defendants' Motion for a Protective Order
` Af&davit Of James E. Murray in Opposition to Relator's Motion To Compel and To
_J 811212002 0.5 impose Sanctions And in Support of Defendants’ Motion For a Protective Order
811212002 0.5 Review email from D. Frank|in
" 811312002 0.5 telephone conference with M. Ross; conf. W1 M. Tabb
} 811312002 0.25 telephone conference with D. Waterbury
811312002 0.25 telephone conference with J. Murray
x 811312002 0.25 telephone conference with M. Ross
j 311 312002 1 telephone conference With rim mertener
811312002 0.5 telephone conference with l_. Sa'sich
811312002 0;5 telephone conference with J. Murray
t 811312002 0.25 review "Source of funding end outcome of clinical trials
1 8/1312002 0.25 review abstract Report bias in drug research
` review: Association between competing interests and authors' conoiusions:
811312002 0.5,epidernioiogica| study of randomized clinical trials published in the BMJ
i 811312002 0'.25!Letter to James Murray re: deposition cf Caroi Ek

 

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Time Sheet: Thomas iVl. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours ' _Qescriptlon of Activity

811312082 0.25 Letter to James Murray re: deposition of Phii Nlagistro

811312002 0.25 Notice of Taking Deposition of Caroi Ek

811412082 1.5 telephone conference with Dr. Wllkes; conf.`Wf M. Tabb '

811412002 0.25 review search results for Haraoid Oberkfeii

811412002 ` 1 meeting with Tom Kanwit

811412002 2 Fax from David Chafl’ n re: Defendants‘ opposition to motion to compel designation

811412002 0.25 Letter from David Chaft'n to court re: murray afEdavit

811412002 0.25 Letter to James Murray re: notices of deposition for Krukar and the Johnsons

811412002 0.25 Letter to James Murray re: deposition of Lisa Kellett

811412802 0.25 Letter to Michael Ross re: deposition of Phii Magistro

811412802 0.25 Notice of Taking Deposition of John Kruksar

811412002 0.25 Notice Of Taking Deposition Ol Jean C. Johnson

811412002 0.25 Notice Of Taking Deposition Of Robert S. Johnson

811412082 0.25 Review email from M. Will<es

811412002 0.25 Review email from L. Roginsky

811412002 4 Drafting, editing memo to Kanwit re: Drugdex

811512002 3.5 meeting with David Franklin; meeting wi lVl. Tabb

811512002 0.25 telephone conference with Harry Gberkfell

811512002 0.5 memo to file
drafting and editing reiator`s opposition to moton for protective order and reply to

811512002 2. 5 defendants opposition to relator s rule 37 motion to compel and to impose sanctions

811512002 0.25 Review email from JR Hoffman

811 612002 0.5 Response With Obje'ctions 'To Request For Production of Documents (lvlissouri)
Atfidavit Of Ma'rtine M. Beamon ln Support of Defendants’ Motion For a Protective

811812002 0.5 Order Barn'ng The Deposition Of The Eiderly Parents Of A Former Employee
drafting and editing relator’s opposition to moton for protective order and reply to

811 612002 2 defendants opposition to relator’s rule 37 motion to compel and to impose sanctions

811712002 0.25 Review email from JR Hoffman

811912802 1 telephone conference with Ann McDonald; conf. WI M. Tabb

811912802 8.25 telephone conference with J. Murray

811912002 0.25 telephone conference with John Ford

811912002 0.25 memo to nle

811912002 0.25 memo to file

811812082 0.25 memo to file

811912002 1 review of tax from Julie Gunter

811912002 0.25 Letter from Ann McDonald re: Kn.ikar and Ek

811912082 0.25 Letter to court re: motion for protective order and motion to compel

811912002 0.25 Letter to judge saris re: motion for protective order and motion to compel

811912082 0.25 Fax from process server re: service of Knoop
Afiidavit Of Thomas M. Greene |n Support of Relator's Opposition To Motion For
Protective Order And Repiyr To Defendants’ Opposition To Relatofs Ruie 37 Motion To

811912002 3 Compel And To impose Sanctions

811812002 8.25 Assented To Motion For Leave To File Rep|y Bn`ef
final edits to Relator's Opposition To Motion For Protective Order And Reply To
Defendants’ Opposition To Relator's Ruie 37 Motion to Compel and To impose

811912802 3 Banctions ' `
Notice Of Action By The Court/Endorsed Order entered.granting [216-1] 8131102 is

811 911-2002 0.25 acceptable

812012002 0.25 telephone conference with Mr. Johnson

812012002 1 telephone conference with Bobby Powel'|

8120/2002 0.25 telephone conference with lvt, Ross

812012002 - 0.5 Letter to Mr. & Mrs_ Johnson re: deposition of Laura Johnson

 

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Date| Hours l _ Descrigb'on of 'Activitv
812012002 0.25 Letter to Ann lVicDonald re: depositions of Knikar and Ek
Afhdavit Of James E. Murray in Support Of Defendants‘ Motion For A Protective Order
812012002 0.25 Barring The Depositions Of The Elderiy Parents Of A Forrner Employee
812012082 0.25 Review email from T. Kanwit
812112002 0.5 telephone conference with Dr. Hoffman
' 812112002 0.5 review and edit Letter to Sue Jorgen`son re: depositions of Kmkar, Ek, Guerrero, Crook,
Boris, Pieroni, and Ford
812112002 0,'15 Letter from David Chafnn to court re: protective order; conf. W1 M. Tabb
Motion Of Defendants Parke-Davis, Division of'Warn_er~Lambert Company, and Ptizer
inc. For A Protective Order Bening The Deposition Of The Elderly Parents Of A Forrner
812112002` 0.25 Emplcyee
Memorandum Of Law ln Support Of Defendants’ Motion For A Protective Order Barring
812112002 0.5 the Deposition Of the Elderly Parenfs OfA Forrner Employee
Relator's Response to Defendants’ Motion ForA Protective Order Barring The l
812112002 1.5 Deposition Of The Elder|y Parents Of A Forrner Empioyee
Aftidavii Of Thomas M. Green ln Response To Defendants' Motion For A Protective
Order Barring The Deposition Of"l'he Parents 01 The Elderiy Parents Df A Fonner
812112002 2 Employee
812112082 2.5 Draft and edit Memo: re Standardization of Data Producedby State Medicaid Agencies
812212002 0.25 telephone conference with K. Cross
812212002 0.25 telephone conference with Brian Keliy
812212002 0.25 search for Bill Prince
812212002 0.5 telephone confernece with T. Kanwit
812212002 0.25 review ADA To Launch Advocacy Hotiine (Biii'Prince)
812212002 D.5 review tax from Keith Cross
812212002 0.25 Fax from process server re: subponas
812212002 0.25 Fax from process server re: Guerrero
812212002 0.25 Letter to court re: protective order
812212002 0.25 conference with Jason re: Dr. Hoffman
812212002 0.25 letter to Keith Cross
81222002 0.25 Letter toiudge Seris re: protective order
812212002 0.25 conference with Jason re: documents to Keith Cross
812312802 0.5 telephone conferene with J. Murray
812312002 1- memo _t`o file; conf. W1 M. Tabb
812312002 0.25 Letter to Mary l-iouseho|der re: depositions of Knoop and Crook
Motion Dt Defendants For Leave To Fiie a Reply Memorandum in Support Of
812312002 1' Defendants' Motion For a Protective Order and memo and affidavit of`it/iurray
812612002 0.25 Letter from David Chaftin to the court re: motion for protective order
812612002 0.25 Review email from D. Franklin
812712002 0.25 review of American Soclety of Hea|th Systern Pharmacists letter of 717/97
812712002 0.25 Letter to Mary Householder re: New Jersey Medicaid subpoena
812712002 0.25 Notice of Taking Deposition of John Ford
8128/2002 1 Letter from Gweb Combs re: Mississippi subpoena and response
812912082 0.25 notes to tile
813012002 0.25 Letter from James Murray re: production of additional documents
813012002 0.25 Fax from James Murray to Thomas Greene re: an`RPD to Ptizer
813012002 0.25 Certitication
Defendants' Amended Responses and Objections to Relator’s Second Request for
813012002 1 Production of Documents to Defendant Pfizer, inc.
813012002 0.25 Notice of Taking Deposition Of John Boris
913/2802 0.25 telephone conference with D. Frank|in
913/2002 0.25 Letter to Ann McDonald re: depositions of Kellet, Krukar and Ei<
913/2002 8 prep for deposition of Phii Magistro

 

 

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Date Hours Descripticn of Actlvit`y
91412002 0.25 telephone conference with M. Ross
91412002 8.25 telephone conference with M. Ross
914/2002 15.5 travel to NJ for depo of P. Maglstro, depo of P. Magistrol return to Boston
914/2002 0.25 telephone conference with David Frank|in
91412002 0.25 Letter from David Chaflin to court re: defendantsl certification of compliance
91412002 9.5 Deposition ct Magistro
915/2002 0.25 telephone conference with Michael Ross
915/2002 1.5 Letter to Martine Beamon re: discovery; conf. W1 M. Tabb
915/2802 0.25 Letterto James Murray re:1 production of documents
915/2902 0.25 Letter from Michael' Ross re: Boris deposition
91512002 0.5 Letter tc£rocess server re: Knoop and Crooi< depositions
91512002 0.25 Letter to James Murray re: Guerrero deposition
915/2002 0.25 Notice of Taking Deposition of Edda Guerrero
91612002 1.25 telephone conference with B. Meyer; conf. \N1 M. Tabb
91612002 0.5 telephone conference with.T. Kanwit
916/2002 1 telephone conference with T. Kanwit and memo to die
91612002 1 research; balanced budget act of 1997
918/2002 0.25 Letter from James Murray re: production of additional documents
916/2002 0.5 Letter from Ann McDonald re: Krukar deposition __
916/2002 0.5 Letter to process server re: depositions of Turner and Fierrc
Relator's Motion TO Compel Production of Documents Relating To Medicaid Coverage
916/2002 5 and Drugdex -
final edits to Memorandum in Support of Relator's Motion To Compel Production of
916/2002 1 Documents Relating to Medicaid Coverage and Drugdex
919/2002 0.25 email from Les|ie Ellis
919/2002 0.25 telephone conference with M. Ross
919/2002 0.25 review article Pfizer to De|ay Epiiepsy Drug’s FDA Appiicatior
91912002 0.5 telephone conversation with and letter from Amie l-luber re: Laura Johnson depo
91912002 0.25 Letter to Ann McDonaid re: Krukar deposition
91912002 0.25 Letter from Michael Ross re: Crook deposition
Relator's Answers to Defendants Warner-Lambert and Pflzer's l-`rrst Set interrogatories
919/2002 2 to Relator David Franktin
Relator’s Response to Defendants Warner Lambert and Pfizer‘s First Set
91912002 1 interrogatories to Relator David Franklin
919/2002 0.25 Discovery Order
Order: "Relator‘s Ruie 37 (d) Motion to Compel Designatjon of a Co_rporate
Representative on Medicai Topics and to impose Sancticns (#208) is allowed to the
91912002 0.25 extent set forth in open court this date.'
911012002 1 review of Pfizer web site; conf. Wl_ M. Tabb
` 911`012002 1 telephone conference with Ftobert Hamilton; memo to tile
911012002 0.25 telephone conference with J. Murray
911012002 0.25 Letter from Davis Po|k re: production of additional documents
911012002 0.25 Letter from Nlichael Ross re: Boris deposition
911012002 0.25 Letter to Ann McDonald re: Ek deposition
911012002 0;75 Letter from James Murray re: development team minutes
911012002 0.25 Letter to James Murray re: de_[§sition of Francie Kivel
911012002 0.25 Letter to James Murray re: Kivel deposition
911012002 0.25 Notice of taking Deposition of Francie Kivel
911112002 0.25 Letter from Michaei Ross re: Boris deposition
911112002 0.75 Notice cf Taking Deposition-of Joseph Pieroni; conf. W1 M. Tabb
911212002 0.25 telephone conference with tul Ross
91121200`2 0.25 telephone conference with Keren Green
911212002 1 telephone conference with T, Kanwit and memo to nle
911212002 0.25 Letter to Martine Beamon re:-deposition exhibits

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`Time Sheet Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours Descrigtion of Activity
911212002 0.25 Letter to Karen Green re: deposition of Guerrero
911212002 0.25 Letter to process server re: Boris deposition
911212082 0.25 Letter to Martine Beamcn re: Turner deposition
911212002 0.25 Letter to Martine Beamcn re: Fierro deposition
911212002 .0.25 Letter to process server re: Guerrero deposition
911212002 9.25 Letter to process server re: Knoop deposition
911212002 0.25 Letter from Karen Green re: Guerrero deposition
911212002 0.25 Letter to Thomas Kanwit re: deposition transcript for Keilett
911212002 0.25 Notice of Taking Deposition of Janeth Turner
911212002 0.25 Notice of`Taking Deposition of LesleyFierro
911212002 1 Notice of Taking'Depcsition of John Knoop; conf. Wl M. Tabb
911312002 1 telephone conference with Sean Knowles;-oonf. W.i T, Tabb
911312002 0.25 Letter from Michaei Ross re: Crook deposition
911412002 5 prep for deposition of John Boris
911512002 5 prepfor deposition of John Boris
911612002 15 travel to NJ for depo of John Boris, depo of J. Boris and return to Boston
911712002 0.25 telephone conference with J. Turner
911712002 1 telephone conference with iVi Ross; conf. W1 M. Tabb
911712002 0.5 review itemized category report
911712002 0.25 Letter to Court re: motion to take more than 10 depositions
911712002 0.5 Letter from lJames Murray re: Drugdex documents
911712002 2 final edits Relator's Emergency'tvlotion For Leave to Take More Than Ten Depositions 7
911812002 0.25 review email of J&K Associates, inc `
911812002 0.25 review afndavit of due dilligence
911812002 0.25 review second afhdavit,of due diiiigence
911812002 0.25 review J&K Associates, inc. -fax
review rand edit Relator‘s‘Emergency Motion to Compel Production of the Sociai
911812002 0.5 Security Number of John Knoop
911 812002 .G."25 telephone-conference with M. Beamcn
911 812002 1 telephone conference with'T. Kanwit and memo to tile
911812002 0.25 review 'and'edit letter to James Murray re: objections to interrogatories
- 911812002 0_25 Lettes~to Thomas Kanwit re: Magistro and Ek depositions
911812002 0.'15 review ietter_from J. Murray; conf. W1 ivt. Tabb .
Defendants' Op_position To Relator's Emergency Motion For.Leave To Take i\/lore than
7 l911812002 0.75 Ten Depositions
Notice Of Action By The Court: Endorsed Order granting motion For leave to take more
911812002 0.25 than Ten depositions Allowed
911 912002 0.25 telephone conferene.with tVl. Ross
911912002 0.25 review Sue JoLnsen email 9119102
'911912002 0.25 Fax to Martine Beamcn from Thomas Greene re: Knoop and Pieroni depositions
911912002 0.25 Letter from James Murray-re: 2nd RPD to Pfizer
'911912002 0.25 Amended Notice Of Taking Deposition of Joseph Pieroni
911912002 0.25 Amended Notice-Of Taking Deposition of John Knoop
911912002 8 travel ,to Ann Arbor for'depo of Francie Kivel-and prep for depo
911912002 0.25 Review email from M. Will<es
911912002 0.25 Review email from JR i-ioffman
911912002 0.25 Review email `frorn Sue Jorgensen
9119/2002 0.25 Review email from JR Hoffman
912012002 15 prep for depo of F. Kivell depo of F. Kivel and return to Boston
912012002 0.25 email to Dr. Chren
912012002 0.25 letter from J Murray
D' s Memo cf Law' in Opposition to Relator s Motion to Compel Production of Documents
`912012002 1 Relating to Medicaid Ccverage and Drugdex

 

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Time Sheet“l Thomas M. Greene l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Hours l Description of Activity
9120/2002 1 Media intervenors Motion For Ru|ing On Unreso|ved issues and memo in support
912112002 0.25 Review email from lVl. Wltl<es
912312002 10.5 prep for depo of Atien Crook and John Knoop; travel to -NY; conf. W/ lVi. Tabb
912312002 0.25 Letter from Robert Bertsche to Court re: motion for ruling on unresolved issues
912412002 13 prep for depo of A|ien Crook; depo of Allen Crook and prep for depo of John Knoop
912412002 0.25 Email from Ceferatto Group re: Boris transcript
` _ prep for depo cf Edda Guerrero depo of Edda Guerrero and return to Boston; tlc w. M.
912512002 9 Tabb
912512002 0.25 Fax from Cetaratti Group to Connie Sensale re: deposition schedule
912512002 0.25 review Fex from Cefaratti Group to Ccnnie Sensale re: deposition schedule
912512002 0.25 Discovery Order> Magist_rate Judge Cohen
912612092 0.25 Fax from Jason Lowenthai to Thomas Greene re: Guerrero deposition
912612002 0.5 review Fax from Jascn Lowenthai to Thomas Greene re: Guerrero deposition
912612002 5 Deposition of Edda Guerrero
912712002 0.25 telephone conferene with-M. Ross
912712092 1 telephone conference with T. Kanwit and memo to tile
. 912712002 0.25 erna'ii to Dr. Chren
912712002 0.25 letter form :Leigh Hunter
9129/2002 0.25 Email from Dr. Mary-Margaret Chren re: Amendad Complaint
913812002 1..25 review email from T. Kanwit conf. W1 M. Tabb
913012002 0.5 review spreadsheet Medicaid state agencies 7
913012002 0.2 telephone conference with D. Waterbury
913012002 0.25 Email from to Dr. Mary-Margaret Chren re: Amended Complaint
9130/2002 0.25 Review email from T. Kanwit
1011/2002 0.25 Letter to 'Dr. Chren
1011/2002 1.5 Memorandum andOrder. Media Entities Motion to intervenel conf. W1 Ni. Tabb
1012/2002 0.25 memo to M. Tabb
1012/2002 0.25 Letter to Thomas Kanwit re: Guerrero deposition
1012/2002 0.25 Email from Cefaratto Group re: Knoop transcript
1 013/2002 0.25 review of i_eigh Hunter letter of 9127102
1013/2082 0.25 Letterto Thomas Kanwit re:`Ford deposition
1 01312082 0.25 Letter to Thomas Kanwit re: Knocp deposition
1013/2002 0.25 Letter-from Ann McDonald re: Turner deposition
1013/2002 0.25 Correspondence to T. Kanwit
1014/2002 0.25 review email from T. Kanwit
1014/2002 0-5 Letter to Thomas Kanwit re: CMS subpoena
1014/2002 0-5 Letter to Thomas Kanwit re: 'Mellick
1014/2002 0.25 Letter to Michael -Ross re: deposition of Al|en Crook
1014/2002 0.25 Letter from David Chafhn'to Court re: Defendants' opposition to media entities motion
for ruling on unresolved issues
Memorandum Of Law in Opposition To Medial lntervencrs' Motion For Ruiing On
1014/2002 0. 5 Unresolved issues
101412002 0.25 Review email from T.Kanwit
1014/2002 0.25 Drafting and editing email to T. Kanwit
1014/2002 0.5 Correspondence to T- Kanwit
1014/2002 0.5 Correspondence with Mei|ict< enclosures to T. Kanwit
1017/2092 2.25 email to T_ Kanwit; conf_ W/ M. Tabb
1017/2002 0.25 email'from T. Kanwit
1017/2002 0.25 email from T. Kanwit
1017/2002 1 research; psycheducation.org; review of Neurontin in bipolar disorder
1017/2002 0.25 Letter to Thomas Kanwit re: Crook deposition
1917/2002 0.25 Review erna`il from T. Kanwit
1017/2002 0.25 Fteview email from T. Kanwit
1017/2002 0.25 Review email from T. Kanwit

 

 

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Date| Hours | Qescription of Activitv
1017/2002 0.25 Correspondence to T. Kanwit
1018/2002 0.25 email to T. Kanwit
1018/2002 1 review memo to T_ Kanwit
1018/2002 1 meeting With T. Kanwit
1018/2002 0.25 Letter to Thomas Kanwit re: Kncop deposition
1018/2002 0.25 Letter to Thomas Kanwit re: F.ierro and Hauser depositions
Order: Cohen, M.J. defers ruling on Relator's latest Motion to Compel pending a filing
1018/2002 0.25 by'the Relator specifying when and how it conferred with the defendant
1018/2002 3.5 Edifing memo to Kanwit
1018/2002 1.5 memo to T. Kanwit-and Payment`index
1019/2002 0.75 Fax to `David Waterbury re: affidavit conf. W1 'lvi. Tabb
1019/2002 0.25 Review email from MM Chren
1019/2002 0.25 Correspondence to Kanwit with Depo min-u~script
1019/2002 0.25 Fax to D. Waterbury
1011012002 '0_75 ieiephene conference with o. weierbury `
1011012002 0.75 review of J. Murray emai|; conf. W1 M. Tabb
1011 012002 0.25 memo from M. Greene
10110/2002 1 review of John Carey email, 10110102 and attachment
1011012002 0_._25 Letter to Dr. Mary-Margaret Chren enclosing documents
1011012002 0.25 Fax from Thomas Greene to David Waterbury re: afHdavit
1011012002 1 review memorandum and order
Notice of Action By The Court Endorsed Order entered granting motion for ruling on
unresoived` issues. Defendants shall inform the court within 14 days which sealed
1011012002 0.25 documents have not been designated confidential
1011012002 0.25 Review email from James Murray
1011012002 025 Review-.email from Mike Tabb
1011012002 0.5 Drafting_changes to Waterbury affidavit and tax to D. Waterbury
1011112002 -0.25 review of Aftidavit of David Waterbury
1011112002 0.25 review of .i. Murray email
1011112002 -0.25 F.axfrom David Waterbury to Thomas Greene re: affidavit
1`011112002 0.25 Letterfrom David Chaftin.'re: appeal
1011112002 `0.5 Letter from Brian Lasky re: Medicaid data
1011112002 1 Fax»from David Waterbury to Thomas Greene re: affidavit conf. W1 M. Tabb
1011112002 0.25 Emergericy Motion `For Stay Pending Decision Whether to Appea`l
_ Res_ponses and-Objectionsof'defendant Pfizer.lnc to-Reiatcr David Frank|in's Second
1 011112002 1 Se't of lnterrogaton`es;
1011112002 0_'15 Review email from Heatwole re: David Waterbury‘s Aftidavit
1011112002 0.75 Review email from Heatwole with D. Waterbury affidavit
1011112002 0.25 Review email from N|M Chren
1011412002 3 drafting and editing motion for enlargement of timeto make expert disclosures
l1 011412002 . 0.5 editing lJR aflidavit in support of enlargement
1011412002 1 editing |JR affidavit in support of enlargement
1011412002 0.'5 Review email from tle Chren
1011512002 0.25 review of T. Kanwit email
1011512002 0.5 telephone conference with `i‘. Kanwit
1011512002 0.5 review of FDA's Request tro Comment on F-irst Amendrnent issues
1011512002 1 review of John Carey emaii, 1019102, and attachment
1011512002 0.25 telephone conference with M. Beamcn
1011512002 0.5 Letter from James Murray re: Pnzer's answers to 2nd ints
1011512002 0. 5 Letter to Court re: motion for enlargment of time; conf W1 M. Tabb
1011512002 1 Fax from James Murray to Thomas Greene re: additional documents in connection with
_ ___ ____ Pfizer’s answers to 2nd lots
Relator's Motion ForAn Eniargement Of Time To Make Disciosures Of Expert
1011512002 4 Testimony PursuantTo Fed R Civ P 28 (a) (2 )

 

 

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Datei Hours Description of ActiM
1011512002' 0.25 Review email MM Chren
1011512002 0.25 Review email frorn |V|M Chren
101161_2002 0.25 telephone conference with clerk
1 1011612002 025 telephone conference with D. Waterbury
_ Notice Of Action By The Court/ Endorsed order entered motion to stay pending
1011612002 0.25 decision whether to appeal taken under advisement
travel to NY, prep for depo of Janeth Tumer, depo of Janeth Turner and return to
1011712002 16 Boston
1011812002 1 telephone conference with D. Waterbury
1011812002 0.25 Letter from David Chaf|in re: appeal
_1 Memorandum in Support of Emergen_cy Motion For Stay Pending Decision Whether to .
1.011812002 1 Appea| -
- 101211'2002 0.25 telephone Bob Patten
'1012112002 1 conference with lJR re: Letter to James Murray challenging desiggab`ons
d1 Notice Of Nlotion Hearing Motion Hearing Re: Relator's Motion for an Enlargement of
- Trme to N|ake‘Disclosures cfExpertTestimony-November12, 2002 at`3:00 p.m., in
1012112002 0.25 Courtroorn No. 13, 5th floor, U.'S. District Court, 1 Courthouse Way, Boston, MA
1 1012112002 0.25 Review email from T Kanwit
r" 1012212002 0.5 telephone conference With T Kenwir
1012212002 .0.25 Letter from James Murray re: Parke-. Davis employees who submitted materials to
`\ Dru@ex
ct 1012312002 0.25 Letter from James Murray re: challenged documents
1012312002 0.25 Letter to Thomas Kanwit re: Turner transcript
- Aff'rdavit of James E. Murray in Supportof Defendants' Motion For Reconsideration Of_
1 10123/2002 015 The Court s Order modifying The Protective Order
` 1012312002 0.25 Corres_pondence to Kanwit
, 1 012412002 0.25 review email from T. Kanwit
j 1 012412002 0.25 review TH rnernc tc me
_ 1012412002 0.25 review of Frank|ine docket
1012412002 0.25 Letter from David Chafiin to court re: motion to modify protective order _
j 1012412002 0.25 Letter to Judge -San's re: relator's opposition to emergency motion to stay pending
appeal
` 1012412002 0.25 Letter to court re: relator's opposition to emergengy motion to stay pendin&appeal
1012412002 0.25 Letter from Robert Bertsche to court re: opposition to emergency motion to stay pending
` ' appeal
-1 1012412002 2.5 drafting and editing relator' s opposition to def's emergency motion for stay pending
decisio whether to appeal
h final edits to Relator's Opposition to defendants Emergency Motion For Stay Pending
10124/2002 2 Decision Whether to Appea|
' Motion To Reconsider Previous Ruling And `l'o DenyRelief Requested By Media
» 10/2412002 1.'25 Entities And Statement of Reasons
1 Media intervenorsl Opposition to Defendants' Ernergency Motion To Stay Pending
10124/2002 1.25 Decision WhetherTo Appea|
` 1012412002 0.25 Review email from Kanwit
‘f 1012412002 1.5 Review email and memo from Rona
_g 10125/2002 0.25 notes to file Cha`ffin 10/25102 letter .
1012512002 0.25 Letter to Court re: Motion to challenge designations
10125/2002 0.25 Letter to Judge Saris re: motion to chat|enge designations
` 1 1012512002 0_5 Letter from David Chafhn to Judge Saris re: confidential documents
’ 10125/2002 6.5 drafting and editing relator‘s motion to challenge conhdentiaiity designations
x 1012612002 ' 0.25 Letter from David Chaffin to court re: amended opposition
1 Media intervenors’ amended opposition to defendants emergency motion to stay
_;` `1012612002 1.5 pending decision whether to Lpeai

 

 

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Time Sheet: Thomas M. Greene

 

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Datel Hours i Descrig_t'i£n of Activity
1012712002 0.25 Review email from L. Roginsi<y
1012912002 0.-5 telephone conference with D. Waterbury; TG, MT and Tt-l
1012912002 0.25 telephone conference with D. Watebury
' 1012912002 0.25 Fax from James Murray to Thomas Greene re: confidential document
1012912002 0.`25 Letter from David Chafiin to court re: opposition to motion for enlarggnent of time
1012912002 0.25 Notice Of Action By`The Court: Endorsed `Order entered denyirlg support memorandum
Def_en_dants' Memorandum of Law-in Opposition To Relator’s Motion For An
Eniargement 01 'i”rme To Mai<e Disclosures Of Expert Tesfimony Pursuant To Fed. R.
1012912002 1 Civ. P. 26 (A) t2) '
1012912002 0.25 Review email from JR Hoffman ,
' 1012912002 0,25 Review email from K.`Ketchum re: Citation and web address
10129/2002 0.25 Review email from Patten
1013012002 1 telephone conference with T.`Kanwit and memo to ile
legal research; draft OiG Compliance Program Guidance for Phan'naceuticai
10130/2002 2 Manufacturers - ` _
` Notice Of Action By The Couit: Endorsed Order entered denying motion for
` reconsideration of-Mem_orandum Order, previous ruling and to deny relief requested by
1013112002 0.25 entities
111412002 1.5 conferences with i.JR re:-Memorandum to Thomas Kanwit re: timeline of Frank[in case
1114/2002 0.'5 Editing Memo'io'Kanwit explaining entries on timeline
1115/2002 0.25 review Drug industry Daiiy
1115/2002 0.5 review memo from iiyas Rona
1115/2002 0.25 telephone conference with T. Kanwit
% 1116/2002 0.25 telephone conference with .D. Waterbury
1116/2002 0.5 Letter to Thomas Kanwit re: Medicaid certifications
111612002 0.5 Letter to Kanwit with enclosures
1118/2002 0.25 telephone conference with D_ Waterbury
1118/2002 0.5 review and edit Memorandum to.New Jersey re: standardization of data responses
11/8/2002 1.5 Memorandum to Dr. MagL-Margaret Chren re_: state medicaid data
1118/2002 0.5 review.Letter'to James Murray re: challenge of confidentiality designations
1118/2002 0.25 Letter-from David Chaftin-to court re: opposition to motion .to challenge
Memorandum Of Law in Opposiiion To Relator's Motion'To Challenge Certain
1118/2002 2 Confidentiaiity Designafjons Pursuant To Paragraph 8 Of The Protective Order
Aftidavit Of James E. Murray In Support.Of Defenciants' Opposition To Reiator’s Motion
To Chai|enge Certain Confidentiaiity Designations Pursuant To Paragraph 8 Of The
1118/2002 0.75 Protective Order
Afiidevit Of John ‘Ni. Krayacich in Opposition .To Relator’s Motion To Chaiienge Certain
1118/2002 0.75 Confidentiaiity Designations Pursuant To ParagraLh 8 Of The Protective Order
Afhdavit Of Erlc D. Gili in Opposiiion To Relator's Motion To Chal|enge Certain
Conndentia|ity Designations Pursuant To Paragraph B Of The Protective Order~This
pieading, filed under seal, is located in: 0101. Frank|in-Affidavit of Gill in Oppo. To Rei.
1118/2002 0.25 Motion to Chail. Conhd. Desi_g., 1118102
1111112002 1.5 telephone conference with Dr. M. Chren; conf 1w M. Tabb
1111112002 2 memo to file
1111112002 0.25 Fax from James Murray to Thomas Greene re: Tu mer deposition
1111212002 3.5 preparation and hearing before Judge Saris; conf. W/ M. Tabb
M“41_11'1212002 2 review memos to 'iiie re motion to enlarge‘time
Notice Ot Action By The Court Endorsed Order entered denying motion to extend time
to 45 days after State1i'-`ed Gov’ts to make disclosures of expert testimony Denied after
1111212002 0.25 headgg.'Howeveri have adjusted the expert discovery schedu|e, as stated in court

 

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Datei Hours Descriptlon of Ac§_\£t_y
1111312002 1.5 memo to |V|T and l|yas Rona
1111312002 0_5 telephone-conference with D. Frank|in
1111312002 2 memo to nle: (|<rayacich Affdavit)
1111312002 0.25 Fax from Thomas Greene to David Frank|in re: Massachusetts physicians ,
1111312002 0.25 Letter from Robert Bertsche to Court re: motion to unseal non-confidential documents
1111312002 0.75 Media intervenors Motion To Unsea`l Non-Confidentia| Documents
1111412002 0.5 review cf email from David Frank|in
1111412002 0.25 Review email from R. Bertsche
1111512002 1 telephone confernece with T. 'Kanwit
1111512002 0.25 telephone conference with J. |V|il|er -
review and edit Notice of Deposition 01 Quintiies Transnationa| Ccrp Pursuant to Ru|e
11115/2{}02 0.5 30 (B)[B); subpoena
1111512002 0.5 review and edit Notice 0f Deposition Of IMS Hea|th, lnc. Pursuant To Ru|e 30 (B)(S)
Assented»to Motion For Leave To Fiie Repiy To Defendents’ Memorandum 01 Law |n
Opposition Relator’s Motion To Challenge Cerlain Gonfldentiaiiiy Designations Pursuant
1111512002 0.25 T-o Paragraph 8 Of The Protective Order
editing Relator's Reply To Defendants' Memorandum 01 Law in Opposition Relator's
- Motion To Cha||enge Certain Confidentia|ity Designations Pursuant To Paragraph 8 Of
1111512002 3 The Protective Order
review Afndavit of |lyas J. Rona ln Support 01 Relator's Motion For Leave To Fiie Rep|y
To Detendants' Memorandum 01 Law |n Opposition Relator's Motion To Challenge
1111512002 0.25 Certa_in Confidentiality Designations Pursuant To Paragreph B 01 The Protective Order
1111812002 0.5 telephone conterence with David Waterbury
1111 912002 0.25 telephone conference with M Ross
l\/|otion Denied: Assented-to Motion For Leave To Fiie Reply To Defendants'
Memorandum Of Law in Oppos'ition Relatcrs Motion To Chailenge Certain
Com’idenlia|ity Designations Pursuant Tc Paragraph 8 OfThe Protective Order With
11119/2002 0.25 Order by Cohen, M.J_
Endoi:se Order entered denying motion for leave to tile reply to 'deft. Memorandum of
1111912002 0.25 lewin opposition to Reiator's motion to challenge certain oontidentiMdesignations.
1'112012002 3 review of 11120 email from D. Frank|in and deposition references
1112012002 0,25 review email from Dr. David Rosen
1112012002 0.25 review of National Association of`state Medicaid Directcrs membership list
1112012002 0.25 letter to Robert Patten
1112012002 1 Review email from Frank|in and deposition page references
1112112002 0.25 Rev`iew email from David Rosen on McLean hospital
11122120[}2 0.5 telephone conference with T. Ka nwit
1112212002 1 telephone conference with D. Waterbury
1112212002 1 telephone conference with David Waterbury and memo to tile
11/2212002 0.25 Letter from David Chaflin to Court re: motion to unseal non-confidential documents
1112212002 2 conferences re: and edits tc Memorandum to Thomas Kanwit re: monotherapy
documents
Memorandum Of Law |n Response To Media |ntervenors’ Motion To Unseal Non-
1112212002 0.5 Conh`dentia| Documents
1112212002 2 Assembli£g Pd documents to Kanwit
1112512002 0.25 review tax and attachment from D. 'Franklin
1112512002 3 Memorandum to Mery-Margaret Chren re: off-label marketing events
1112512002 1 Review of False claims memo from-Lena Roginsky
1112612002 0.25 Letter from Michaei Ross re: Pieroni deposition

 

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Datet |-lours 1 Description of Actlvity
| Notice 0f Action By The Court Endorsed O_rder entered granting motion to unseal non-

 

confidential document. Al|owed as unopposedl however, l agree’with defts that the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1112612002 0.25 media intervenors must confer before filing any motions
1112512002 0.5 telephone'conference with`D. Waterbury
' 121212002 0.5 telephone conference with Bob Patten, and Tony Nl.
121212002 0.5 telephone conference with-D. Waterbury
review of article: Off»labei Uses of Approved Drugs,A New Compromise is Needed, by
` 1212/2002 1 R. Prilchard
i 121212002 0.~5 meeting with |lyas Rona and memo to tile
121212002 0.5 review David Waterbury memo
_! 121212002 0.5 review cf tax from Bob Fatten; and review of Madden medicaid claims data
l 121212002 0.5 Fax from Robert Patten re: Medicaid data
-1" 121312002 2 conferences re: and edits to Memorandum to David Waterbury re: DRUGDEX analysis
i 121312002 1 Review memo to Waterbury re: Drugdex.Analysis lexhibit A and two sets of materials
' 1214/2002 0.5 'Letter from James Murray re: objections to subpoenas
- 7 Relator's Motion For Reoonsideration Ot.l\/legistrate's Order Dated November 19, 2002
l 1214/2002 0.5 IDcckebiIZ‘/t] -
-- Objections'To Subpoena Pursuant to'Rule 45 ©, Fed R. -Civ. F'. by non-party Quintiles
1214/2002 1 Transnational Corporeticn; conf. W. T. Tabb
vl 1215/2002 1 conf. 1-.M. Tabb; telephone conference with D. Waterbury
_i 121512002 1 Memorandum"to Dr. N|ichael Steinman re: Drugg:lex articles
1215/2002 1 Memorandum to Michael Steinman re: additional marketing documents
121512002 0.25 Memorandum to Michaei Steinman re:.deposition transcripts of Knoop and Boris
Review of email from D. Waterbury with Neurontin Trend Analysis memos and
121512002 1.5 attachments
121612002 1.5 meeting with Nl_ Tabb and review and edit memo to David Waterbury
1216/2002 0.5 Letter from James Murray re: proffer .
t 121612002 3 Editing Relator's Express and implied False Certitication Cases 110 Kanwit-)
121612002 `3.5 Draiting and editing memo to D. Waterbury 7
121912002 - 0.25 telephone conference with T. Kanwit
1219/2002 0.5 Ledeeto James Murray responding to letter of Dec. 6
' 121912002 0.25 Letter to Thomas Kanwit re: information
__ 1219/2002 0.25 Letterto David'Waterbuiy re: information
7 1211012002 ' 0.75 Letter to James Murray re: challenge of certain confidentiality designations
1211012002 ‘0.75 Non-Party lMS Hea|th, lnc.'s Response To The Subpoene Of P|aintiff David Frank|in
1211012002 0.25 Fax to Thomas Kanwit re: lllinois Medical Assistance Program (ex. 11) '
1211012002 0.25 Fax to D. Waterbury with attachment
review Notice Of Deposition Of Verispan, LLC Pursuant Tc Rule BO(b)(G) and
1211112002 ‘0.5 Deposition Subpoena served 12119102
1211212002 1 telelhone conference with T. Kanwit and memo to nle
1211212002 0.25 Letter from JamesMurray re: cha|tenge of certain confidentiaiity designations
1211312002 1 telephone conference with D. Waterbury
1211312002 0.5 memo to file
1211612002 0.25 telephone conference with J. Murray
1211812002 0.25 Letter from David Chaf&n to court re: motion for reconsideration
, 1211812002 0.25 Letter from David Chafin to Judge Saris re: motion for reconsideration
§ 1'211812002 0.5 Letter from James Murray re: draft scheduling order
~~~~ . Memorandum 0f Law ln `Opposition To Relator's Motion For Reconsideration Of
1211812002 1.5 Magistrate’s Order Dated November 19, 2002
j Afndavit 0f James E. Murray |n Support 0f Defendants' Opposition `l'o Relator's Motion
_j 12118/2002 0.25 For Reconsideration Of lVlagistrate‘s Order Dated November 19, 2002

 

 

 

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Date Hours Description of Activitv
1211912002 0.25 telephone conference with Tracy El|ictt
1211912002 0.5 review of deposition summary
1212012002 0.2 telephone conference with Tony M.
1212012002 0.5 Letter from James`Murray re: draft{scheduling order
1212012002 0.5 Letter from David _Chaftin to Judge Saris.re: schedule for expert discovery and summary
°udgment
1212312002 0.25 telephone conference with D. Waterbury
1212312002 0.25 Letter from David Chaftin re: original Murray affidavit
Review of email from P. Allen re; neurontin trend analysis: pennsylvania questions_ and
1212`112002 1 OreLn -
1213012002 0_5 review of FDA,Drug Approvais for OCtober 2000
1213012002 0.25 Notice Of Action By The Court
1213012002 0.25 Notice Of Reschedu|ed Motion Hearing/Pretrial Conference
1213112002 2 Letter to Dr.'Michaei Steinrnan re: Knoop deposition and additional inforrnation; review
summary of Knoop deposition with highlighting
112/2003 0.25 telephone conference with T. Kanwit
11212003 0.25 telephone conference with S. Amundson
112/2003 1 Review of email from P. A|len wlattachments
11312003 0.25 Motion To Witi'rdraw (Stuart Svonkin of Hil| & Barfow)
11612003 0.5 telephone conference with D. Waterbury
116/2003 0.25 Letter from Stuart Svonkin re: notice of withdrawal
117/2003 0.25 review of PAL Neurontin Fact Sheet
11712003 0.25 Letter to Karen Green re: deposition of Guerrero
117/2003 ` 0.25 Letter to Ann McDonald re: deposition of,Ek
117/2003 0.25 Letter to Ann |_V|cDona|d re: deposition of Tumer
117/2003 0.25 Letter to Ann McDona|d re: deposition of Krukar
117/2003 0.25 Letter to |Vlichael Ross re: deposition of Magistro
117/2003 0.25 Letter to Michael Ross re: deposition of John Boris
117/2003 0.25 Letter to Michael Ross re: deposition of Francie Kivel
117/2003 0.25 Lettertc Michael .Ross re: deposition of Al|en-Crook
11712003 0.25 Letter to |'vlichael ‘Ross re: John Knoop deposition transcript
117/2003 0.25 Letter to Michael Ross re: Joe Pieroni deposition transcript
-1`1712003 0,25 Letter~to lVlichael `Ross re: Ford deposition transcript
11812003 0.5 Review of emai|.from Steinman re: consultant agreement
11812003 0.25 Review email from Steinman
119/2003 1.5 Review of report draft from Steinman
111 012003 0.5 review and edits to Consuttan`tslgreemenl
1110/2003 0.5 memo to file on status of states medicaid responses
111 012003 0.25 Letter to Ann McDonald re: deposition cf Lisa Ke|lett
111 012003 0.25 Review of email from Steinman '
111212003 0.25 Review of email correspondence from Robert Bertsche
111312003 1 Fax from Thomas Greene to Dr. Michae| Steinman re: consultant's'agreement; review

of consultants agreement

 

Notice Of Change Of Firm And Address {R. Bertsche formerly of.Hiil& Barlow to:

 

 

 

 

 

 

 

 

 

 

 

 

 

1115/2003 0.25 Prince. Lobel, G|ovs`l<y & Tye, 585 Commercia| Streetl Boston, MA 02109} .
1115/2003 0.25 Review email from Steinman

1115/2003 0.25 Review of email correspondence'from Jeffrey Linder

111 512003 1 Review of email from Steinman

1115/2003 0.5 Review email with attachments from Steinman

111 612003 .0.25 Letter from Robert Bertsche re: Notice of Change of Address

111812003 0.75 conf. W/ M_ Tabb

1120/2003 0.75 conf. W/ M. Tabb

1121/2003 0.25 telephone conference with |Vi. Steinman

1121/2003 ' 0.25 telephone conference with Jeff Linden

 

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Date HouM ' Descrigtion of Activit_\[
112112003 0.25 telephone conference with M. Steinrnan
112112003 0.25 telephone conference with court reporter
112312003 0.25 telephone conference with T. Kanwit
112412003 0.5 telephone conference with Tom Kanwit
112712003 1.5 -Review email from Steinman
11281200`3 0.5 telephone conference with D_ Waterbury, MT, lR
112812003 0.25 Letter to Robert Bertsche re: motion for enlargment of time to make expert disclosures
___112812003 0.`25 Review email from Steinman
112912003 0.25 review aritcle; company news; court says Apotex drug wouldn’t violate Piizer patent
112912003 ‘ 0.5 telephone conference with M. Steinman, |lyas Rona
112912003 0.5 telephone conference with D. Waterbury
112912003 0.5 note to'ile `
1129/2003 0.25 Review email from Steinrnan
112912003 2.25 Review email from Steinmen
113012003 0.5 conf. Wl 'M.`l“abb
113012003 2 Rev`iew email from Steinrnan
113012003 4 Review and edit Memo re: Estirnate of .Damages, with two binders (exhibits A 8 B)
113112003 ` 0.25 Fax from Thomas.Greene to'David Waterbury re: Expert Report
113112003 0.5 Review-and email from Steinman
1131/2003 1 Review emai|from Steinrnan with attachment
113112003 1 Review email and Gabapentincourt report-appendix 2c from Steinman
1131/2003 . 1 Review email from Steinman re: Gabapentin court report appendix 2b
1131/2003 1.5 Review email and revised report with appendices 2b12c from Steinman
1131/2003 3.5 Review and edit memo and graphs to T. Kanwit
1131/2003 0_25 Fax.to D. Waterbury
213/2003 0.25 elephone conference with D. waterbury
213/2003 0.25 Review email from Steinrnan
'21412003 0.25 Letter from James Murray re: expert report and state medicaid data
214/2003 1 Fax from James Murray to Thomas Greene re: subpoenas of Relator’s Experts; conf,
W1 M.-¢l'abb
Notice Of Request For Production Of'Documents Subpoena Duces Tecum to Michael
214/2003 1 Steinrnan, C. Seth Landefe|d, and Mary-Margaret Chren
214/2003 0.75 Review email from Frank|in .
215/2003 1 telephone conference with David Waterbury
215/2003 0.25 memo to tile
216/2003 0.25 telephone conference with PiperRudnicl-:
216/2003 0.25 Letter to Steve Amundson re: documents
216/2003 -0.25 Deposition Subpoena to Verispan, 'LLC
216/2003 0.25 Ernergency Motion To -Enforce Subpoena And Request For Hearing
Relator's Memorandum ln Support 0f Emergency Motion To Compel Enforcemsnt of
21612003 0.5 Subpoena Duces Tecum [w/exhibits, both Sealed and unsealed]
216/2003 0.25 Prcposed Order
216/2003 0.25 Motion Requesting Leave for Michae| Tabb To Appear Pro Hac Vice
217/2003 0.75 telephone conference with T. Kanwit; conf. W1 vivl. Tabb
211112003 0.5 telephone hearing with Judge Kelly; MT
211112003 1 review and edits tc letter to James Murray re: objections to subpoeans of experts
211212003 0.5 telephone.conference with T. Kanwit
211212003 0.25 Letter to David Frank|in re: Expert Report
2112/2003 0.25 Letter to Dr. Michael Steinman re: copy of report
211 212003 0.25 Letter to Dr. Mary-Margaret Chren re: copy of report
211212003 0.25 Letter to Dr. Seth `Landefe|d re: copy of report

 

 

 

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Date Hours Description of Activigg
Order Motion Requesting Leave for Michae| Tabb to Appear Pro Hac Vice is

211212003 0.25 GRANTED
211312003 0.5 telephone conference with Seth Landefeld
211 312003 1.5 Review emait and attached memo from M. Tabb
211412003 0.2 telephone conference with T. Kanwit and P. Hegarty
211 412003 125 telephone conference with T. Kanwit; conf. W1 M. Tabb
211 912003 1 review of Verispan deposition transcript
2120/2003 1 telephone conference with Seth Landefeld. M. Chren, M. Steinman
212_012003 025 telephone conference with D. Waterbury and C. Brewer
212012003 1.5 Letter to Thomas Kanwit re: request for meeting with government; conf. W1 M. Tabb
212012003 0.5 Correspondence to T. Kanwit
212412003 0.25 telephone conference with Chris Brewer
2124/2003 0.5 Memo.re: comparison of off-label use: Neurontin vs. .Dilantin

212512003 0.25 Letter`to Thomas Kanwit re: electronic payment register
2125/2003 4 Review and edit payment register index.end correspondence to T. Kanwit
2126/2003 0.5 conf. WI |Vl. Tabb
2125/2003 0.5 telephone conference with C. Brewer
212812003 0.25 review tax from -Katz, Kutter

314/2003 0.25 Review email from Kanwit

315/2003 0_75 review email from T. Kanwit; conf. Wl M. Tabb

'31512003 1.5 Letter to David Waterbury re‘. Medicaid witnesses

315/2003 2 Drafting and editing Correspondence to D. Waterbury

316/2003 0.5 telephone conference with S. Bloorn

317/2003 0.25 review of tax from Cherry Tredo

317/2003 125 Letter to Sara Bloom re: informetion; conf. W/~M. Tabb

317/2003 0.75 Review email from Jeffrey Linder with attachment

317/2003 1 Conference with M. Tabb and review of email to Murray

317/2003 1..5 Correspondence to Sara Btoom with attachments

31812003 2 expert reports, Meetingw1 M. Tabb
311 012003 0.25 review of M.Tabb email to James Murray
311 012003 0.25 review of D. Waterbury email dated 3110103 v
3110/2003 0.25 Review email from Heatwole
311 112003 0.5 meeting w. M. Tabb
311 112003 0.25 Review Tabb/Murray email
311412003 0.5 telephone conference with David Waterbury
311812003 0.25 telephone conference with D. Waterbury

3120/2003 0.25 Letter from Michae| Ross re: Knoop deposition tremth
312412003 0.5 review M. Tabb’s email to David Waterbury
312412003 0.25 Letter from James Murray re: §pert discovery
312412003 1.25 Review email from Nl. Tabb wlettachments
review M. Tabb memo dated 3128103 and review Si|verman Bernheim 8 Vogel legal bill;
. 3128/2003 0.5 conf. W1 M. Tabb
‘ 271/2003 “" 1 telephone conference with sara eloom

413/2003 1 telephone conference with D. Waterbury

413/2003 0.5 review of tax and attachernnt from Susan Fiil

414/2003 1 telephone conference with D. Waterbury;rconf. WI M. Tabb

417/2003 0.5 telephone conference with S. Bloom; conf. W/ Nt. Tabbb

417/2003 0.25 review M.‘Tabb's notes of telephone conference with Beamcn and Murray
41712003 _` 0.5 Letter to David Frank|in re: certifications ‘

417/2003 0.25 Letter to James Murray re: deposition of Defendants` experts

417/2003 1.5 Draftlng correspondence to D. Waterbury with attachments

418/2003 1175 telephone conference with T. .Ka nwit

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Date Hours | Description of Activitl
41812003 0.25 Letter from David Chafiin to court re: addib‘onal time to file motion for summary
°udgment
41812[103 0.25 Letter from David Chafiin to Judge Saris re: additional time to file motion for summary
judgment
Assented-to Motion For Additional Time |N Which To Fiie Motion For Sumrnary
418/2003 1 Judgment
41812003 0.5 Statement Of Reasons To Fiie Document Under Seal
41912003 0.25 telephone conference with .M.Steinman '
41912003 0.5 telephone conference with D. Waterbury
Notice Of Action By The Court: "Endorsed Order entered denying motion to seal
accompanying motion for additional iime. l don't understand why this is under seel_ The
419/2003 0.25 mere fact that there are settlement discussions is not sufficient."
419/2003 0.25 Review email from Steinman
telephone conference with D. Waterbury, Mt, iR, C. Brewer, Susan Purceli, Mark
411 012003 1.5 Thomas; conf. Wl M. Tabb
411 012003 0.25 Review email from Steinman
411 112003 1.5 Letter to Robert Patten re: obtaining certification forms
411112003 0.25 Review email from Landefeid
411412003 0.25 Letter from David Chaffin to court re: summary judgment motion
411412003 -0.25 Letter from David Chaffin to Judge Saris re: summary judgment motion
411`412003 0.-5 notion Forsummar_y Judgmem
Defendants’ Stetement Pursuant To Local Civii Rule 56.1 Of Materiei Facts As To
4114/2003 1 Which There Are No Genuine issues To Be Tried
411412003 2 Memorandum Of Law in Support Of Defendants’ Motion For Summary Judgment
411412003 0.25 Assented-To Motion For Leave to Fiie Memorandum in Excess of Twent£ages
411412003 1 Afiidavit Of James E. Murray in Support Of Defendant.s’ Motion For Summary Judgment
Statement Of Reasons To Fiie Document Under Sea| (Al| located in tile: C105
411412003 0.25 FRANKLlN-Motion for Summ).
411412003 ' 0.25 Review email from Steinman
411-512003 8 drafting outline for separate statement of facts; conf. WI M. Tabb
411-512003 0.5 telephone conference 'with`i_arry Stasel
411512003 0.25 telephone conference with D. Waterbury
411512003 0.25 telephone conference with T_ Kanwit
411 6120()3 16 drafting outline for separate statement of facts; conf. Wl M. Tabb
411 612003 0.5 telephone conference with .D. Waterbury
Notice Of Action By The Court "Endorsed Order entered granting motion for leave to tile
memorandum in excess of 20 pgs. Allowed. Howeverl the reply memo shall not exceed
411 612003 0.25 the page limits or it will be returneo."
Notice Of Action By The Court "Endorsed Order entered denying motion to seal exhibit
V to affidavit of James Murray. Denied_ There is presumption that court records are
available to the pubiic. if there is a particular factor quote that is confidential it may be
sanitized. However, a quick review of this document suggests that most of.it is not
411 612003 0.25 protect ebie." `
411712003 6 drafting outline for separate statement of facts; indexing depos
411712003 0.25 Letter to Judge Saris re: Relator's motion to enlarge time to respond'to summary
judgment motion
411712003 3 Relator's Motion To Enlarge Time To Respond To Motion For Summary Judgmeni
411812003 4 drafting outline for separate statement of facts; indexing depos; conf. W. |Vl. Tabb
411812003 0.5 telephone conference with D. Waterbury
411812003 0.25 telephone conference with D. waterbury
411812003 0.25 Letter from David Chaftin to court re: defendants response to motion to enlarge time

 

 

 

 

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Time Sheet: Thomas M. Greene

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Datei Hours ' | Descrigtion of Acti\M
411812003 0.25 Letter from David Chaftin to Judge Saris re'. defendants response to motion to enlarge
time
Defendants‘ Response To Relator's Motion To Enlarge Time To Respond To Motion
411812003 0.25 For Summary Judgment
411812003 0.5 Review email from M. Tabb wlattachment
411812003 1 Review email from M.`Tabb‘re: draft affidavits
411812003 1 Review email from Tabb re: Frank|in outline
412‘112003 3 drafting outline 'for separate statement of facts; indexing depos
412112003 0.25 telephone conference with .Bloorn
412'112003 2.5 conferences and edits to Letter agreement concerning verbatims among the Relator,
Verispan and David Waterbury
412112003 _ 1 Drafting and editing letter agreement r§arding Verispan
412212003 1175 Review email from Shtasel wlattachment
412212003 1 Review email from Rona re: statement of facts draft
412312003 4 drafting outline for separate statement of facts; indexing depos
412412003 6 drafting separate statement of facts
412512003 12 drafting separate statement of facts
412612003 8 drafting separate statement of facts
412712003 8 drafting separate statement effects
412812003 12 drafting separate statement of facts
Notice of Action by the Court: Endorsed Order entered denying motion to extend time to
412812003 0.25 5114103 to respond to S/J
412912003 12 drafting separate statement of facts
413012003 12 drafting separate statement of facts; conf. Wl' M. Tabb;
51112003 12 drafting separate statement effects
511/2003 0.5 Review email from Franklin re:
512/2003 12 drafting separate statement effects
512/2003 0.75 Review email from Frank|in re -
513/2003 . 8 drafting separate statement of facts; conf. W1 M. Tabb;
51412003 8 drafting separate statement of facts; conf. wl M.`Tabb;
51512003 12 editing iegat memo; drafting, editing sep. statement effects
515/2003 0.25 telephone conference with Larry Stasel
515/2003 2 reviewof Strom's report
51512003 'l Review.Franklin affidavit
515/2003 0.25 Review Tabb/Patten email re: draft state coverage afhdavit.wpd, text on document
515/2003 1125 Review email from Landefeld
515/2003 0.25 Review email from Landefeld
516/2003 12 editing legat memo; .drafting, editing sep. statement of facts
516/2003 0.25 telephone conference with Larry Stasel
516/2003 0.25 Review-email from Tabb re: afndavits provided by the states
516/2003 1.5 Review email from `Franklin re: aftidavit latest version
516/2003 1 Review-email from Steinman with draft report
516/2003 1 Review email from Frank|in re: Frank|in affidavit and note
517/2003 12 editing legal memo; drafting editing sep. statement of facts
51712003 0.25 Fax from Thomas Greene to Martine Beamcn rezone week extension
517/2003 0.25 Letter,to court re: motion for one week extension
517/2003 0.25 Letter to Judge Saris re: motion for one week extension
Relator's Renewed Motion to Eniarge Time For F.iling An Opposition To Motion For
517/2003 1.5 Summary Judgment `
517/2003 0.25 Review email from Franklin re: publication links
517/2003 0.25 Review email from Steinman re: affidavit and depo questions
517/2003 1 Review email from Frank|in re: MES and AMM publication
517/2003 0.25 Review email from`Patten re: draft megath|in aflidavit on neurontin utilization data.wpd

 

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Datei l Hours i De@g@n of Activitv
5/8/2003 B"clrafting affidavits of D. Franklin, S. Landefeld; drafts of state Medicaid aff.
5/8!2003 0.25 Review email from Franklin re: depo transcripts
5/8/2003 0.25 Review email from Frank|in with attachments
5/9/2003 12 drafting affidavits of D. Frank|in. S. Landefeld; drafts of state Medicaidafi.
5[9/2003 0.25 revview email from Seth Landefeid
5{9/2003 0.75 Review: Tony's modified aflidavit
5!9/2003 ‘i Review email from Frankiiri with attachments
5!9/2003 115 Review email from Franl<lin with attachments
5!1 012003 8 draftingl editing sep. statement of facts
drafting, editing sep. statement of fac\s;relatoi’s opposition; conf. Wi' M. Tabb; afHdavit
511 1I2003 8 of T. Greene
5112/2003 12 drafting. editing sep. statement of facts'. editing relator’s opposition
_5/12/2003 -0.25 Draft email to M_ Steinman
5/12/2003 0.25 Review email from Wu Sheen Y re: data from Oregon for one physician
5/1 312003 12 drafting, editing sep- statement of iacts; editing relator's opposition
..5/13/2003 0.25 Email from David Waterburylre: Medicaid data
Notice of Action by the Court: `Endorsed Orderentered granting motion to extend time to
5/13!2003 0.25 5/21/03 to tile opposition
5/13!2003 0.25 Review marketing statement effects from M. Tabb
5113!2003 0.25 Review email message forwarded by D. Waterbury
5113!2003 0.25 Review email from Patten
5113/2003 0.25 Review and edit email from D.Waterbury re:database '
drafting, editing sep. statement of facts; editing Frank|in’s aif.; oversight of state
5I14.l2003 12 Medicaid afndavits
5114/2003 0.5 Letter from .iulie Brill re: investigation
drafting, editing sep. statement of iacts; editing -Franklin’s aff; Steinman’s afi.; state
5115}2003 ' 12 medicaid aff.; conf. WI M. Tabb
5/15/2003 0'.5 Review email from D. Frankliri
5/15/2003 1 Review draft affidavit for Steinman v
5/16/`2003 12 editing legal memo; drafting, editing sep. statement of facts; assembling exhibits
5/16'/2003 0.25 Drafting_emai| to Frank|in re: affidavit
511 6!2003 0.5 Review email from Frank|in re: Accel health article
5/16?2003 0.5 Drafting and reviewing emai|s'to Steinman re: aftidavit materials
5!16/2003 1 Review draft state coverage afEdavit (2) from Patten
-5[1 612003 0.25 Review email from Teitelman re: affidavit issue
5116/2003 1 Review email and attachments from Steinman
5!17/2003 15 editing legal memo; drafting, editing sep. statement of facts; assemblingexhibits
5/171‘2003 0.25 Review email from Nl. Tabb re: proposed new paragraph for affidavit
5(17/2003 0.25 Review email from Frank|in ret affidavit question
5!1 712003 1 Review emails from S. Landefeld re: affidavit outline
511 812003 15 editing legal memo; drafting, editing sep. statement of facts; assembling exhibits
editing legal memo; drafting, editing sep. statement of facts; afndavit of T. Greene;
5/1912003 - 15 assembling exhibits `
5/1 912003 1 Drafting fa)c, email to Mike Steinman
5/20]2003 15 editing legal memo; drafting. editing sep. statement of facts; assembling.exhibits
5/2€1/2003 0.25 Review email from Patten re: final Mass affidavit
5120!2003 0.5 Review email from Patten re:-questions on Mass affidavit
5121/2003 15 editing legal memo; drafting editing-sep. statement of facts; assembling exhibits
editing legal memo; drafting, editing sep. statement of facts; drafting letters to court
5/22)'2003 ` 12 assembling exhibits `
5!22/2003 0.25 Letter to'Robert Patten re: Relator’s opposition to summaryjudgment motion
5/22)'2003 0.25 Letter to Jonathan Diesenhause re: opposition `
5/22!2003 1,5 Letter to court re: filings in connection With opposition to defendants' motion for
summary judgment 1

 

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Date`t Hours DescriEtion of Activlty
512212003 0.5 Letter to court re: filings in connection with opposition to defendants’ motion for
summary judgment
512212003 0.25 Review email from M. Beamcn
United States' Statement of lnterest in Opposition to Defendant Parl<e-Davis' Motion for
' Summary Judgment with a copy of.an unpublished case cited therein. U.S. ex. Re.
512312003 2 Goodstein, M!_. v. McLaren R¢_a_gigr~iMerii_c/a|_CM
512712003 0.25 Letter from Sara Bloom to court re: United States' statement ot interest
Assented-To Motion To Supplant Relator's Separate Statement of Disputed Maten'a|
512912003 '2 Facts With`The Attached Corrected Version of Same -
513012003 0.5 telephone conference with D Waterbury
513012003 0.5 Email to NAMFCU re: Frank|in Filings
Notice of E|ectronic Filing Electronic ORDER entered granting Motion for Extension of
513012003 0.25 Time to Fiie summary Judgrnent late by one day
513012003 0.25 Reviewing email and document from E. l-leatwold
513012003 0.5 Drafting_memo to NAlVlFCU wlatiachrnents
61212003 0.5 telephone conference with D. Waterbury
61312003 0.25 Letter to court re: fiiing of new action under state statutes
613/2003 0.25 Letter from David Chatfin to court re:-defendantsl reply memorandum
Defendants’ Reply Memorandum of Law in Support of Their Motion for Sumrnary
613/2003 1.5 Judgment
Assented-to N|otion for Leave to Fi|e Defendants` Responses to the Statement of
613/2003 0.25 interest Filed By the United States
613/2003 1 Defendants Response to the Staternent of interest Filed By the United States
613/2003 0_5 Declaration of Matthew Powers; conf Wl lVl. Tabb
513/2003 0.25 Declaration of Stephen M. Feldman
Defendants‘ Supp|emental Statement Pursuant to Local Civi| Ruie 56.1 of l\/laterial
613/2003 2 Facts as to Which There Are Not Geniiine‘lssues to be Tried
614/2003 25 review of new Cline Davis Mann and Sudler and Hennessey boxes
614/2003 0.75 telephone conference wlthT. Kanwit; conf. WI M. Tabb
614/2003 2 conferences re and Letter to James Rouhandeh re: Sud|er and -C|ine Davis documents
61412003 0.25 Fa>i to Sarah Bloom
'Notioe_of Electronlc l-'lling: ORDER granting Motion for Leave to Fi|e responses to
61612003 0.25 Statement of interest by US
619/2003 0.25 telephone conference with S. Bloom
619/2003 0.25 reviw of Oregon DUR Board Newsletter (Use of Gabapentin in Oregon: The-Evidence)
619/2003 '1 telephone conference with R.`Teite|man; conf. Wl M, Tabb
619/2003 0.5 Letter from James Murray re: response to letter dated June 4th `
619/2003 0.25 Review email from Teitelman `
611012003 0.25 review article: A|pharma did not infiinge two Pfizer patents»court
- Notice of Electronic Fi|ing: ORDER granting Nltn for teave to i-`ile Opposition
611012003 0.25 Memorandum in excess of,20 pages
61 ‘i 112003 0.25 Reviewing email and draft of Conneticut coverage affidavit from Teitelman
611112003 -0.25 Reviewing email and draft of Conneticut coverage afftdavitfrom Teitelman
611212003 0.25 fax and attachment to Scott Johnson
611212003 1.25 telephone conference with S. Bloom; conf. W/ M. Tabbb
611212003 6 preparation and hearing before Judge Saris
611212003 0.25 telephone conference with Eiizabeth F|etcher
611212003 1 Fax from Robert Teitelman to Thomas Greene re: afiidavit from Connecticut
611212003 0.25 Review email from Teitelman on tax re: Conneticut coverage affidavit
611212003 0.25 Review email to Teitelman on fax re: Conneticut coverage aflidavit
611212003 0.25 Correspondence on‘ tax from Teitelman re: Conneticut coverage affidavit
611312003 0.5 telephone conference with D. Waterbury

 

 

 

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Date Hours l Description of Ac'tivl_tv
611312003 0.25{Letter.to court re: conditional rule 5B(t) motion
511312003 0.25 Letter to Judge Saiis re: conditional rule 56(f) motion
611312003 0.25 Letter to court re: supplemental factual record and Connecticut affidavit
611312003 0.25 Letter to Judge Saris re: supplemental factual record and Connectiout affidavit
' editing RelatoiJs Conditionai Ru|e 56(1) Motion to Delay Fina| Determination of Summary
611312003 3 Judgment
611312003 2 Affidavit of Thomas M. Greene ln Support of Relator’s conditional Rule 56(f) Motion
review and -edit Aftidavit of iiyas J. Rona ln Support of Relator's Conditional Rule 56(f)
611312003 1 Motion To Delay Final Deterrnination ot Summary Judgment
611312003 2 R’s tv‘|tn to Supp'tmnt Factual Record in Opposition to 05' Nltri for Surnmary Judgment
611312003 1 Affidavit of Sheiia Dorval, R.PhD.; conf. W1 lVl. Tabb
611612003 0.25 telephone conference with D. waterbury
611612003 0.25 Letter from David Chatfin to court re: defendants opposition to conditional 56('1) motion
611612003 0.5 Letter from |Vlichael ~Bassham of Tennessee re: state whistleblower action
Ds' Memorandum of Law in Oppstn to thr's Conditional Rule 56(f} Motion; conf. W1 M.
611 612003 1.5 Tabb
611912003 0.25 Order. Saris -Nltn for |Vlisc. Relief filed by David Franl<l`in
612312003 .2 reviewing sentencing guideline
612312003 2 reviewing Prescription MMarketing Act; conf. Wl M. Tabb
612512003 0.5 reviewing articie: Pharrnaceutical companies to pay $1.2Et in Medicare Fraud
612512003 0.25 review emaii from Nlilce Tabb
612512003 0.25 review article Glaxo, Bayer settle Medicaid Fraud Charges
612512003 0.25 review article Ba_yer Agrees to Biggest Medicaid Fraud Seitlemeni
612512003 2 preparation for and meeting with Tom Kanwit, S. Bloom,P. Hegarty, TG and `l'H
612612003 0.5 conf. W. M. Tabb
613012003 0.5 telephone conference with David Waterbury
613012003 1 telephone conference with T. Kanwit; conf. W1 Nl. Tabb
71812003 0.5 telephone conference with T. Kanwit
813012003 0.5 telephone conference with `l'om Wimer
'813012003 0.5 telephone conference with Dennis Lyons
‘911212003 0.25 Letter-to'lv|artine Beamcn re: Knoop deposition
911812003 0.25 review and edit Letter to Larry Reed re: Medicaid coverage
1011/2003 0.5 me@_g with lVl. Tabb
1016/2003 0.25 Letter to i-lCFA enclosing various documents
1012112003 0.25 telephone conference with D. Waterbury
'1013012003 0.25 telephone conference with D. Waterbury
1111212003 _0.25 review of memo from Jeson Lowenthal
1111812003 0.5 telephone conference with S. Bloom
1112112003 0.75 telephone conference with D. Waterbury
1112512003 0.25 telephone conference with D. C.oie
1113012003 0.25 Letters to court re: motion to compel production of documents
1113012003 0.75 Letter to James Murray re: Relator’s objections to proposed confidentiality order
1212312003 0.5 telephone conference with D. Waterbury
119/2004 0.25 telephone conference with S. Bloom
112012004 1 telephone conference with-B.Rudnick
112012004 -0.5 telephone conference with D. Waterbury
1122/2004 0.5 telephone conference with D. Waterbury
1122/2004 0.25 telephone conference with D. Frank|in
112212004 0.25 telephone conference with S. Bloom
1123/2004 0.5 telephone conference with S. Bloom
112712004 0.25 telephone conference with S. Bloom
1127/2004 1.25 Status Conference hearing and conference with S. Bioorn

 

 

 

 

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Date HLr§ 1 Descrigtion of Acl:ivity
1130/2004 0.5 Conference with Ml Tabb
1127/2004 0.25 Review email from Eliza Heatwole
212/2004 0.5 Telephone conference with M. Thomas
21212004 1 Conference with M. Tabb
214/2004 0.25 Telephone conference with D. Waterbury
214/2004 0.25 Telephone conference with M. Tabb
21412004 1 Conference with M. Tabb and Tom Hoffman
2151200.4 0.25 Telephone conference with D. Waterbury
21412004 0.25 Telephone conference with J. Nloorman
215/2004 0.5 Telephone with J. Brum
21512004 1.5 Prep for Telephone Conference with Medicaid Fraud Contro| Unit Team
21512004 0.25 Telephone conference with Dave Frank|in
'21512004 0.5 Telephone conference with Nl. Tabb
211312004 0.25 Telephone conference with David Waterbury
2113/2004 `0.5 Telephone Conference with .i. Breen
211312004 0.25 Conference with M. Tabb
211 312004 0.25 Conference with T. Hoffman
2119/2004 6.5 Telephone Conference with J. Clark

 

 

 

 

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Date Hours z Descrigtion of Actfvftv
2119/2004 0.5*Emai| to David Waterbury
2119/2004 0_5 Tel_eghona Conference with David Waterbury; conference with Tom Hoffman
2/19/2004 D.5 Review email received from David Waterbury and Conference with Tom Hoffman

 

 

 

 

 

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Statement of Expenses

Re: Frank|in

Time Period: From 711!1996 To 319!2004

Third Party Expenses

[See detailed itemized description attached)

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Courier l Delivery $ 5,588.'17
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Misceiianeous $ 2,201.95
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Reseamh $ 286.70
Stenographers $ 21,530.37
Subpoenas $ 38,122.97
Supplies $ 972.58
Treve| Reimbursement $ 15,901.58
Total Third Party Expenses = $ 180,296.64
ln-House Expenses
(Sea |n-House Rate Datai| Be|ciw)
Document Storage $ 1,800.00
once copy charge 95,413 copies @ $0.20 parpage 3 19,’033_60
Postage ~- $ 505.04
Telephone $ 734.15
Total tn-House Expenses = $ 22,'122.79
Other Expenses
State Subpoena |nvoices $ 5,553.00
Tota| Other Expenses = $ 5,553.00
|Total Expenses $ 207,9?2.43 l
Rates on ln-House Expanses (Actual Costs)
Document Storage Per Month $ 50.00
Office Copy Charge Per Page $ 0.20
Postage `[each package weighed and logged) (us Postar Retes)
Telephone (eaoh cell individually billed) (Verizon Te|. Raies)

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._N_m.`moow 132 §mi= 0033_.5.0§_0:_ 50 m~m:§: 5< ,_mmmmm m mwm.~.w»

._._m\~cow §§ 003~ Oou ommom c._mmw 303 3000 m w,_.umm.ml_
.____m__moow .3.`.m __<mw ,_. mo:m. mmn::m _.m_EuEmm B:_B.m m~m:r=: m iom.mm
§§on 33 _<_m§nwo mm:m B§_ocaw x_:ro.m 13:__&: m §m.co
E.EBOQQ ._.Mo__ E_.__G.m 003 00. mamo§ommw» memoo._omwm@ m EK§.B
N__.E.`Nccw 33 _A_:xo_m 03< 00. m>mo§o~mmm m mwm.~m.mm
m__\_o`moow §§ 003 Oou o§@w_ 3000 m mwmw.mm
U%:.mccw ~w._m Oon< 000 mcm._ m mwmm.mm
Em.d~oom 53 Oo_u< non m§w m mm.`..cm
w`_w£mocw .\Nm.m Oou< 000 00»»\_ _u_.m_._§: m Q.Bm.m._
w__»£woom .~N.~m 003 020 v mmp m emmm.m:
&m.`moow .\Nm,_ B:_Ao.m 003 00. .“B:w=: oonw,mm omawoo._omm»m w wmm.mo
m`@`moom aug X=._xo.m Oon< 00. =._<. omhmoot_ ._wmmm m mmm»..mm
QNQ§S §§ cove coe Dm@§u w 32 mo m 333
m`_wm..woom .B_,...N x_:wo.m 003 00. 0§@00._ ._m~mm om»moo`_ ._..w.~mm m §§ .B.
mo_wm`~ocm .`.th I_:xo.m Oo_o,< 00. wamoo._._mw.~o m M`_Lm.qN
m__mm`»oom 33 m= mummn_< 5<. hmw.§ .,..m:x__: m mmmw.§.
m`mm`woom 300 E:xo_w Oou< 09 engagemme @._mw._ww » m mw._mm.m~
. m`~m`_~oom .Bmm E:xo.m Oon< 09 ompmoojm.~mm w 533 m MB..§
QMQ_NOQQ .`.wmm 5=_8.,¢ 003 09 ompmoojmqwm qump.§ m mump.§

m 2 § .z._ @__MOQA
i,i ii 1 .il,, .11 111 mi!J_ _i.i. i\l_ _ici.,._ , 1,,_ 11, ii iii iii_. i,...-i iii i

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mx_umzmmm
0=¢:n
Tm:§=
_um»m z.._§ Ummnlu=o.: _sm:._o 0_.. >Eo_._:_
m`mm__woom ._._mmm z_:xo_m Oon< 00. o§moo“ §m: ammo.ww » w Wmmc_mm
Qm@_woom 300 E:xo.m 003 09 ompmooiww$ Mmmmm.mm ¢ m aw.mm~.mm
Emm\»oom .\mmm E:rc_m Oou< 00. omamoo.;mwhm Ymm.mp . w § umwa
m\~m`~oom .~mmm x_=xo.m 003_ 00. o§moo.:mmm_m Mmmh.§ _. m Mwma_§
m`_mm__woow 53 x_:xo.m 003 09 0~$00`_ fmha m$o.mm » m §.B.mm
m__mm__wcom dam B:xo_w Oou< 00. c§mog §me mm~.._m m Q@w.._m
m__mm_`moow .`.mm~ 003 000 c~§_.n L_mm.m@ m §wm.wo
m\mm`m@om .~mmm 003 000 c~wm£» Nw.om m wwu.om
m__mm`moow Nwm~ 00_u< 03 omwmmx wm.`_m m 393
m\mm`wcow .\mmw 003 000 oo.\mhx mmmm.mm m MNmm.mm
m:m`moow .Rw._ 003 03 >omwm§__nqm:§: m mwmm.wo _
m:w__moow .EL.~ Oo_u< non cmw_mmx m mwm.._m
m:m_`moom .Rm.~ 003 000 omwmmx m oémmm_u #m:x=.n m §§ wm
o_`~m_`moom d§._ Zzwo.m 003 00. ,€O_U: ._o@.._~w §003 302 Ho.oo
._.O._.>_l nou< 1 . . 25 .mmm.=m
no:§
m:m:mmm §§ c.w. gwinn 00:; _um§m_`_u_.m:§: I imo.oo
E~Emooo imm c_._=ma mdm$m UW.EQ_ 095 Tm:_»_§mx§n=o: mmm m . amm.oo
Em,`mcom. .Imm 0_¢_.? C m EA_.§ 095 300 mn=o: w 3000
N`Q.~oom .\._mm 0_¢1»_ c m Umm,:.n» 095 _#m:x_“.: m §o.oo
m§woom .\mmo c..m.0.0._ 0_<= 0_m_x_m 038 ~...D>zxr_z = m mk_mo_co
.H.O._.>_¢ no_.:.» 1 . . . . 1 Mmmm.ao
Qm~m m:S\ m:o. m:ma`m_qm_ 0
. ._0§_,,_ 000 Amn._. rmmm__ Om~m §m:mmm§w_._, _:< #wm._m 2 wm¢m.oo
B§:mmm 50qu rImmW_OEm z__m:m@:..m_._" __._< 330 m Q.__mco.oo
\_Q_m@woo._ mmmm E,._m: rmi Ym:§:.dm§ m=.§ mnu.w m Mmmmm.oo
._Emm§oc._ mmwa >_._n__‘ms_ Umm_Bo:m _n_.m:. _:`Um~m m:m.$.@uu.w m mwwam.oo
j`_m.`mco._ 002 _¢__._m: rm§ Tm:w=:\UmB m_._§.` m 2593
._.:m<~o§ mmmm >:Q.m<< Omm_:._o:m. _uB:_A__:`UmHm m:q< m mmmo.oo
.;`.NQ_~QE mmmm >:%ms. Ummw,_._o:m mqm:_n=:.ém~m m_.;_.< w Mm.\w.oo
j`wc_`mc@._ mm.B rcm: _.m_._.. _uqm:§:_`n.m»m_ maj m wmmm.oo
._NQ_`NQQ._ mmmm >:Qm<< Umm_:,_o:m m_.m:§:\m,mmmm_.n: _u_.o_.mn_ m w.\§roo
m 2 `_w n .::_ Emoo»

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_ Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mXUmmem
ozm:n .
Tmmr==
53 z_.__.= D¢moiuao: _sm_.:o 0__. >§o:§

Sd<~oc__ mmmm _._._m: 53 _ I.m__:x=:\mmmom_.n: m w.\wo.o@
__EMA\NOQA odom >_._n_$¢< Omm§o:m I.m_._§a m §@Qm.cg
“EEBQE 33 _.zm: 53 Tm=x=: m Qm@£.oo
:Emoom m.~._m >:QS<< Umm_§o:m 1_\§§: mmmmm_d: m mum.`.m.oo
.___m_§ocm m.lm _.cm: 53 I.m:_.h=: Dmmmm§._ m imo.oo
<.§moom m.$~ r:m: 53 m_.m_.__»=_.=.mmmmm§ Um$ m:g.<.. m §§m.oo
w_§moom mdmm Em= _.m_B m_,m:r=immmmmn: , x w.`.mo.oo
Em_`moom m.~mm zmoo_m _<_Emz.mm_,_.m.. Tw:x==.€m$ mmwmm~nr m M`_m.oo
NEBQQN m~mm ,_mmo: _.o<<m:§m_ m_.m:_»=:-_»mmmm§ m Mm.oo
wh m\moom mqm.~ _.cm: _.m:._ Tw_._x=:\wmmmm€: w mqmm.oo
m`imoom mach _.:m: rm:._ Tm:§_n\mmmmm_.o: m m\__cm.~.mo
m3 m`woo._~ mmmm _.cm: _.m_._._ T.m_.__.~=:=»mwmm_d: U_d__mnn m $._.owm.co
mBmBoo» mmm._ ramp rmi Tm:x__:__mmwmmwn: m m._.omo.oo
£QNOQN mm.~m _.:m: _.m§ Tm:x__:__mmmmm~n: w ammm.co.
£Nm__woom mm.§ rcm: _.m_.: Tm:x=: Dmmmm_,nj m m._.m._..m.oo
m:o~moom mm:w r_._m: _.mB Im:_h__:__mmmmm_.n: _u. §.owmbo
m:a_`woom mmi z_m¢loo _um:m _uqm:x__:_`nou_.mm-_~mmmm“.n: m mwm.`..mo
m__wm_`moom mmm`_ gun 53 Tm:r=:_imwmm_.n: w Y__omobo
m§m§com mmwm _<_mc:.n€ _Um=m Tm:x__:_immmm_dr m wmmm.oo
md.§oom mmwm _.:m: _.m§ _u~m:w=:\wmmmm~nz m MZ_._B.QQ
m_`mo..moo~ mmmm _.cm: 55 m M:_omc.o@
QNOBQQN mud _smc=o_o _um:m m~m:x__lmom::m:@ w w:awx_:m m Y_§m..~m
.EN..NQON mmmm _<_mc:o_o Um_._m _HEmx=:immmm_.n:-mnm:.:=._@ m m,~wm.oc
EN`_NO¢~ @mmm r:m= rm§ mqm:§:\mmmmm_d: m mmoo.oo
d`_m~moom 33 rmnm mo@m_é Im:£_§.mmmmm“o: m §_§m.oo
.~Idmoom .\QDA _lcm: rm_.: _uqm_.__»=:=~mmmm~o: D Q._.mmm.oo
s_§_moom 33 §m§._.n*o _um:m _u_.m:x__£mmmmm€: m, §§ch
m:__woom §§ _.:m: 53 _,u_‘m_..§._.=_.mmmm~.n: m mew.mo
m`_.§wgom .Bmm r_._m: §§ Tm:_.=::.mmmm~o: m e.rjo.cc
m:m_`woom .me §m§a~o _um:m _:<mm§m~_o: m wm.§.oo
m_~wm_`moom .~ow.~ _.m:m Domd:m_*< m_Q 8 m_zw m §No.oo
m`mo,§oom .Bmw _..cm: _.m_..: ml© 8 m\mw w $muo.oo
m`mo`moom .Bao _<_mc_.EE Um:m m_.mo 5 m\mo m mvm._ o.oc
m\m\moom Momm _.m:m Iom_:mx< 930 8 m_`mw m mwmd.mo

 

 

 

 

 

 

 

 

 

.Q._ m_`moop

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Case 1

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mx_umzmmm\ .
n=mnn
_u~m:w=:
m~:m zc=. nomon_u=o= _s£.:o 0= . >=_o_._:"
m`m-.o@~ 33 ,_mmo: ._.o.....m_._?m_ Tu_._§:-mmmmm.d: . m $w.mm
mrw_`woom .Bam §mczo_o _um:m Q.m 5 w:u m wl__om©.co
932on §§ _.:m: _.m_.= md 5 m:m m wmmo.oo
m__mm_§ccm ~cmm _smzao_o vm:m m_~._m 6 m:.`. m wmmo.oo
QBN_N¢QN gmc §§ _.mB m:m 6 m`_~.`. m Y_No._..mo
._o: :woow wowm _L._m_._ rm=. who 6 33 :moow m m`__omc..oo
._03.:_»00» womm _<_mc:n_o nm:m m_`wo 3 ._o\©__moom _u. mohm.oo
._o\mm`mcom dump _<_mcmn_o room ._O__._m _..o Ao`MmBm m mwmm.oo
i`m__moom 33 z_m§n.o nm:m ._Emm 5 ._\:m j :_.m. m § .o@w.oo
._.___N,___moo~ dam _<_m_.=mn_o Um:m 1_.:.__.:o L_¢NNBN m Qm.»m»o@
BB_BQQN j mm §mc_,_omo _um_._m ._.:mm 6 §§ m Mmqmm.oo
`_m::wocm imm rm=m mom§mx< 939 B__wm. mm 330 no § m mmmo.oo
1 \_m__mw`moo~ .Ewm _<_mE_oE _um:m ._Em 8 L_N_.NQ_ON m §_Noo.oo
____Qmoom ._..E._ §m_.__.§o PWB _u_.m:x_._= S.N._ . #w.w m Mw@m.oo
m__&moow jam mcumnc_d§m# <m_oow€_mw~<.omw .:_m §§ ._\._.`.._ow m mw._,._mm.oo
N§Noow .`:_wm mcnm;c§_:m_ <m_on_€ mm2_omm \__.M._ 52 .:wm`ow m Mw._.~.“m.oc
m`mm~_woow umwa mcnm~_c§_:m_ <m_oo=< mm§omm wm:x=.._ m`m 3 w\mm\ow m m._.moo.oo
Q\N@.Noom §§ mcnm;:§:m_ <m_on=< maian @m:£_: Em~__ou 5 w`_mm`om _u, T_moo.oo
£_Nm__moom .Bmm m=um:c=__:m <m_oo=< mm_.< nmm mm vaca m afm.oo
995on umwa mc_um§_.a:m <m€o=< mmE umw m m._ v~@o.oo
m__~m`mo@w wmmm §m§_n€ Um:m ,_m~ JOC_»m _uD>z_AEz® m MN.$Q_OQ
m_£moom ~mmm mcum;c_.a:m_ <m_on_€ manlan mm>z§._z .~._ IIm _ m $\__ommbo
E§__Ncom §§ mcnm_`EB_:m_ <m_on:< mm§omm mm x E..oo m MW@.`.m.co
.:_._Eoom .Eom mcnmzc§_:m_ <m oo._€ mm?._omm 3 x ._m.oo m Mmmm.co
.d_._m§ogw 32 mcnmz:§§m_, <m on:< mm~.<_nmm mo._lx Am.co m mccabe
.`._G\:moom §§ m.._nm~_c_.:_:m_ <m_on=< mm?_omm § m Emme
mkm-oom Nmo`_ mcumlc:z:m~ <m_on=< mw:.__omm .E m mm»o.oo
m3 E._~oom .\m.§ mcnm~_c§:m_ <m_on=< mmian 3 _._oEm m MNB.QQ
.:mo`.mooh Nmmm m:um_._c:._w:m“ <m_on=< mm~<mnmm _n_,m:r=: ,:No_`oa - :mQ.oA m m._.mo.oo
, .”.O._.>_.¢ n_m»m m:m_<mmm. wm.__._`_m.wo
noclm_. manhan
m_.._m: mmm id C.w. _unm§mm$_. Tw:x=:-®m::._ma _<_mm_ m M:o.wo.
._Ewlmwm Amm» mmam~m_ mxu_.mmm 5 <<mmI:m"o:. U.,OV m Mmmm.cc
m 2 ._w .~:m<moc»
111.,_ .|r 111 1.1) )FJ. 111 ,.11,, 315 .N,.._lal_¥ 11)_ ` _1,|1_ ".r....,,_ 114 1111. .1\1)»_ _ >.]r,. 1 iv

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Case 1

11|¢.1..

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mxvmzwmw
n=m:n 2
_"_.m:_»=: M..
umwa z:=. ummnzuzo: __sm_._..o 0= >=:.E="_
<._.:mw,_~ 33 woman w_n<n_m Ooc~._ma #`_pmmm-mmam$_ n» Io:mm m mh.mo
Bao: mm@ mmm@ 032 moss Om__zmQ m 233
m:m__mocc momm Oo::~ Uo<<: Um_?_m_.< m Mw._m.mo
m:§..mooo mama mmam,x m mwww.wm
§N.:_Nooo ml_._@ 0=< mmEmmm m Y._Nm
Emm\mooo m._L._ O=< mxm_.mmm m m::m
m\mm.`wooo m._mc _nmamx m amo.wm
E~Q~So 23 0=< mxnamw m @~P@m
m:w>_~ooo m,_.~o 05 mx_u.,mmm m §m._mo
._o.`m`_mooo §§ O_€ mxv_.mmm m awm.mo
. Ao~mm__wooo m~om O=< mxu_.mmm m m._ .Im
A.:_@__mooo mwmo 05 mx?mmm m mm..`.m
._.r_m`mooo mmmm mmamx m mwmm.m.`.
._.:._£wooo mwmp 05 mxn_.mmm m § ._ .G
._N: Qmooc mmw.\ 05 mx_u.~mmm _n_,m:x_._:...am=<m€ m _ iowa
.__`m`_moo» m.¢.mm 0_€ mxv:wwm m @.:_._m
,:___ 233 m~mm O=< mxu_.mmm m iowa
w._..£moo._ mmhm 05 mxu_.mmw m $m..~m
m`_w__~ood mix 93 mxn$mm m § :m
SJENQQ._ gun 05 manme w §;m
m_~m@§oo._ mm§ c:=ma m»mnmm nom» O¢,_nm _HE_.__»=: m wmm.l_m
Em.:mo§ mfc 05 mx§wm m WE..G
EMEMQQL_ mmmm O_E mx§mmm m m_:_.mo
m\mc`_~oo._ mm.~.~. mmamx m @m`.$.wm
,_o: m`woo,m mmi mmamx __ w _ @.K.mw
Ao:m_§co.” mm._u O=< mx_uqmmm mw.m:x=:`am:<m~< D § : m
i_.m@_`moo._ mmmo mwamx m Q,K.mm
S__._MBQE mmmm _...mqu m .v._m.mm
.___w`mocm 23 O=< mx_u~mmm m vmmlmo
.___@_moow m.:m _umamx m :me
d;_mm_`~oow m.RA _umamx D AX.`..Q@
NEBQQN m.~mm monmx Tm:r=:\am_._<m.,< m WNP.B
` N`_£moom 32 O:< mxu_mwm m Mm.wm
w`.:moom m.~mm mmamx Tm:_»=:_dm=<m€ m Ym.m.\

 

 

 

 

.`._.._ m_`mooh

 

 

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Case 1

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mX_....m_/_mmm
n=¢:¢
Tm:x__:

Um$ zE._._ cmwo_._§_o: _<_m:._o n__1 >§o_._:,
m§mo@m mm@m mmamx Tm:_h=:\am=<wé m _ 395
§§on mmm.* mmamx m Tom.E
935on mmmm 05 mxo$mm m w._._h._m
&N`mogm mmhm _umqu m im.mp
&N_`Noom mmmm O=< mx?mmm m ahm.@m

£Nm`moow mm_@m 0#< mxu_,mmm m a._ L_.mo
mko`moom mmon O=< mx§.mmm m m.`...\_o
m__._o~moom mgm mmnmx m Qm..~.g
m._._o\mocm mm._m moamx m mLm.©m
m\._m`,moom mwmm mmamx m mm¢.w`_
m`mm__moom mmmm mmn_mx m Mw~_m.wh
m`mc__mocm mgm mmam,x _..~ @Nnm.pm
@__mo__woom mmhm 05 mxv$mm m wi .mo
m__mo._moom mmi O:< mxuqmmw m wm@.,~o
m__mo.`moom mmmm Ox< mx_u_.mmm m ww.\_o
m>.~@_moom mwmu mmamx _H_‘m:_»=:`cmuo 2 _um~mq 96 z<O m W~am.~m
dE~QQw mm,£ §qu m gm.mo
2._ Q_Nccm mmmm 05 mxv~mww m § m.mo
.Q,_ c__moom mmm.\ G:< mxuwmwm _N Qmm.oo
.Q\“.`._`Noom d..:m 05 mxv$mm m . mdm.mo
m__._£moom .Eum O=< mxu_.mwm m Ymm.wm
m__NNBOQM .\opm mmamqm_ mxu~mwm m M._mw.mm
m_`mm.`moow .BLN 05 mindQO m Mmm.mc
m3 m\moc~ .me 05 mxu_.mmm m w,_`_.mo
93 m_.mocm gmc O:< mx_u_.mmm . _N mh._.mo
..m.:`_m`woom .~o@m _umam,.m* mx_u_.mm.m m macd,hm
,_Em__wcow r\._._m mmomqm_ manQO m wmp.mm
._m`m`moow N._mm O:< mx_u~mmm ._QNN._Q m m._._.mo
._E._imoow ._?_Mm O=< mxu_.mmm EEN¢ m Mw.,_c
im§oow ._Z.B mmn_m~m_ mx?mmm m mgm.mm
N:Q_woam 33 mmamB_ monme Pum#m.$o» m mmo.mm
N`._Emoom Nmom O=< mmm,`mmm ._®mem D W‘_m.mo
mlo...noom .\»._M mmam~m_ manmmm judy .`.mooo m §wo.m.~
wl Q.moow .\N`_ m mmam~m_ mx_o_.mmm m\“o.;_ m..~moA D m._ Am.pm

 

 

 

 

 

 

 

 

wo:m

S:_ Y_Ncoh

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mX_umZm_mm
ozm:n
Tm:x=:
1 916 z_.== Ummn_.__§_o_._ z_m_._._o 0=. >Bo_.=:
N:w_`mocw §§ mma$m_ mxn_.wwm. A-mwm.mmmmm m mwm.mm
Em.:woom wmm.`. mmam~mm mxc:wmm m,mmm-mmmw m Qmm.m:
w`mm__moow wmmm 05 mxuqmmm GNN.E m M._._.mo
m_`mm`moow ..~mmm 0_£ mxn_.mww ._mt_mwm m $`_m.mo
w`_m`.mo@w ,`..mmm mmumqm_ mxu_.mmm h-m@m;ummh m 395
m3 imoow .-mm 0=< mxn$mm ._mmo.\._ m mmm_~o
m`~&~oom ._.Nmm mmam$_ meEmmm §ch m mmm.§
w__m&wocm 31 moam.qm_ mxv_.mmm m\_o: m mwm.".mw.
w_~n»._moom 33 mmam$_ mx_u$mm. m§j _» mwmm.mm
Q_Nm.`mogm §§ mmamqm_ mx§mwm john m wmm.mm
P_Nw.§oom .B@m vmn_m~m_ mxv_.mmm ?m£-._mhm§: m .E».mo
m\.:moom .~wom 0=< mxm*mmm ._m.~m._m m uwj.mo
m`mm`moom .\uhm 05 mxu.`m_mm ._mmmoo w wide
Emm\moom 33 05_ mxu:wmm ._mmm~m m m:o
m`mm>_~cow wmmm _uwamqm_ mxu~mww . m @mm_mm
m`.Nm\moow Nw.\m G_J` mx_uqmmm ._©mmmh mmm.oo _N Mmm.oo
m`.mm__moom .~m.`.m 05 mxuqmmm `_mm“o`_ Eam._mo m mim.mo
Q.mm`moow qwmw _umn_m~m_ mxn_.mww L-m....m-.\mmm» m $mom.mw
m`mm__moom umwa _umamqm_ mxu~mmm A.wum,wwmmm m $:m.m.\
m`wm`mocw .`.mm~ 03 mx§mmm moog d mdw w §\moow w §mw.oo
Qmm`woom .\wmm 05 mxn~mmw 1533 m mi.mo
m._mm\moow fcc mmqmqm_ mxn~mmm A..~w@-m.~._mm m Y._.\.m.~
m__._w_`mocw 33 _"..QQQI, m.xn~mmm_ h..\mm-wmm@.\ m 325
. m:m.`moom §§ mmam~.m” mxb_.mmm A-wmw-mm»mm m mmm.»._
m__._m\moow Emo _"mn_o..m_ mxn$wm P.\_mm-mwmmw m awww.mm
m:m`moom §§ _umam_.m_ mx?.mmm h..~mm-mwmmw m ingram
m:m\moom §§ mmam_.m. mxu_.mmm \_T.`.mm-mm§m m m._m.wm
m_;w.`~oow wmom 0=< mx§mwm m$wh m aide
,_Q_.=Noow .`.TG 0=< memmm momm»m w m~.._c
.I.`._£_woou ._.mm# 0=< mxn_.mmm . mamie m M.".‘_o
._.O._.>_. am=<m~. em_mmm.._.~
Em` wmmmm~.n:
.E..~w~woc,_ mmom _umnm~ mm_.<mnm Om:»mq _u~,m:_»=:.`_<_m§owo_dm_. m Mmm.._._
m o* 3 d_._m__moo»

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mX_ummem
o=m:n
_"_.m:x=:
ama zE: u¢mn_._u=o: _sm§o 0__. >=E=Z
\_Q:_m_`moo._ mmo.\ mmnm= mm_.<mom nmim_, J.m:§: _ m @,3..3
m:_`moo~ mmom <<mm# GBEu <<mm~ rmE. m_‘m:x__:__mmmm.m~n: D mw.~m.§
£wm_`moom mmm.~ 1653 mm_.<_o@ omnqu _#m:_»__:__mmmmm€: m §m..\m
m_`mm.`moom 35 _umom~ munson Omz$q _ m Y..B
._.___m`:moom dow umom~ mm_.<~om Om§m_. m mm.wm
E._Qmoom Nmom _umnmq mmz__om Om§m~ w wmm.mh
._m§`moom l3va _umom.‘ mmq<~om Om:§. _u, ibm
._.O.:u.._l m._mmm_ ..mwmm:..: 1 mmi.~w
mk_uml
. Y_m\mocc Zm~ U:m.._.=momc~._nm_ m§.mm_wmm _..E=§: Omwm_~mmmmm_.o: §m»m_.mm_ w wmoo.oo
`§N§~ooo m~om usm§mo¢§._nm_ mc.m$m_mm _:<.H_umoom.lEmoo-:_u~m:_»=_._ m Y..:Nmo
`_m:m\mcoc mmmo T:m:._._mnm:§m_ m:.m~mmmmm _u_m:_»==\mxmmz m ami.:
._`mm_`moom ..~mw» ._m§m< >. r._:amq. _<_.U._ _<__uI wm¢mm.~-_»m.omom m ,K.._mq.mo
HO.;~. oxvm: . .wm.>j.§
`mx_.mamx_"m
E:m__moo._ mmom _.mx~mzmx_w _nqm:§?.nm:. Q. §m,_.mmq Uonm.. m macm..oo
.3__~@§00._ mm.\h rmxm£zmxmm m mam.wm
A~._,mm`~oc._ m.`.E _.m§m\zmx__m_ w §m+mm
‘_:ENOON 35 _.mx._@_zmam _"E_._r=: 960qu woo..§m:$ m @._M._.§
._:o__»oom m.B.`. _,.mxmm`zmx_w m $Nom_mm
£mm_.`moom mmmo rmxmm_.zmxmm m §Lm.c`_
m`mo`.moow mgm _.mxwm__me_m m Wmm.m._
m`mo`moom mmmo _~mxmm.`zmx~m __ m §mm.>m
d._.b_woom wocm rmxmm~memm D § m.\_w
m"_£moom wowm roxwmzmx_w m wmm.».m._
._N`_Emoom ,I.R rmx_m\zmxmm m m:m.mN
._m__m~woom .\._ ._m rmx~m__zmx_m m w%_w.mm
. §_.._:Ncc~ §§ _..mx_£zmx._m m QE».N@
.r_._._~__moom 430 _.mxwmxzmxmm m 1 §mam.._o
.:w.:woow jma _.mxwm~_me._m w 393
mIQ_Nocm Nwmm _¢mxmmzmxmw w mmmc.c.~
£.>_Moom .~mow rmx_m_`me~m m wmm.\_m
w 2 ._m 53 m`mooh
[1 1|:. 113 11_1___.11) Mll 111 1114 1l|a. llrJ |.J 111). z ....... . -- - J…, . _.i 1 . 1.

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mx_umzmmm
O__m:n
m_.m_._x__:
um$ zc=_ c,mmn_\_u~_o: _sm=_o n= >_.=o_._:»
m\wm`_mo.cw dba rmxmm.`meW maggio m ahmw.mN
Q\Nm`_moom doc rmxmm`zmx~m . mom.$~o»m m 333
m_: Q.Ncom .d$~ _.mxwmzmx_m owcm§¢ww._ m3 -m`mo>.~oom m YSm..._w
m_`._m`moom .R@m _.mx~m_`zmx_m wgom£.`.m m mm._m.o..~
._Q_:mo@m ~mmN _.mx_m\z¢xmw wom§._mmm m Mwm.G
j__._&moow .\m.\m rmx_m_`zmx_m mom._@mm.\m m Wm.mm
¢No__woch .~mmm rmx_m\zmx_m 5<# cw._m@wmo$ m @.`._§
m__,_,___waoh _u:,_.= rmx_mzmam wash
u`m_`moc» _u=.:. rmx_mzmx_w §§ .._M
._.O._.>_. _mx~m_._mxmm §.S.N.mm
.._imn
m__mo_;mmm i.~m .JEBmm Iom_.:m: n_.m:_»=:\m_.in=mm m Wu.»m
AEE._mmm gmc _<_mmo: >mmoomm$m _=<mmzcm=o: m mmmobo
dw@_woo@ m,_om Omu~. on Imm=: w _.__._Bm= mm_.<_nmm m_.m_._x_§.mmmmm€_._ w § 4 ;m
Q`_Emooo 23 =<mm f_. Do:m_ mwn::m Tw:x__:`mmmmm€: m mam.oc
,_o`m__mooo m`_mm __<mm .._. mo:m_ m3ch Im~<m& Egm€`mmmmm_dj m Mwmo.oc
Qmm__NcoN amf Dmvmnnm.m_ Omdm _u~m_.§_§_:n mmmm~m m mwm.mm
£_Nm__moom mmma mo_._o >mmoo~m~mw _HE:_A=_.=_z.. §wamom“ 230on m $._ ._o.cm
Em_`moo~ M.on z.zw Tm:x=:_.~:<mmzmm¢o: m §mo.oo
m`_m__~oom womm Zmo_._mm_ ._.mcu m~m_._§: novo oommm m mm.oo
l__~m~.`moo...». Imm __Kmm ._. mo:m_ mmn_:=m Tm:x__: <<o_.I:m n=:_._mq m amm.>m
.:mdmoow §§ mu~_§ oo:d¢_.m:nm=m mm?_omm 5<_ oo-o~mm» m mmo.mm
,:mm`moow .B._H __<mm ._. mo:m_ mmn::m §§ m aw::m_. m §ow..$
Edo_`moom wmo,_ E:_.B.m Oou< Oo_ w m "Ko.._m
m__m\moow Nwom ._._."oBmm _<_. Qmm.._m ,~_\m_,.x=: bm_.£:m m`m m, m_$ w Mim.co
m`m>~oom .Bmw qsoBmm _<_. 933 um,_.x_:m m__m-m m q§nm~.m m §mm.§
m__@`moow 33 ._.:o§mm z_. m_.mm:m om§_:.m mB n=::m_. m Mmc.wm
m\mm`_moom §§ ._.:o=._mw _<_. Q~mm:m _HE:_»_=. um}_:m m`_m SE m:N D_ I._o.oo
m`~m\moow §§ .”.:o_smw _<_. Qmm:m nmz§n mzm.._m w g_::m_`m m W,_qm.w~
m`mm__woow .~w»m ._\:c§mw _<_. O~mm_._m §qu m:m\ow m wm@.mm
m`..~m__woow .Bmo §n§mw _s. 03me nw m:w-§ man 932 m mwmm.mp
m-m__moom .~wm.~ ._Fo§mm §. O:wm:m ux m\mo_ E:n: m n=::m_, m Q._Nw.m._
m\wm__woom 33 :<mm ¢_. mo:m~ mmp&_.m H"E:_A=_._ uom"mmm w `mmmm~o: m mmm.mo
,_o o~ 5 d`_m`moo.»

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_mX_ummem
n__m:n
m_.m:x__:
Um$ zE: Ummn;u=u: _sm:_o 0__. .>Eo:£
4 m_§m`~oow ~mm._ zmmo:m_ O=< . _ ¢m:_»_m: wwq_¢:n w Q@.~..$.
\ U m_:_m\woow .me §u_.:mm z_. m~mm:m _n_.m=x== nm_.a:@ .:Eom m amm.oo
2 E._E..~oom §§ H:o§mm _<_. Qmm:m. T.m:§: n_.x:§o. j w ._m m mmm.@o
W 533 §§ 933 g. 933 335 ruiz §§ 05 33
M l*`Od£.. =.;.a.n . \ mw.wo\”.mm
d Emmm_~.nd
w m_.__ m_`mooo m._mA c_._zma mdm~mw gwinn conn 3 z=::mmo Tm:§§»mmmmBJ m fmha
_H_ j...:mcco mw\_m _.n:_w.m:m Um_£. on _ucc=n Imm=: m _._owu. Tm:§:__~mmmmn_._ m m._wm.mo
,_o__m.m_`moo,_ mmmm monmm_ _.ms_ EUBQ mdm:x_._:_immmm_.n: 3 ah.oo
d._dmoom 33 Unnm:§m£ Q. Imm:_._ m Ic_.=m: mm§nmm _#m:_h=:.immmmqn: m §§ wm
7 m_;£moom .S..wo .:B=Em §_ ®E¢:m 323 §§ §qu m §m.mm
m ._.O._.>_. _.mmmm_.n: mmmm..~o
m
9 m~m=om_\mn: m__.m
m m._mm: mom hamm m<>_. 095 mmno&:m mm_.<mnm Tma§=._:< umLOC>om m Qm£..~o
w ._Em_.wcoo m._mm _<_m§mm: 0_00::2 vo=m..a _HE:_A_W: UQ_S m mm.mqm.m»
O ._.Q.§_wooo amf §mc~mm: 0.0oz:o_\ mucsz m_m:§:§: Umuo m mmq.m.oo
D £P_Noom mm§ _Sm;m _.. O_oo:m:_ Oo_._: mmuo:mq Tm:§:_::m__om Imm:.:m ._.~m:m w mmm.._.m
m_$o_§cow mwmm zm=o:m_ Dmuo_,m:m. _:n. ..m:_&:`cmuo 2 minor _:n.-Z< _» § _c`.o.oo
S m_~mc`moom mmmm mmnc_:w Ummom§o: mm§omm _nE:x=:__Umuo on _u.,._~m_. ma z<G w wmwm_hw
W m`~o`~oo~ mmm.~ mBn=m 095 mmcozm_.m_ 50 mqm:_,=:Bmuo 9_, §§B<._unmm_. w Qmpm.mm
_ . 43 §Noom 33 mBu=_m Oo_.i m¢uo:m_.m. _:o Ym:x__aomun 9, _umumvmm_.im~ m § _.:~m.mm
M § .:.Noom 33 mmn=.__.m Umvom=_,o: mm?._nmm Ym:x=:\m Umuom § mmqu m am.mm@.mm
U m:&moom .Bmw mBu__.m 095 mmco;m$. __._n amuo 2 Um<a _<_Em:< m §w.\.mc
1 m3 m__mcom 403 Om,z_ Oocn I¢uonmqm_ _¢E. Omvo Cwm Km__mx w $.rom.~..~m
W ._Q_m.`moo~ .,\.Km _<=o,_._mm_ Hmud. mmn. _ #m:x=: annum moa w _u_mqo w mmw.co
h_.v .__`m£moow _ ._.:_mm mmnc__.m Omu.omzo: mm_.<wnmm ._m§ .:moom m mmmm.mm
M tm.tmoom .`._mm mmnz_qo Umuom=_o: mm_.<mnmm ._o: .:.moo~ w § _mmm.om
..l. .:N£mocm .Imm munsqu Umnow&o: mm?.._nmm ._o§moom m 1 _.~._m.mm
9 ._E&maom Imm mmnc:m Umuow&o: wagan m`mm__woom m §NQ.QO
%,. .___m`tmoom imm mmnc__.m Umuow&o: wm?_nmm ®.B£woom m m\_.mum.up
C w§£~oow .Sm.~ mmi noon wmuo:mm.._ _.E. Omno Umu~m mm:wmm m §§ .mm_
`_Q:Noom .Gmm Zm_.mm _.. O_oo=m:. mean mmco:mj _u_,m:w_§m:.:ow T_mm_._:@ ._.B:m m Wmm.mA
____ 3 5 N;®_`mo@p

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.Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mX_umzmmm
n=m:n
_..._.m:xm_._ . .
Um_,m zE: D.mmnzu¢o: _sm_.=o h__. >_._._oc_._;
._.O._,>_. m*m:omqmu:m~w _ , amm_._¢m.m._.
mcavom:mm\ _
m_`m@:@@m §§ m:<m__m. ._ca_:w< w >mmon_m»mm Tm:_h=::_._< Ym~m w mmo.oo
._QEMQE 0.me §§sz _2_:@_€3$$ mmzm_. Tm:_»==_`m:_..iom:mm§ m m`_.ooo.oo
`_o__w`mco._ mmmo _um_.m_om£ mm_w<_nmm 9 20 mqm:x“m:\mcuu..o_. O:w:amm m mw.~mbo
m~wm`woom. mmm~ mm____._,_o_.m 00_.,:€ m:ml=.m Umvmn§m:» _u_.m:§:..mm_\<wnm 03 U. wB_=.. w mwmo.oo
m_§moom mwm» _Sm?__: _A<_m. _u_.onomm mm_,<m". m_.m:§_.<mm_.<mnm`_m:cu`_.smamomi m Mw."m.oo
m3 ,:moom m@$ xm< mm~<mnmm_ 0_<__ _...Bom$ mm?m~ _"B:x_§_._m:vv. 2 _<_HBBQOx m ahm.oo
m_`mmdccm mm.~m carmqu 905 _u~m:_a__:.__m..__uvom:w 9. §m_=ox m wwmm.mo.
m: £.~cow 133 mc<m__m Lon_:w< Tm:x=:§<uw§m\~ m $m._..oo
m`_mw_`mocm ,me Om*m~m& ®3_.% dwme ._mwmd w ,_wm£ m wm_wom.mm
`_.:Nm§oo..~ .Im._ _um..m_@mm_ magan 3 zo Im_._x__:__m§. 3 Dcw:"__.mm m mmc.co
j__mm~mcom .__._mm oo::mo=oc" _u_dommm mmE._=m_ C,O Im:x=: =<_m _._mm=: m mmm.oo
:w`moom M.__mm mqmw:: wnmnmm_._~ma mm,“.<mnmw amco mach w wmm.oo
:N£_moow imm om..m§= DBEU _u~w:x_m: m:vn. m amuow. x Q._m;mm.#m
QS__BE 33 §§ mm@_mm >m § wagon , m M@m_@o
m_.._ Emoom .~mmd. Iw_<_ mmu& _¢mmm_ _uEnmmm >m ._\X mm_.<mom m Mvmo_oo
m:o\mocm .`.wmm zm»_o:m_ rmmm_ Ponm$ mm_.<mom >O Um mm§nm m mwmo.oo
935on ._Gmm Im<<m= _.m@m_ mmq<momm >O _.__ m¢~<_om m amm.co
.:N£moou .E._m <m:mnm? _._.O Tm:_&_._ wccoo@:m m u~_moo.go
Qmo_.wcow ._`m~w m_m=x moBm_ F_u _uS:§= <mimnm: mcuuom:m m §o_ooo.oo
._.0._\.>,. mccuo¢:mw _ . me.._ww.mq
m==§_o.._w w
m:m\mcoo mom._ mc<m=m_ .._oawm< m_ >mmoo_m"mm m ahm.oo
m\.§_momw .`.mm.`. _.mmm_ Donc_jm£ Zm_._um:._m:» mm§omm mdm:_»__: __n >O :. m 393
m__mm\»oow .B.~m >=m:=o U_.oommm mmzm_.m _u~m:r_._: >O mm§nm <> m ch.cc
._.O._.>_.. m::.:.:o_.._m 1. , , _ m._ mh.oo
m=db=mm .
m\mm\m.oow few >__-m§m __.mmm_ Nomm._m mmoo.m._ m Muoo.mé
Em@_wocm .Eom >m_-m.m,m _,mmm_ gmme §m,mm m a._w.mm
m__mm_`moam .Row >=.m~mnm rmmm_ m._._ mg M...wm\_.om m wmm#om
`_m 9q § .~.: m__~oo»
1141 d|¢) .f|. _iij. 1\ wall .\1\.3 nil vsli ,.»|.J 1¢|_.,, J\J ltlr 1141 l -

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Case 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

mxm_mzmmm
n__m=n
T.m:w_§
Dm»m z_.__.: Gmmolu:o_._ §m=.o Dr. >::E:» ,
m_.wmdoom whom >__.m»m$ §§ § hamm fmha m w._._~..mm .
m\wm__woom §§ rm<<<m_,m m”mzo_._m_.< mxI_m:. H>mm 13:_»=: m mem.~m
40._.>_. mcvu=mm 1 . , _ _ wm._§.mm
_,B<&
dmm: mom gmc ._\:o§mm _s. mamm:m m mvmo.mo
m3 N`_mooo mcmm =<mm mo:m Tm:§n`_um_.§um Mcw mma Oo_._: m m;~.oo
,__§mo§ mnwm ._.:o_.:mw Z_. O_.om_._m Tm:£._:_:.~m<m_ m M§.cc
E._Emood 23 ._.:o§mm §. OBQ._@ m _ mwm».oo
.:Nw`_mo§ mmom .:BBmw §. O~mm:m Tm:§_,.§.m<m_ m Mmm.oo
m\m__moom mdm ._.:o§mw z_. qum:m m Qmo.oo
m:__moom mmo._ ._.:o=_mm z_. O_.mmzm Im:_»==:\~m<m__ m a~o.oo
mko_`moom m@o.~ ._.JoBmm _<_. O_.mm:m I.m:x_._:¥qm<m=_umdo § _u=~m_. m mem...~m
m_`mo\m.ocm mmmm §~osmm_ ._.muc mqm:r=:Bmuo ma z<O.._.mx_ qm~mm m YE.QQ
m\~m`moom mmm» zmno_..m_ O:< _#m=x_._:`§o 2 _u*._~m§~m<m_ w mm.mmm.mm
.E dusen 33 ._.jo§mm __s. Qmm:m¢ m_m:x_m_.__:m<m_ z,_\O Umvom.mox mg D §.._m@.\_m
.~:..~__moom .Bom ._.jo:._mm _<_. ®Ew:m _H_‘m:r=iz<w._mmw.i`.cnwmm+mo m Wm_md..m:
m`m_.wcom 33 ._.:o§mm _<_. Qmm:m m_,m.._x_§ §mmhch amuo m mqmw.i
w:m\woom 313 ._.:o_.=mm 2__. Qmm:m anne n. mr m @Xo.oo
m_v_m_§oow .~o.h j._o§mm z_. Qmm:m vao ._. molm m m.\mm.wm
`_.:m_`mocm .me Zmzo:m_ Qs__ mB:w__:\cm&m_ 352 no m Wk_oo.mo
S:._Bocm §§ zm=o:m_ 0=< m §..Sm;o
.=N&wonw fmc ._.JQEmm __s. O_.mm:m amnom oq n_.oox_ __A:oou m ®_._m:m_. m m,_.mmo.m,_
,__`N£.»oom §§ ._.:o_._._mm _g. mjmm:m novo 1. _Q<m~ m M._.mw\..mm
.__B&moom jmm J.:o_.:mm §. 933 anna §n ._om quo:_ m QRS.Q@
L_\Ng~__§_uom w\_mw H:o§mm _<_. 03me 36 <<._smaam: w E:n_m_, _N fmha
:N£Noow §§ ._.:oBmm _<_. m3me ._m:m. l_.c_.:m_. amos m mm...£.oo
H,_o__mcow .E._m zm¢o:m_ Q.E Tm:x__: m mam.mm
m\m_`moow 33 .Eo§mw Z_. m~mm:m §5§: E_:_Uc~mm_.:m:~ qm<m“ m M@PQ@
._.o.~.>_. :m<@_ 1 . . . , H._m.m§.mm
._.O._.>r d_.m:r_m=‘ w,_mo_mmm.mp
ju._.>_I mx_umzmmm w._mc_mmm.m»
§ 3 3 §@§E
l l\l\ 1111 _!i l 111.. _|»_ 1\1!. `iri, m.!|l._. .||1 _.|..J_ -|¢J ill), 111 1114 il .,l. .. 1.. :~

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